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08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     1

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/30/08
--------------
20:21:22 WARNER M        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -E   -9B '.

20:21:22 WARNER M        INVESTIGATIVE HOLD       0.00 SPANGLER, BRYCE L
Arrived at jail 18:00:00 01/30/08

Total for 01/30/08:   2


Date: 01/31/08
--------------
11:21:17 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED ON CASE V08-053, BAIL SET AT $15,000 PER JUDGE SVERAN

RIGHTS...INV AND HAS JUVI WRT, THEY HAVE BEEN NOTIFIED

Total for 01/31/08:   1


Date: 02/04/08
--------------
14:47:00 DILLAMAN K      SUPERIOR COURT FILING    0.00 SPANGLER, BRYCE L
INCF V08-053 scf 08-1-00078-7 5000bm

Total for 02/04/08:   1


Date: 02/05/08
--------------
07:40:43 LEER T          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED BY SMITH ON SC FEL WRT 08-1-00078-7 BAIL SET AT 5000.00 BOND
RIGHTS

Total for 02/05/08:   1


Date: 02/07/08
--------------
15:00:00 KAMMERER I      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
BAIL SET AT $1,500 ON CASE 08-1-00078-7

Total for 02/07/08:   1
      Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 2 of 243



Date: 02/25/08
--------------
23:02:39 SARGENT D       INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -E   -9B ' to `SCJ -SCJ1-B   -G13 -1   '.


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     2

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
23:07:34 PARKER S        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While doing a North end check I came across I/M Spangler standing at his door.
When I approached his door he stated to me that he was suicidal. I asked him if
he was serious and he said that he was. I had him pack up his belongings and
Dep Maskell and myself escorted him to g-13. Spangler went into g-13 and was
put in the green suicide suit and placed on 15 min checks. I did ask him how
long he has been in custody and he told me about 20 days. I then asked him why
the change in behavior and he said that his girlfriend dumped him and he said
other changes in his personal life.Spangler also stated he could not go into A
or B pod.

FOLLOW-UP ACTION TAKEN:All of his belongings were placed in his property
bag.#92.

REMARKS:

Total for 02/25/08:   2


Date: 02/27/08
--------------
19:45:00 ONEILL J         JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     3

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Stephanie Inslee MHP spoke with I/M BRYCE SPANGLER, NN#220164, regarding his
suicidal statements from 02-25-08. During their conversation I/M SPANGLER told
MHP Inslee that he was very frightened because he had been repeatedly assaulted
by other inmates. I/M SPANGLER stated that he had been housed in A-Pod, B-Pod
and finally E-Pod. He said that he had been assaulted several time already
while in E-Pod and had been threatened with a razorblade which had been
attached to a toothbrush to make a shank. I/M SPANGLER said that the blade had
started out in the possession of I/M RICHARD MEJIA but was being passed amongst
the inmates. He claimed that the north end refers to the jail belonging to
Mejia's Jail Clan or something to that effect. I/M SPANGLER showed MHP Inslee
some bruises and scratches that he claimed to have received from the incidents
and said that he had been warned that he would be killed. I/M SPANGLER said
that his roommate had told him to tell staff that he was suicidal in order to
      Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 3 of 243



be moved from the pod so that he would be safe. I/M SPANGLER was insistent that
the shank was still in the pod but was also adamant that he did not wish to
pursue charges regarding the assaults. MHP Inslee came to me with this
information and based on it, a decision was made to do a thorough and complete
search of E-Pod and strip search it's occupants. Shortly after this was
undertaken, Deputy Vater announced that he had located the razor blade in E-9.
I responded to that location and Deputy Vater pointed out the location of the
razor blade. He advised that he had been told by I/M JOSHUA TAYLOR, NN#270440,
that TAYLOR needed to return to his room to retrieve some stuff. When
questioned about what stuff he needed to retrieve, I/M TAYLOR admitted that he
had a razor blade and some other items and stated that he wanted to give them
up because he did not want any staff to be hurt. The razor blade was left where
it was located and I instructed staff that the room was to be secured until I
could have a Patrol unit respond. I/M TAYLOR was taken to a holding cell in the
booking area and I/M CRAIG SHEFFIELD,NN#368351, cellmate to I/M TAYLOR was
taken to the Multi-Use Room. I requested that Sgt McDermott call the jail
and explained the situation. Deputy Moore responded to the jail, photographed
the location of the blade, took it as evidence and then interviewed I/M JOSHUA
TAYLOR, whose property tub the blade was located in. I/M TAYLOR admitted to
possessing the blade and stated that his roommate, I/M SHEFFIELD, did not know
anything about the blade. I/M TAYLOR was placed in C-8 and I/M SHEFFIELD was
returned to E-Pod. All other E-Pod inmates were returned to their cells and the
pod remained in lock down for the remainder of the evening in order to prevent
any attempt at tampering with E-9 until the investigation was completed.

FOLLOW-UP ACTION TAKEN: I/M SPANGLER was housed in C-3 and a keep apart was
placed between he, I/M Taylor and all of E-Pod.

REMARKS: Copies of all reports forwarded to Deputy Moore.




FOLLOW-UP ACTION TAKEN:

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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:      4

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------




REMARKS:

20:39:24 ONEILL J         INMATE CELL CHANGE     0.00 SPANGLER, BRYCE L
      Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 4 of 243



Reassigned from `SCJ -SCJ1-B       -G13 -1   ' to `SCJ -SCJ1-N    -C   -3     '.

Total for 02/27/08:     2


Date: 03/01/08
--------------
06:20:00 WALDE J         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
2 trays were found on the upper tier walkway floor in front of C-3 after meal
service. This cell is occupied by inmates Taylor,Joshua and Spangler,Bryce. They
were advised that they would be getting sack lunches.

FOLLOW-UP ACTION TAKEN: Sack lunches for three meals. Lunch and dinner 03-01-08
and breakfast 03-02-08

REMARKS:

Total for 03/01/08:     1


Date: 03/06/08
--------------
15:16:17 VATER R              INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
seen on 08-1-00078-7.       cont to3/27/08

19:36:45 KAMMERER I      INMATE COURT APPEARANC        0.00 SPANGLER, BRYCE L
ADDITIONAL CHARGES ADDED ON CASE 08-1-00078-7.

22:10:00 RENO J              DISRUPTION OF JAIL OPE    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                    217
11:54      Jail Events Summary Report, By Date, Time With Comments          Page:     5

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Today at around 2130, while doing my final check of C-pod, I noticed water on
the lower tier floor. I went to the shower and noticed the drain working
backwards. Water was rushing upwards into the pod. I called on the radio to
have blankets brought. A shop vac was also suggested. Myself and four other
deputies proceeded to squeegee, Vaccuum, and dam the pod. A plumber was called
and we finished with the main mop up.

Deputy Vater turned off the water in the pod to prevent further water from
being flushed. As he was in the plumbing chase for cells 2 and 3, he said he
could hear them flushing water as rapidly as they could to cause more issue.
None of the other cells appeared to be involved. Deputies Parker and Maskell
were asked to check the linens of the inmates housed in C-2 and C-3 and see if
either of them were minus blankets, mattress covers or uniforms. All the
subjects in both of these cells had extra blankets and other items. Between the
two rooms they each had about 10-12 books. Both I/M TAYLOR and I/M HATHAWAY
were found to be without their wristbands on, but the wristbands were found in
their cells. All extra items were removed from the rooms. Bay Point Plumbing
      Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 5 of 243



responded to clear the drain. The entire time staff was working in the pod, I/M
TAYLOR, I/M HATHAWAY and I/M SPANGLER screamed profanity, insults and slurs and
challenged staff to do anything further to them, since they are "already in the
hole". Bay Point Plumbing pulled some newspaper and some bits of x-towel out of
the drain but there is no way to tie it to a specific cell.

Total for 03/06/08:   3


Date: 03/07/08
--------------
23:35:27 TREVINO L        JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     6

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Taylor, Joshua #270440 and Breum, Sean #350700 had been harassing another
inmate in the pod, telling him they were going to be "fucking his socks" then
sending them back to him. Teasing him that no one cared what happened to him so
stop crying and banging on their cell door. I continued to listen I heard
additional comments coming from cell 3: above and Hathway, Gregory # 139957.
After verifying that these remarks were coming from these cells and the banging
seemed to be coming from a neighboring cell I contacted Taylor and told him to
stop and go to bed, Taylor, seemed to be the instigator so I advised him any
further action taken by the others in the cell would reflect badly on him. He
took exception to this and advised that he could do as he wished and there was
not anything we could do. He yelled at Spangler and advised that he had been
told to go to bed and I was "a fucking bitch." Cell 2 and 3 began yelling back
and forth about how staff was all "fucked up." Someone in #3 yelled at #2 that
he was going to flood the cell and told #2 to flood. Someone in #2 advised
that he was in drug court and maybe it would not be a good idea. #3 advised
that who would know who was doing it - "just go for it," They both flushed
twice and I advised staff that I believed Cell's two and three were attempting
to flood. I then contacted both rooms and asked them if that was really what
they wanted to do as I knew who was flooding. They flushed a couple more times
and when they observed Deputy Burtis coming into the pod they began advising me
that they were just flushing toilet paper, they were just joking about
flooding, and couldn't I take a joke.

FOLLOW-UP ACTION TAKEN:

REMARKS:

Total for 03/07/08:   1


Date: 03/14/08
--------------
10:00:00 HOLMSTROM N     MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
GIVEN HIS HOUR OUT OF CELL C-3 FROM 1000-1100 HOURS.
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18:43:26 MOORE T          INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L

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11:54      Jail Events Summary Report, By Date, Time With Comments     Page:     7

Time     Officer         Event Type                Qty    Inmate
-------- --------------- ----------------------    ------ -------------------------
I/M Spangler requested a review hearing for his    current C-pod status. I had
I/M Spangler come up front and he stated he did    not want a hearing unless I
would move him with I/M Taylor. I told him that    I was refusing his request due
past incidents involving the two of them and he    could just stay in C-pod on
administrative segregation.

FOLLOW-UP ACTION TAKEN:

REMARKS: I/M Spangler was placed into C-pod under administrative segregation
per mental health on 2/27/08. I/M Spangler claimed to Mental Health that he
could not get along with anybody while housed in A and B pod and suffered
bruising and scratches while housed in E-pod. Sergeant O'Neill placed a no
contact between I/M Spangler and all of E-pod including I/M Taylor on 2/27/08.
On 2/29/08 I/M Taylor and I/M Spangler were housed together in C-3 until
3/1/08. I/M Taylor is currently residing in C-4 next to I/M Spangler. These
two are now friends and both state there are no bad feelings between them. I/M
Taylor further stated that I/M Spangler is in contact with his attorney and are
working on getting the new charges modified or dropped. Further search of
ICC's show that I/M Spangler's claims to have been housed in A and B are false.
I/M Spangler was placed into E-9 on 1/30/08, moved to G-13 on 2/25/08 and
subsequently housed in C-3 on 2/27/08.

19:09:46 MOORE T          INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:      8

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: BRYCE LEROY SPANGLER, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date): Fri Mar 14 19:10:33 PDT 2008
BY: Sgt. T.Moore/U22
________________________________________________________________________

I/M Spangler requested of Deputy Vater to have a hearing done for removal from
C-pod administrative segregation. I had I/M Spangler come up front and I/M
Spangler stated he did not want a hearing unless I was housing him with I/M
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Taylor. I refused his request citing his past issues and allegations while
housed in E-pod. I gave him the choice of A or B pod. I/M Spangler stated he
has had problems in these pods. Further investigation shows that I/M Spangler
has never been housed in A or B pod. I/M Spangler is barely 18 yoa and this is
his first time in our custody. I/M Spangler can remain in C-pod under
administrative segregation until he can figure out who he can get along with.

_____________________________________________________________________

DATE OF DECISION:Fri Mar 14 19:17:32 PDT 2008 HEARING OFFICER: Sgt. T.Moore/U22
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Total for 03/14/08:   3


Date: 03/20/08
--------------
16:20:17 RENO J           INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     9

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 3/20/08

RULE VIOLATION: Rioting or encouraging a riot or demonstration, Flooding
individual rooms or cell pods is considered rioting or encouraging.

DETAILS OF INCIDENT:While dispensing meds in C-pod, I was standing outside the
pod in the roving area and I could hear water running. I stepped back into the
pod and confirmed the water running and the location was from 1 2 or 3 house.
I could also hear from 3 house I/M spangler and Hathaway cheering on and
instigating I/M in 1 house to flood. They were saying "keep going it's not
there yet, flush some more." I quietly walked into the pod to the upper tier,
at that time 3 house saw me and quit cheering and said something to the effect
of, uh oh here comes Reno. The top tier was covered with water and I called
over the radio that upper tier c-pod was flooding. I then walked around to 1
house to find that I/M Moore was indeed flooding the room. He was sitting on
his sink and laughing, while pushing the flush button. He looked to see me
watching him. I said that was very funny, and really smart. His demeanor went
from laughing and happy to sad and upset with himself. He stepped down from
his sink and sat on his bed with his head down.
      This is I/M Spangler's 7th write up on this booking, see reports
I08-00506, I08-00527, I08-00553, I08-00604, I08-00619, I08-00682, I08-00684,
and second for riot related flooding.
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DESCRIBE ANY PERSONAL INJURIES: None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: None

DESCRIBE ANY PROPERTY DAMAGE: None

DISCIPLINARY SANCTION: Loss of out time for 24 hours, and then D-seg     for 1
week. This includes loss of commissary and visitation for the week.      Lock down
to end on 3/21/08 at 1600, and D-seg to end on 3/27/08 at 1600. I/M      is also to
loose a day of good time due to his constant disreguard to the rules     and what
the stafff askes of him.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________


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11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    10

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 03/20/08: 1


Date: 03/28/08
--------------
21:48:12 SARGENT D       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -3   ' to `SCJ -SCJ1-N   -CO -9    '.

22:15:15 RENO J          DISRUPTION OF JAIL OPE   0.00 SPANGLER, BRYCE L
Tonight at 2100 meds, above I/M an his roommate I/M Hathaway, proceeded to
shred 2 or so rolls of tissue paper and manage it in a pile on the lower tier
floor. I called LO Warner to the pod to visit on what we should do. We had
the I/M's clean up the paper, and was warned that the could have an easy or
hard last 4 days before they went off to DOC. They said ok and we left the pod.
      This is an information only report. Since both I/M's got their visit
tonight, they have been pushing the limits of what they can do before they
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leave. Above I/M's have been put on notice of what could become of there Iso
time before DOC along with the subtraction of more good time off there
sentence. JR

FOLLOW-UP ACTION TAKEN: Had them clean the mess and removed the rest of the
tissue paper from the room.

REMARKS:

22:53:08 RENO J         INMATE DISCIPLINARY PR     0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:    11

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 3/28/08

RULE VIOLATION: Major #10 Intentionally or recklessly destroying or damaging
county or the property of another person.   Major #18 Rioting or encouraging
riot or demonstration.("flooding" the pod with tissue paper)

DETAILS OF INCIDENT: At around 2115, I was finishing medications in the north
end when I walked past C-pod to see tissue paper falling from the upper tier
again. I walked into the pod to see a good portion of a roll shredded on the
lower tier and maybe 2 or 3 more rolls shredded on the upper tier. The entire
upper tier was covered from C-2 house to C-5 house, with the occupants of C-3
pushing paper out from under their door. I called LO Warner to inform him that
C-3 was doing it again. I walked to the top of the stairs and I/M Hathaway saw
me and started to Fish tissue paper back into his room and began to flush it.
At this time Deputy Vater asked over the radio if he might flood, should we
turn off the water? I went to control and received the water chase key and
turned off the water to C-3. At this time all of the residents of the upper
tier were yelling and chanting towards the occupants of C-3. At this time 4
more deputies joined me in the pod. We moved both I/M's to C-9 and gave them
bedding and the clothes they were wearing. All of the rest of there property
was put on both I/M's property respectfully.
      This will be I/M's 10th disciplinarily issue on this booking, along
with his second with a loss of good time and second for disrupting jail
operations.

DESCRIBE ANY PERSONAL INJURIES: None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: None

DESCRIBE ANY PROPERTY DAMAGE: 6+ rolls of Tissue Paper

DISCIPLINARY SANCTION: D-seg until April 1, 2008 2100 hours(If still here).
Loss of Commissary, Visit, and loss of 3 days good time.

I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 10 of 243




      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________


08/03/12                      SKAGIT COUNTY JAIL                              217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 03/28/08: 3


Date: 03/29/08
--------------
15:40:33 KAMMERER I      JAIL TIME CERTIFICATIO   0.00 SPANGLER, BRYCE L
___________________________________________________________________________

                           SKAGIT COUNTY JAIL
                        600 SOUTH THIRD ROOM 100
                         MOUNT VERNON, WA 98273
                            (360)336-9448
___________________________________________________________________________

                        JAIL TIME CERTIFICATION

Date: Sat Mar 29 15:41:14 PDT 2008

Name: SPANGLER, BRYCE

Charge: RESIDENTIAL BURGLARY 2 COUNTS; THEFT OF A FIREARM

Cause # 08-1-00078-7

Date(s)of Arrest: 01-30-2008

Date(s)Released on bail or recognizance:

Date(s)Returned to custody:

Total days in custody: 61 DAYS
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Certified days of Earned Early Release time: 20 DAYS
__________________________________________________________________________




______________________________
Signature of Corrections Deputy,
Skagit County Jail

[X] Any loss of Earned Early Release recommended by the Skagit County
Jail will be justified by the attached documents. SEE ATTATCHED REPORTS.

22:05:18 ANDERSON DM     INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Mr. Spangler, Bryce NN# 220164 and Mr. Hathaway, Gregory NN# 139957 in C-Pod
are continually collecting toilet paper. On 3/29/2008, approximately 1540
Deputy Vater and I found 3 rolls of toilet paper in their cell. Approximately
1735 Deputy Vater found 2 more rolls given to Spangler and Hathaway from the
other inmates in C-Pod. Approximately 2120 Deputy Vater found 2 more rolls in
their mattress. I08-00801 states that Spangler and Hathaway flooded C-Pod with
toilet paper, so they are only allowed to have 1/2 roll of toilet paper in
their cell. Before they can get any more toilet paper their room their cell
will be checked by the on duty deputy, per Sgt Parker. Also the inmates in
C-Pod were told not to give Spangler or Hathaway any toilet paper or they will
be disciplined for their actions.

FOLLOW-UP ACTION TAKEN:
1/2 roll of toilet paper can be in their cell.

REMARKS:

23:22:38 VATER R         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    14

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________
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INMATE'S NAME: Spangler, Bryce IDENTIFICATION NUMBER:220164,
DECISION SERVED ON INMATE ON 1530 3/29/08:
BY:Deputy Vater and Anderson
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:Major Intentionally or recklessly destroying or damaging county or the
property of another person           PLEA:NG           FINDING:G

RULE:Major Rioting or encouraging riot or demonstration. ("flooding" the pod
with tissue paper)           PLEA:NG           FINDING:G

RULE:           PLEA:           FINDING:
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:Major Intentionally or recklessly destroying or damaging county or the
property of another person
EVIDENCE: Incident # I08-00801 the pod was observed with tissue paper on the
upper tier in front of #3 Spangler's room earlier in the evening. Then again
later in the evening after the first mess had been cleaned up again had a pile
of tissue paper in front of #3.



RULE:Major Rioting or encouraging riot or   demonstration. ("flooding" the pod
with tissue paper)
EVIDENCE:Incident # I08-00801 the pod was   observed with tissue paper on the
upper tier in front of #3 Spangler's room   earlier in the evening. Then again
later in the evening after the first mess   had been cleaned up again had a pile
of tissue paper in front of #3.

_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: Diplinary segregation in C-pod until April 1st, Loss of commissary
and visit, loss of 3 days good time upheld from original sanction.
REASON: Mr. Spangler told me that he was lying on his bunk when this was going

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on and I asked if he was involved at all and he replied, "yes, but not all of
it" This is the 10th disciplinarily issue for just this booking and second
loss of good time.


_____________________________________________________________________

DATE OF DECISION: 3/29/08      HEARING OFFICER: Deputy Vater
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Total for 03/29/08:    3


Date: 04/01/08
--------------
11:17:23 LIEKHUS F          DEPT OF CORRECTIONS RE   0.00 SPANGLER, BRYCE L
Released from record       161376, location SCJ -SCJ1-N   -CO -9

Total for 04/01/08:    1


Date: 10/21/08
--------------
11:57:16 DILLAMAN K      DEPT OF CORRECTIONS BO        0.00 SPANGLER, BRYCE L
Arrived at jail 11:30:00 10/21/08

11:57:16 DILLAMAN K      INMATE CELL CHANGE            0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -C   -9       '.

15:51:05 DONAHUE J       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -9   ' to `SCJ -SCJ1-N   -CO -2    '.

Total for 10/21/08:    3


Date: 10/23/08
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17:59:02 FREEBURN J        NORTH END RECREATION        0.00 SPANGLER, BRYCE L

Total for 10/23/08:    1



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Time     Officer         Event Type             Qty    Inmate
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Date: 10/24/08
--------------
10:20:51 HINES T         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
INFRACTION REPORT DATE:Fri Oct 24 10:21:45 PDT 2008

RULE VIOLATION:Rioting or encouraging riot

DETAILS OF INCIDENT:On 10-22-08 at 1500 I was serving lunch in C pod I feed the
pod and then went to help feed at D and E pods. I could hear trays being thrown
in C pod as I was standing outside E pod. I went to the pod to see what was
going on. I could hear inmates Gilbert and Kuss yelling at the other inmate to
throw there trays out of there room. I went to the top of the stairs. I could
see that the trays had been thrown out of rooms 1,2,3,and 5. I cleaned up the
mess and made sure all sporks were accounted for. I informed all inmates who
threw there trays that they would be on sack meals.

DESCRIBE ANY PERSONAL INJURIES:none

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:none

DESCRIBE ANY PROPERTY DAMAGE:none

DISCIPLINARY SANCTION:One week on sack meals starting 10-23-08 and ending
10-31-08.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 10/24/08:   1


Date: 10/26/08
--------------
08:08:34 DILLAMAN K      NORTH END RECREATION      0.00 SPANGLER, BRYCE L
TIME OUT FROM 08:00 TO 09:00
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Time     Officer         Event Type             Qty    Inmate
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Total for 10/26/08: 1


Date: 10/27/08
--------------
08:15:00 STEWART A       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I Dep. Stewart was giving main control a break at around 0815 when I
received a phone call from Ross, maintenance, saying that their was a broken
window in c-pod and that there was glass in the parking lot by the patrol cars.
After I got off the phone with Ross I called north control to advise the north
rovers, Dep. Liekus and Dep. Tararan, of the problem and to see if they could
check it out.
      After Dep. Liekus and Dep. Tararan moved I/M Spangler #220164 and I/M
Kuss #364492 from C2 to C1 because of the broken window they began to flood
c-pod. I responded with Dep. Liekus, Dep. Tararan, and Dep. Futrelle to clean
up the water.
      At around 1115 Dep. Futrelle, Dep. Hines, Dep. Liekus, Dep. Tararan and
I attempted to move the two I/M's with the presents of two tazers. When we
opened the pass through to get them to comply with our orders they put a metal
grated smoke detector cover, which they broke off the wall, over the opening so
we could not look in. When we realized that they had such item we closed the
pass through and notified Sgt. Moore that they had a metal object that could be
used as a weapon. Sgt. Moore had us stand down and she would call SCSO HRT to
come in and defuse the situation.
      At around 1300 SCSO HRT responded to the jail formed in the multi use
to go over their plan of attack. The HRT moved in surrounded C1, gave them
orders to comply or else they will have to use force. I/M Kuss and I/M Spangler
immediately put their hands in the air when they realized that we were not
messing around. I/M Kuss and I/M Spangler were handcuffed in their cell and
escorted to separate isolation cells. AS

09:44:08 STORIE P        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -2    ' to `SCJ -SCJ1-N   -CO -1    '.

12:40:00 STORIE P       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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At approximately 0835 am, I came back from a break. Deputy Liekhus told me that
Facilities had just called and there was broken glass from C-2 on the ground at
the North end of the jail and the window from C-2 looked to have paper covering
it. Deputy Liekhus and Deputy Taranan left the control room to go and check
C-2. A broken window was noted in C-2, both Inmate Spangler and Inmate Kuss
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were moved to C-1. Lo. Futrelle was notified and did come up to take a look
within several minutes of being informed about the window.

Lo. Futrelle then informed Sgt. Moore when she arrived to work.

Soon after inmates Spangler and Kuss were moved to C-1, they because to kick
and bang in the room. At one point the fire alarm went off in C-pod. Shortley
after 10 am they flooded the whole pod and it had to be cleaned up.The water
was turned off to the whole pod also at this time. Deputy Lasley came up to
document and photograph C-2, she was able to hear and see what Inmate Spangler
and Kuss were doing to the pod. The kicking and banging continued until they
were moved out of C-pod.

At approximately 11:35, Deputy's Liekhus, Tararan, Hines, Stewart, and Futrelle
came and attempted to get inmate Kuss and Spangler to put there hands thru the
pass thru to be cuffed and moved out of C-pod but they both refused. I was
informedthey had the sprinkler head from their room and they were not going to
give it up. Sgt. Moore stated to hold back attempting to move anyone at this
time and to feed the north end first.

The North End was fed and counted. Inmate Kuss and Spangler WERE not fed and
the pass through's were not opened to their room.

At aprroximatley 12:40 Chief Shand came up to North Control and asked me if I
had been talking to either inmate Spangler or Kuss. I told him that I had not
talked with either one. Chief Shand asked me to tell Inmate Kuss and Spangler
to stop pounding and to ask them what they wanted.
I pushed the speaker button to C-1 and asked the inmates to stop pounding
because I was trying to sleep and they were keeping me awake. I then asked them
why they were behaving this way. Both inmates started talking at once, they
said they had not been fed lunch and were angry about the way they were being
treated and threatened by Todd ( Deputy Hines) with a taser ealier. A lot of
what they said was un legible because of the echo, but they did request 2
cheese burgers, 2 cigarettes and to talk to Vater and they wanted me to make
sure they got a lighter also. I said I would pass all of this along.

At 12:41 I told inmate Kuss and Spangler that I passed on their request and I
asked them to stop pounding and kicking things and told them this may help them
if they did stop this. ( Per Gary Shand)

At Approximately 1300 hrs, Chief Shand came back up to North Control, he asked
if I had talked to Kuss and Spangler again? I stated no, Chief Shand asked If I
knew if they had anything in their room, I stated I did not know but I would
ask. I called into C-1 and asked inmate Spangler and Kuss if they had anything
in there room that I would be concerned about, they asked me what I meant and I
asked again if they had any pieces to the sprinkler system and or wall speaker
or anything I needed to be worried about if I came up to their room. It was

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very hard to understand them on the speaker an vise versa but they stated they
had already slid out broken pieces of things.

1310 SWAT went up to C-1, One inmate was cuffed thru the pass thru then the
second one. C-1 was slid open and both inmates were taken into custody with out
incident.

1315 the incident was over.



FOLLOW-UP ACTION TAKEN:




REMARKS:

13:31:41 MOORE T         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
Subject stated to me that he wanted to go back to DOC tomorrow and that he is
frustrated with his attorney Rob Jones for bringing him back to Skagit against
his will. Subject stated he will not testify against anybody and we will have
to fight him all the way.

FOLLOW-UP ACTION TAKEN:

REMARKS:

13:32:01 CALLAHAN N      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
THIS MORNING I HEARD RADIO TRAFFIC THAT A WINDOW HAD BEEN BROKEN IN C-1.
SHORTLY AFTER THERE WAS FLOODING IN C-POD. AT LUNCH TIME C-1 WAS OCCUPIED BY
INMATE SPANGLER AND INMATE KUSS. THEY WERE NOT GIVEN LUNCH. AFTER LUNCH THE
JAIL WAS LOCKED DOWN AND THE H.U.R.T. TEAM WAS ASSEMBLED IN THE MULTIPURPOSE
ROOM. I WAS IN NORTH CONTROL HELPING DEPUTY STORIE. THE H.U.R.T. TEAM ENTERED
C-POD AND WAS ABLE TO EXTRACT INMATE SPANGLER AND HE WAS BROUGHT TO ISO-2. I
THEN LEFT NORTH CONTROL AND WENT BACK TO MY BOOKING DUTIES.

14:07:15 FUTRELLE K       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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At approximately 0815 hours I was notified by Dep. Stewart that the window
in C-2 was broken out. I was not able to respond for a couple of minutes. When
I did get to go to the C-pod, Dep's. Liekhus and Tararan had already moved the
occupants of C-2 into C-1. They were also doing a shakedown of the room and
discovering contraband. I instructed them to complete checking the room and
then to leave everything right where it is.
    I then returned to the Intake area and called Dispatch asking for a Patrol
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Deputy to respond and investigate. Then I called Chief Shand and informed him
of the incident that had just occurred.
    At approximately 0930 Chief Shand went to the N. End to inspection C-2. I
followed Chief Shand to C-pod. While he was inspecting the room and shortly
thereafter Kuss and/or Spangler where yelling from C-1 calling Chief Shand a
"Bitch".
    At approximately 0930 hours Dep. Lasley arrived at the jail to investigate.
    At approximately 1000 hours Dep. Storie radioed from North Control that
there was flooding in C-pod. I responded along with Dep's Liekhus ,Tararan and
Stewart. The flooding had obviously come from C-1 were Kuss and Spangler were
being temporarily housed. The water had filled the upper tier and was running
down the stairs to the lower tier. The water was shut off by Dep. Liekhus and
we proceeded to clean up the water. During this whole time the window to C-1
was covered and the 2 occupants attempted to splash water on me from under the
door while I was cleaning in front of C-1.
   At approximately 1135 hours, myself and Dep. Hines each retrieved a Taser.
We went to C-1 in an attempt to move Kuss and Spangler to Iso-2. It was at that
time that we discovered that they had removed the smoke detector cover. We
decided to back off for the time being. I then informed Sgt. Moore of what was
going on. Lunch was served shortly thereafter and we could hear banging in C-1.
A few minutes later we heard from Dep. Dewey, who was standing outside the
North End of the building, that the window was just about totally broken out.
    At approximately 1300 hours, HRT arrived. They made a plan and extracted
Kuss and Spangler from C-1. After securing Kuss, they handed him off to myself
and Dep. Laquet and we escorted him to Grey 13.

FOLLOW-UP ACTION TAKEN:

REMARKS:

14:12:35 TARARAN A        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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On 10/27/2008, while North Rover, I received information that a window in C-Pod
was broken out. Upon checking C-Pod Deputy Liekhus and I discovered I/M's Kuss
and Spangler in C-2 had broken out their window. We removed I/M's Kuss and
Spangler from C-2 to C-1 while we checked C-2 for contraband. In C-2 we
discovered pruno and fishing line. Deputy Liekhus and I went to North Control
to give the North Control Deputy a break. While in North Control an I/M from
lower C-Pod called and stated "They are flooding." Deputy Liekhus and I
responded to C-Pod and turned the water off for C-1. We then began cleaning the
water in the C-Pod Dayroom and upper tier. I/M's Kuss and Spangler were left in
C-1 while we were feeding the North end. During lunch, I received information
via portable radio that I/M's Kuss and Spangler were starting to break through
the window in C-1. At that time Deputy Hines, Liekhus, Stewart and Futrelle
responded to C-1 with tasers to try to get I/M's Kuss and Spangler out of their
room. I observed from the Dayroom. Upon opening the passthrough I/M's Kuss and
Spangler became verbally uncooperative. Deputies stated that they had the metal
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smoke detector cover and were able to use it as a weapon. At that time the
passthrough was closed and Deputies decided to use the HRT team to remove I/M's
safely. HRT responded and removed I/M's without incident. I observed the
removal from North Control. AAT




FOLLOW-UP ACTION TAKEN:




REMARKS:

14:34:26 SMITH BEN       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -1    ' to `SCJ -SCJ1-S   -ISO -2   '.

15:14:28 LIEKHUS F        JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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At approximately 0815 hrs, I received a phone call in North control from Deputy
Stewart stating that maintenance call and stated they found glass on the north
side of the building. they saw one of the windows broken out and it had paper
on it so it couldn't be seen from the inside.
When Deputy Storie returned from her break, I informed her of what I heard and
that we (Deputy Tararan and myself) were going into C pod to do a check.
Inmates Kuss, Branden #364492 and Spangler, Bryce #220164 were on their hour
out at this time. As we walked around the pod, we noticed that only C-2 had
paper on their window. Since C-1 was unoccuppied at this time, I had the two
inmates go in there and locked them down.
Upon entering C-2, we found that the entire window was covered with photographs
and kites. Upon removing these, I could see that the entire lower portion of
the window was broken out and the rest of the window was shattered. It was at
this time that I radioed for LO Futrelle to come back to C-2. Deputy Tararan
and I started to check the cell for contraband. Directly under the window, I
found two fishing lines, one tied to a sock with a deodrant stick inside, the
other tied to a wife-beater tank top. I found very little glass inside the cell
itself. We took every bed/mattress apart while looking for contraband. While
doing so, we found five extra mattress covers and Deputy Tararan found the
starting of a mix of pruno under a green tub. Deputy Hines showed up and took
pictures of the room. We left the room and all its contents as we were told
this is now a crime scene.
At approximately 1030hrs while in North control, C-6 buzzed in and stated that
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there is a flood happening in C-pod. I got the water chase key and Deputy
Tararan and I went into C-pod to investigate. Water was cascading down the
stairs. I went upstairs to see where it was coming from. Cells 3 and 5 had
blankets under the door trying to keep the water out. Cell 4 was full of water
but its occupant was lying on his rack. The occupants in Cell 1 were still
flushing their toilet and pushing the water out when I got there. I immediately
went to the water chase and turned off the water to Cells 1 and 6. At this time
Deputies Futrelle and Stewart showed up and got squeeges and started cleaning
up the upper tier. Deputy Tararan and I got the wet/dry vac and started
cleaning up the lower tier. During this time, Dep. Lasley from the patrol
division showed up and started her investigation.
At approximately 1115, It was determinded to move the two individuals out (one
to ISO 2, one to G-13). Deputies Hines and Futrelle were armed with tasers, and
Deputy Stewart and myself were going to handcuff the two and move them. With
the window on the door covered with paper, I opened the cuff port and we saw
the covering to the smoke detector covering the inside of the door. we now
realized that they now have a weapon with them. At this time, Deputy Futrelle
told me to close the port and we will replan this move. It was decided to feed
everybody lunch at this time and come back to these two.
At approximately 1245, the HRT squad showed up in full gear and we were briefed
how they were going to remove these two from C-1. When ordered by the HRT
squad, the occupants complied with their orders to cuff up through the port.
First inmate Kuss put his hands through and was cuffed up, the door was opened
and he was removed and the door closed. Then inmate Spangler was ordered to put
his hands through the port and and he was cuffed up. The door was reopened and
he was removed. Deputies Futrelle, LaQuet and Stewart excorted Kuss to G-13
while Deputy Hines and myself escorted Spangler to ISO 2. Upon arriving in ISO
2, inmate Spangler was ordered to kneel on the floor. Deputy Hines pointed the
taser at him at this time and told him that he was doing this and if he did not

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comply, he will be tased. Inmate Spangler stated he would comply. While the
taser was aimed at the inmate, I removed the handcuffs and his hands were
placed behind his head. At this time, I exited the cell and Deputy Hines
followed after checking the room. The door was closed and inmate Spangler then
asked if he could now get a hot meal.




FOLLOW-UP ACTION TAKEN: Inmates moved to G-13 and ISO 2.
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REMARKS:

Total for 10/27/08:   9


Date: 10/28/08
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11:32:57 MOORE T          INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 10/28/08

RULE VIOLATION:
MAJOR--Rioting or encouraging riot or demonstration.
MAJOR--Intentionally or recklessly destroying or damaging county property.
MINOR--Failure to keep one's person and one's quarters in accordance with
posted standards, rules and regulations.
MINOR--Refusing to obey a lawful order of any staff member.

DETAILS OF INCIDENT: On 10/27/08 you were housed in C-2 where this window was
found to be broken and covered by pictures and paper. The walls of your room
were drawn with swastikas and words pertaining to white supremacy. You were
moved to C-1 where you flooded your cell and subsequent pod with water from
your toilet. You removed the cover to the fire alarm detector and broke this
detector in pieces. You broke the window to C-1. You threatened jail staff
with the cover to the fire alarm detector and refused to listen to repeated
orders to stop and cuff up at the pass through portal. The SCSO HRT team was
called in order to remove you from your cell.

DESCRIBE ANY PERSONAL INJURIES: Branden Kuss has sore knuckles.   Bryce Spangler
has a small cut.

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: Branden Kuss and Bryce Spangler
both refused medical treatment.

DESCRIBE ANY PROPERTY DAMAGE: Two isolation cells placed out of service due to
broken windows and broken fire alarm detector.

DISCIPLINARY SANCTION: 30 days disciplinary segregation starting 10/27/07 and
ending 11/26/08. No commissary or visitation privilages during this time
period. Commissary and/or visitation privilages can be earned back with good
behavior. Criminal charges are pending.

I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
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to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________


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Total for 10/28/08: 1


Date: 10/31/08
--------------
13:13:55 CALLAHAN N      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
TODAY WHILE SERVING LUNCH INMATE SPANGLER REFUSED HIS LUNCH. HE SAID HE WAS ON A
HUNGER STRIKE

18:48:45 SALINAS E       MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
Today, while disbursing medications, Inmates Presnell, Charles NN# 95400 and
Spangler, Bryce NN#220164 advised that they refused to eat and would not eat
anything until we brought them a large pizza from Dominoes. I told them that it
was their choice to eat or not to eat. I told them that when the time came, I
would place their food trays on their pass-throughs and would give them the
chance to eat. They said that they had not eaten anything today and would not
eat until their demands were met. I told them that I would write a report.

At dinnertime, I placed their trays with food on their pass-throughs as
promised. They said they would not eat. I told them not to throw out the trays
or they would have bigger issues to deal with. They agreed. Spangler asked if
licking the frosting off the cake would constitute eating. I said NO.

When I went back to pick up the trays, both trays had been placed on the floor
in front of their pass-throughs. They were not spilled. It did look like they
both had licked the frosting off the cakes, though. They reminded me not to
forget to write this report and state how they did not eat and would not eat
until we met their demands. Then they asked me for kites and commissary slips.

Report written.

Total for 10/31/08:   2
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Date: 11/01/08
--------------
12:16:38 TARARAN A       MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
FOR BREAKFAST AND LUNCH I/M REFUSED TO EAT. STATED THAT HE WON'T EAT UNTIL DOC
AND US CHANGE OUR MENU.

17:00:00 WALDE J           JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
did not eat dinner

Total for 11/01/08:    2


Date: 11/02/08
--------------
07:02:48 CALLAHAN N      SOUTH END RECREATION       0.00 SPANGLER, BRYCE L
HOUR OUT FROM 0655 TO 0755


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Time     Officer           Event Type             Qty    Inmate
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12:46:28 TARARAN A         MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
Today I/M stated that he   was saving his food to be tested by a doctor. I/M
emphasized to me that he   was not eating, only saving the food. AAT

18:00:00 SMITH BEN       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Inmate Spangler (#220164) stated at evening meal to myself (Deputy Smith), and
Deputy Kammerer that he would not eat his tray, and that he wanted a sack lunch
to add to his pile that he has sitting in his cell. He then asked what it
would take to get PUT on sack lunches. I responded that he should not concern
himself with that.

Total for 11/02/08:    3


Date: 11/04/08
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09:44:34 MCDONALD J         SOUTH END RECREATION     0.00 SPANGLER, BRYCE L

10:51:04 MCDONALD J        SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
back in

11:35:36 DILLAMAN K         DEPT OF CORRECTIONS RE   0.00 SPANGLER, BRYCE L
Released from record       165642, location SCJ -SCJ1-S   -ISO -2

12:01:18 MOORE T         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
While subject was leaving for DOC it was discovered that he had a new tattoo.
A search of his room did not produce any contraband. Charles Presnell stated
that he was given a staple by subject used for tattooing and told me where we
would find it. When questioned about the alarm cover Charles Presnell stated
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it has been that way and didn't think about telling anybody.

FOLLOW-UP ACTION TAKEN:

REMARKS:

Total for 11/04/08:   4


Date: 01/27/09
--------------
13:31:13 STORIE P        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Per Sgt. Parker, inmate Spangler housed in C-pod is not to be housed with
Inmate Kuss.


FOLLOW-UP ACTION TAKEN:
REMARKS:


08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty     Inmate
-------- --------------- ---------------------- ------ -------------------------
13:33:13 DILLAMAN K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
DOC brought back I/M Spangler from prison. Sgt. Parker informed me to get a
room ready in C-pod for him. C-8 was checked previous from him entering the
cell and there was nothing broken or missing. Per Sgt. Parker subject will not
be housed with I/M Kuss #364492 and I/M Lederle #84650.



FOLLOW-UP ACTION TAKEN:




REMARKS:

13:46:34 STORIE P        DEPT OF CORRECTIONS BO    0.00 SPANGLER, BRYCE L
Arrived at jail 11:10:00 01/27/09

13:46:34 STORIE P        INMATE CELL CHANGE        0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -CO -8    '.

14:35:36 WARNER M        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -8    ' to `SCJ -SCJ1-N   -C   -8   '.

Total for 01/27/09:   5
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Date: 01/28/09
--------------
07:43:59 MCDONALD J      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
09-1-00050-5, RIGHTED AND BAIL SET AT $10,000 NEXT DATE IS 02/05/09

Total for 01/28/09:    1


Date: 01/29/09
--------------
11:20:00 LIEKHUS F         NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT 1015-1120

18:10:43 MOORE T           INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
BAIL HELD AT 10,000.

Total for 01/29/09:    2


Date: 01/30/09
--------------
18:59:17 ANDERSON DM       NORTH END RECREATION     0.00 SPANGLER, BRYCE L


08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:    28

Time     Officer         Event Type             Qty    Inmate
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Total for 01/30/09: 1


Date: 02/01/09
--------------
19:02:46 BURTIS M          NORTH END RECREATION     0.00 SPANGLER, BRYCE L
1900-2000

Total for 02/01/09:    1


Date: 02/03/09
--------------
10:53:01 SARGENT D         NORTH END RECREATION     0.00 SPANGLER, BRYCE L

Total for 02/03/09:    1


Date: 02/05/09
--------------
09:57:07 SARGENT D         NORTH END RECREATION     0.00 SPANGLER, BRYCE L

Total for 02/05/09:    1
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Date: 02/07/09
--------------
09:59:35 KAMMERER I      NORTH END RECREATION         0.00 SPANGLER, BRYCE L
POD CHECKED BY DEPUTY PARKER

Total for 02/07/09:    1


Date: 02/09/09
--------------
22:08:18 BLOCK MM        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
At medications rounds in C-pod I/M Spangler said to me that if I did not move
him or his roommate that there was going to be a fight. I/M Spangler's roommate
is I/M Cannon,Joesph , who is sporting a broken left collar bone. I said to I/M
Spangler that picking a fight with a guy with one arm was not a fair fight. I/M
Spangler said he might have to kill his roommate if I did not move him. I was
done with medication in C-pod and directly went to speak with Sgt. O'Neill
regarding moving I/M Cannon . With the move approved I went back to C-pod to
get I/M Cannon and move him to C-1 . I could hear water running as soon as I
came through the sally to the North End. I announced over the radio there was a
flood in C-pod. Deputies , Walde , Zorn , and Hines responded. It was found
that both I/M Spangler in C-8 and I/M Lederle,Jesse in C-5 were flooding. I/M
Spangler will be going back to prison tommorow and with any luck will never
return. I/M Lederle,Jesse should NEVER be allowed to live upstairs anywhere and
will receive disciplinary action. MMBLOCK


08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    29

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/09/09: 1


Date: 02/10/09
--------------
10:46:30 FUTRELLE K         DEPT OF CORRECTIONS RE   0.00 SPANGLER, BRYCE L
Released from record       166921, location SCJ -SCJ1-N   -C   -8

Total for 02/10/09:    1


Date: 12/21/10
--------------
23:59:55 FADDIS D        INMATE CELL CHANGE           0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -B   -1      '.

23:59:55 FADDIS D        INVESTIGATIVE HOLD           0.00 SPANGLER, BRYCE L
Arrived at jail 23:40:00 12/21/10
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Total for 12/21/10:    2


Date: 12/22/10
--------------
00:13:05 FADDIS D        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
"AT 0012 WHILE DOING THE INTAKE ON SUBJECT SPANGLER, SUBJECT ASKED "WHAT AM I
BEING HELD ON?" I INFORMED SUBJECT THAT HE WAS BEING HELD ON INVESTIGATION OF
ROBBERY 1ST, AND POSSESSION OF DRUG PARAPHENALIA, SUBJECT STATED "I SHOULD HAVE
JUST STABBED THE SECURITY", I WOULD HAVE GOTTEN THE SAME AMOUNT OF TIME".

FOLLOW-UP ACTION TAKEN:

REMARKS:

00:26:47 FADDIS D        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -B   -1   ' to `SCJ -SCJ1-N   -AF -8    '.

07:00:00 FADDIS D          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTS

08:34:39 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED ON CASE V10-488, BAIL AT $50,000 PER JUDGE SMITH. INCF ON 12/27/10 AT
16:00

13:02:48 SARGENT D       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -AF -8    ' to `SCJ -SCJ1-N   -A   -7B '.

Total for 12/22/10:    5



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11:54      Jail Events Summary Report, By Date, Time With Comments    Page:      30

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 12/27/10
--------------
08:58:11 DILLAMAN K      NO CHARGES FILED RELEA   0.00 SPANGLER, BRYCE L
INCF ON CASE V10-488

08:58:38 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED ON 10-1-01027-0 BAIL AT $25,000 PER JUDGE SMITH.

Total for 12/27/10:    2


Date: 12/30/10
--------------
12:11:08 HOLMSTROM N       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
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APPEARED IN SUPERIOR COURT ON CAUSE# 10-1-01027-0, BAIL WAS REDUCED TO
$10,000.00 BONDABLE. CASE CONTINUED TO 01-27-11 FOR OMNIBUS.

Total for 12/30/10:   1


Date: 01/09/11
--------------
22:19:37 BLOCK MM        MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
While doing rounds in A-pod I entered A-7 to do a check. I/M Spangler was in
his room sitting on his bunk, as I looked around I noticed the left side of his
face appeared to be red and splotchy. As I looked closer I could see that he had
new tattoos on his face. Below his left eye are two small lighting bolts and
above his left eye brow is another design of some type. I questioned him about
the tattoos and he adamantly denied that the tattoos were new. I did a brief
search in A-7 but could not immediately locate any tattooing tools. When I was
able, I pulled up his mug shot from this booking which clearly shows he had NO
tattoos on his face. I/M Spangler should be photographed again before released
so an updated picture is in the system showing these markings.

Dep. Block has placed a hold screen for a new picture upon release.
Sgt. Randall

Total for 01/09/11:   1


Date: 01/14/11
--------------
20:30:12 BEISLER P        JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    31

Time     Officer         Event Type              Qty   Inmate
-------- --------------- ---------------------- ------ -------------------------
At 2000 hours when I let the upper tier of A-pod out for their rec time I
noticed several I/M's go into A-7 very quickly. The one I could positively say I
recognized because he came out of A-1 and is the tallest in the room was Nate
Evans. I turned on the speaker for that room and could hear what sounded like
slapping sounds. I heard Evans voice telling someone in there I could not
identify that they needed to "Get the fuck out of my pod" and that they need to
"PC" out now. While all the talking was going on the slapping sounds were still
going.
 I radiod at that point that there was possibly a fight in A-pod and over the
pod speaker had A-pod lock down. All I/M's locked down at that point. Deputies
Walde, Zorn, and Hines entered the pod. Deputy Hines took Spangler, Bryce to the
booking area due to having a red mark on his face and slightly heavy breathing.
 Deputies Walde and Zorn continued to investigate in A-pod but everyone denied
anything had happened. The pod was then let out.
 Bryce was returned to the pod and went straight to A-9 to talk to the occupants
of that room. Tweten, Guy and Lewis, Robert are in A-9. He was telling them that
Nate Evans, Gato (Shannon Daignault) and Tyler Gilbert had all come into his
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 29 of 243



room and started fighting with him. He stated that he wasn't afraid of fighting
with them.
 Bryce then went over to A-14 and was speaking to them about what had happened.
I heard him say that he knew he was going to get jumped by them at some point so
he had "Shanked up". The pod was locked down again at this point per Sgt.
Oneill.
 Deputy Hines and Deputy Dodds came back and searched A-7 where Spangler is
housed. No weapons were found in the search.

While A-7 was being searched there was a lot of flushing in A-1 and someone kept
saying to hurry up.

I listened to some of the upper tier rooms and some of the lower tier rooms also
and it seems there is some tension in the pod so this should be watched.




FOLLOW-UP ACTION TAKEN: Sgt. Oneill notified and report written...A-pod locked
down for the rest of tonight 1-14-2011 per Sgt. Oneill.




REMARKS: Keep a close eye on A-pod as there seems to be rising tensions in the
pod.

Total for 01/14/11:   1



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/17/11
--------------
12:55:00 HANNAHAN D      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While discussing TR rules with the Pod cleaner subject stated, "God, what a
bitch." I told him he would be locked down for 24hrs for disrespect to staff.
This sanction will be done 01.18.2011 @ 1255. -DMH

FOLLOW-UP:
Subject later apologized and stated he would "remove that word from my
vocabulary". I told subject I would suspend half of his sanction, and he would
lose ONLY his first tier time. -DMH

Total for 01/17/11:   1
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Date: 01/20/11
--------------
12:41:41 SCHRADER B      INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -A   -7B ' to `SCJ -SCJ1-N   -A   -3A '.

21:13:03 ANDERSON DM     JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Deputy Hines in north control asked me to check A-7 since no one should have
been in the room. I checked A-7, I/M Spangler and I/M Mayse items were in the
room. When I was in the cell I/M Spangler said "now how does it feel to be
locked in the room" and he was closing the door when I was in the room. I told
him that was not a wise action and I/M Spangler did not lock the door on me. I
asked him if this was his property and he said yes. I told him to get his items
and move to the correct cell and that he will need to lock down. I/M Spangler
asked me several times if I was serious and I told him yes I am. I/M Spangler
became angry with me and grabbed his items and move them back to A-3. After he
moved his items he tried to negotiate the lock down and started to refuse. I
told him to get in the room and lock down which he did grudgingly.


FOLLOW-UP ACTION TAKEN:lock down 24 hours ending on 1/21/2010 2130.

REMARKS:

Total for 01/20/11:    2


Date: 01/21/11
--------------
20:44:10 WARNER M        INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -A   -3A ' to `SCJ -SCJ1-N   -CO -6    '.

20:58:40 ANDERSON DM       JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                              217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
A-Pod was locked down this evening and at medication time I/M Spangler was told
to put his jail shirt on but refused to follow the direction. I/M Spangler
walked from his cell to the front door to give me his laundry, calling me a
"mother fucker" and walked back to his cell but didn't enter. After I was done
giving medications to A-3 I had to tell the inmates in A-3 to lock down several
times but they did not listen. I had to ask Deputy Warner to tell them to lock
down over the intercom. Sgt Randall was informed of I/M Spangler actions and
said it was all right to move I/M Spangler to C-6.

Supplement by Deputy Zorn: I was North Rover tonight. When I was in A-Pod
subject spoke loudly and clearly about Deputy Anderson. Subject stated of Deputy
Anderson "he's fucking scared of me and he shouldn't work here if he's scared of
inmates". When I directed subject to stop speaking about a CO in that manner,
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subject stated "fuck him". I advised Deputy Anderson and Sgt Randall of
subject's verbiage and manner. In C-Pod, subject continued to speak derogatorily
of Deputy Anderson and state Deputy Anderson was afraid of him. JAZ




OLLOW-UP ACTION TAKEN:




REMARKS:

21:32:58 ANDERSON DM     INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:1/21/2011

RULE VIOLATION:
REFUSING TO OBEY A LAWFUL ORDER OF ANY STAFF MEMBER.
MAKING RACIAL, SEXUAL OR ETHNIC SLURS OR REMARKS TO STAFF OR OTHERS.

DETAILS OF INCIDENT: REFUSING TO FOLLOW DIRECTION GIVEN TO HIM BY PUTTING A
SHIRT ON WHEN TOLD. ALSO CALLING DEPUTY ANDERSON A MOTHER FUCKER. I/M SPANGLER
IS ALSO TRYING INTIMIDATE A CORRECTION DEPUTY BY REFUSING TO FOLLOW DIRECTION
AND CHALLENGING DIRECT ORDERS. SEE JMJLOG# 847843, 846989, AND 847648.

DESCRIBE ANY PERSONAL INJURIES:N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE:N/A

DISCIPLINARY SANCTION:DISCIPLINARY SEG IN C-POD FOR 10 DAYS.

I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.
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INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 01/21/11:   3


Date: 01/22/11
--------------
12:31:50 KAMMERER I       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
On 1/22/11 I/M Knight, Malikai (NN#177455) asked me numerous times for shower
shoes and to be booked in. I told him when we had time, we would take care of
it. At 1225 hours, Knight asked me if he could get shower shoes and be booked
in soon. I told him I would check up front. No sooner did I stop talking to
him, he pushed the button again, and stated, "I need to get out of here, this
guy here is scaring me, his tattoos are scaring me, and he's very racist." I
told him OK. He continued to push the button, and started kicking the door. I
radioed to staff what was going on. I listened in to C-6, and heard him and I/M
Spangler, Bryce (NN#220164) Deputies Parker and Block responded. Knight was
going to be moved to C-10. When he saw there was an inmate there, he stated, "I
can't go in there, I have problems with him too." He was housed in C-8 by
himself, as it appears he might have some mental health issues. IMK

FOLLOW-UP ACTION TAKEN:

REMARKS:

13:38:45 WARNER M        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -6    ' to `SCJ -SCJ1-N   -C   -6   '.

Total for 01/22/11:   2


Date: 01/23/11
--------------
14:24:16 LIEKHUS F        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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______________________________________________________________________
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                                 NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: SPANGLER, BRYCE, IDENTIFICATION NUMBER:220164,
DECISION SERVED ON INMATE ON (Time and Date):1330 1/23/11
BY:F. LIEKHUS
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):

REFUSING TO OBEY A LAWFUL ORDER OF ANY STAFF MEMBER.
MAKING RACIAL, SEXUAL OR ETHNIC SLURS OR REMARKS TO STAFF OR OTHERS.
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: 6    REFUSING TO OBEY A LAWFUL ORDER OF ANY STAFF MEMBER
              PLEA: NG          FINDING: NG

RULE: 16 MAKING RACIAL, SEXUAL OR ETHNIC SLURS OR REMARKS TO STAFF OR OTHERS.
            PLEA: NG         FINDING: G
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: 6. REFUSING TO OBEY A LAWFUL ORDER OF ANY STAFF MEMBER.

EVIDENCE: REPORT STATES HE WENT BACK TO HIS CELL . DOES NOT STATE WHETHER HE
PUT HIS SHIRT ON OR NOT


RULE: 16 MAKING RACIAL, SEXUAL OR ETHNIC SLURS OR REMARKS TO STAFF OR OTHERS.
EVIDENCE: NUMEROUS REPORTS OVER THE PAST 4 DAYS SHOWS DISRESPECT FOR CERTAIN
STAFF MEMBERS. WHETHER IN A JOKING TERM, TO THEIR FACE OR OFF TO ONE SIDE,
REMARKS WERE STILL MADE THAT SHOW DISRESPECT. SPANGLER ADMITTED TO SOME REMARKS
BUT SAID HE THOUGHT THEY WERE JOKING AROUND.

_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: 7 DAYS IN C POD IN DISCIPLINARY STATUS.
REASON: ONLY HAD TWO 24 HR LOCK DOWN ON THIS BOOKING DUE TO CHANGING CELLS
WITHOUT PERMISSION AND DISRESPECT TO STAFF. INMATE WAS POSSIBLE ESCALATING IN
BEHAVIOR. NEEDS 7 DAYS TO REFLECT ON ATTITUDE AND CHANGE WAYS.



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Time     Officer         Event Type             Qty    Inmate
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_____________________________________________________________________

DATE OF DECISION:   01/23/11     HEARING OFFICER: F. LIEKHUS
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Total for 01/23/11:    1


Date: 01/24/11
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17:14:00 HANNAHAN D          NORTH END RECREATION     0.00 SPANGLER, BRYCE L
1715-1815

Total for 01/24/11:    1


Date: 01/25/11
--------------
06:54:45 SALINAS E            NORTH END RECREATION    0.00 SPANGLER, BRYCE L
no rec today- d-seg-       had rec yesterday (see report #848280)

20:57:43 FUTRELLE K      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -6   ' to `SCJ -SCJ1-N   -CO -5    '.

Total for 01/25/11:    2


Date: 01/27/11
--------------
23:13:04 FUTRELLE K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
cont'd on 10-1-01027-0, new trial dates set also.

Total for 01/27/11:    1


Date: 01/29/11
--------------
13:25:25 VATER R         INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -5    ' to `SCJ -SCJ1-N   -A   -10A '.

Total for 01/29/11:    1
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/31/11
--------------
21:00:00 BLOCK MM        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
During a pod check I noticed 3 persons in A-9. I had North Control open the
door and found I/M Spangler had moved himself into A-9 without authorization.
I/M Spangler was moved back to his assigned room A-10 and will be on lockdown
until 2200 Tues Feb 1.

Total for 01/31/11:   1


Date: 02/02/11
--------------
22:25:00 FUTRELLE K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
At approximately 2225 hrs A-10 pushed their button. When I asked what they
needed one of the occupants stated that I/M Spangler had fallen from his bunk
and hit his head. I notified staff via radio that we may have a medical
emergency in A-Pod. DCF

    At approximately 2225 hours, North Control radioed to say that there was a
medical emergency in A-10 involving Spangler falling out of bed.
    Myself and Dep. Callahan responded. When we arrived we found Spangler laying
on the floor on his back and he was holding a towel to his head. He was
responsive. He had a cut above his left eye, which was bleeding, and he was
complaining of a sore neck and numbness in his feet. He was instructed not to
move in case of neck or back injury. I looked at the cut above his eye and it
was apparent that stitches would probably be required.
   Rather than relaying all the information by radio, I asked Dep. Callahan to
go up front and tell Sgt. Oneill what we had discovered. Shortly after that Aid
was called. I stayed with Spangler until Aid arrived. I was then told that I
would be going to the Hospital with Spangler so I went to put on a vest.
   I followed the ambulance to the ER. Once there, Spangler was assessed and
eventually taken to have a CT scan, then returned to an ER room. Then his cut
was stitched.
   The Dr. determined that Spangler possibly had a slight concussion but nothing
extremely serious. After being stitched, Spangler was released from the ER and
we returned to the Jail.
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FOLLOW-UP ACTION TAKEN:




REMARKS:


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/02/11: 1


Date: 02/03/11
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02:01:44 FUTRELLE K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While at the hospital, a nurse commented that Spangler's tattoo looked
really fresh. He told that he had given it to himself just earlier in the day
and that he had actually given himself 3 of them.
    Later, when I talked to Sgt. O'Neill on the phone I told her that there was
probably tattoo equipment in A-10.
     We arrived back at the Jail Sgt. O'Neill questioned him about the tattoo
equipment. He replied that he had flushed it earlier because he thought that
there was going to be a shakedown. She questioned him again and he said that he
really had flushed it just like he had done the last time he thought that there
was going to be a shakedown a couple of weeks ago.




FOLLOW-UP ACTION TAKEN:




REMARKS:

16:31:22 ONEILL J        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
Subject seen in Superior Court on 10-1-10270. continued until 02-10-11 for
plea/.

Total for 02/03/11:   2


Date: 02/04/11
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10:33:10 SCHRADER B      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -A   -10A ' to `SCJ -SCJ1-N   -CO -8    '.

16:05:55 STORIE P        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    40

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
At Approximatley 10:10 2-4-2011, I was doing a check in A-pod. I noticed a red
wrist band on the top bunk of A-10. The wrist band belonged to I/M Spangler who
was out in the dayroom on one of the phones.
Next to the wrist band was a pencil with a metal spring wrapped around it and a
small plastic cup with ground up pencil lead in it. Also there were several
peices of pencil lead laying around the pastic cup and two small grey white
rags. I also found numerous combs with fishing line on them.

Deputy Laquet was at the dayroom door and came in to assist me searching the
rest of the room. I/M Spangler kept telling us that we would not find anything
else and at one point asked me if I would give him back his pencil and spring,
he stated he didnt care about the wrist band.

Inmate Spangler was taken up to the change room, striped searched by Deputy
Laquet and checked for fresh tattoo's. A small new tattoo was found left side of
his neck. Inmate Spangler was housed in C-8 for 24 hours.

Lock Down 2-4-11 10:10 am
out of lock down 2-5-11 10:10 am


FOLLOW-UP ACTION TAKEN: He will need a new wrist band.

REMARKS:

18:10:09 STORIE P        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    41

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:2-4-2011

RULE VIOLATION:RULE #4 POSSESSION OF ANYUTHING NOT AURTHORIZED FOR RETENTION OR
RECEIPT BY A RESIDENT AND NOT ISSUED TO HIM OR HER BY REGULAR INSTITUTIONAL
CHANNELS. ( TATTOO MAKING ITEMS)

DETAILS OF INCIDENT:At Approximatley 10:10 2-4-2011, I was doing a check in
A-pod. I noticed a red
wrist band on the top bunk of A-10. The wrist band belonged to I/M Spangler who
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 38 of 243



was out in the dayroom on one of the phones.
Next to the wrist band was a pencil with a metal spring wrapped around it and a
small plastic cup with ground up pencil lead in it. Also there were several
peices of pencil lead laying around the pastic cup and two small grey white
rags. I also found numerous combs with fishing line on them.

Deputy Laquet was at the dayroom door and came in to assist me searching the
rest of the room. I/M Spangler kept telling us that we would not find anything
else and at one point asked me if I would give him back his pencil and spring,
he stated he didnt care about the wrist band.

Inmate Spangler was taken up to the change room, striped searched by Deputy
Laquet and checked for fresh tattoo's. A small new tattoo was found left side of
his neck. Inmate Spangler was housed in C-8 for 24 hours.

Lock Down 2-4-11 10:10 am
out of lock down 2-5-11 10:10 am


FOLLOW-UP ACTION TAKEN: He will need a new wrist band.

REMARKS:



DESCRIBE ANY PERSONAL INJURIES:N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE:N/A
DISCIPLINARY SANCTION:LOCK DOWN 2-4-11 10:10// OUT OF LOCK DOWN 2-5-2011 10:10
AM

I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


08/03/12                      SKAGIT COUNTY JAIL                               217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------

INMATE NAME_____________________________________DATE_______________
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DEPUTY__________________________________

Total for 02/04/11:   3


Date: 02/05/11
--------------
11:40:56 HOLMSTROM N     INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -8    ' to `SCJ -SCJ1-N   -AF -9    '.

Total for 02/05/11:   1


Date: 02/06/11
--------------
03:49:44 SALINAS E       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
At 0340 count, Inmate Spangler was found in A-10 when he was actually housed in
A-9. Subject was moved back to A-9 by Deputy D Faddis and will be locked down
for 24 hours.

Total for 02/06/11:   1


Date: 02/17/11
--------------
10:32:17 SARGENT D       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -AF -9    ' to `SCJ -SCJ1-N   -A   -9B '.

Total for 02/17/11:   1


Date: 02/21/11
--------------
21:15:04 HINES T          JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    43

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Mon Feb 21 21:15:26 PST 2011

RULE VIOLATION:Failure to follow an order

DETAILS OF INCIDENT:I announced for the pod to lock down over the loud speaker.
The whole lower tier locked down except for inmate Spangler. He was on the phone
by the pod door. I announced for a second time to lock down. He stayed on the
phone. I got on the speaker by the pod door and told him to lock down. He still
stayed on the phone for a few seconds and then ran to his room. I told him he
would be locked down for 24 hours for refusing to follow a verbal command.
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DESCRIBE ANY PERSONAL INJURIES:none

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:none

DESCRIBE ANY PROPERTY DAMAGE:none

DISCIPLINARY SANCTION:Lock down in A-9 for 24 hours ending 2000 hrs on
02-22-2011

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 02/21/11:   1


Date: 02/24/11
--------------
20:49:10 BLOCK MM        MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
I/M Spangler is showing more recents tattoos, he now has a new tattoo across the
front of his neck/throat area. A hold screen was placed for a new picture before
release.

Total for 02/24/11:   1



08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    44

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 02/25/11
--------------
20:46:35 ANDERSON DM     JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
At medication time I/M Spangler came to the door to get his medications and I
can see that I/M Spangler has been making tattoo ink. His hands were blacken
like he was handling pencil lead or ink. Also I observed that I/M Spangler
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spend most of his time in the day room in his cell.   When he got his medication
he went back in his cell.




FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 02/25/11:   1


Date: 02/26/11
--------------
09:31:40 HOLMSTROM N     INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -A   -9B ' to `SCJ -SCJ1-N   -C   -7   '.

11:42:50 BUTCHER K       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
After I/M Spangler, Bryce N#220164 was moved to C-6 with I/M Blum, Brandon
N#315305 I started to listen to there conversation. The 2 inmates talked about
passing notes back and forth with the trays and I/M Spangler was asking if his
notes got to "Justin". There is only one trustee with the name Justin, and that
is I/M Hughes, Justin N#232493. It was also mentioned that there might be some
witting going on in A-Rec. Both I/M Spangler and I/M Blum state that they will
try and get back to A-Pod. I/M Spangler said that he will say that he is a
nortano and his tattoo's are a cover. I/M Blum says he will try and get back to
trustee to continue what he was doing, but wants to go to A-Pod when he leaves
C-Pod. I/M Spangler admitted to I/M Blum that the tattoo gear was his and that
he had tattooed another inmates back for commissary. I/M Spangler also said
that the bag of crushed pills was his as well and would trade that for
commissary. I/M Spangler also talked with C-9 about people tattooing upstairs.

12:48:02 BEISLER P        JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    45

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
While searching in A-pod I found tattoo items in Spanglers bunk area. There was
a spring wrapped around a pencil. The spring was very sharp on one end and had
residue from ink of some sort. I also found a toothpaste cap full of ink or
pencil lead that had been broken down to a liquid/paste form to be used for
tattooing. Also in Spanglers bunk area I found some hand written names that
match the name that is tattood on his neck.
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 Later on another spring was found in A-9 also but it was in the box that is
above the door in their room and was screwed in to it. This was also sharp and
had the appearance of being used recently.
 Spangler was moved to C-pod.

12:59:54 BEISLER P      INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    46

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 02-25-2011

RULE VIOLATION: Minor #4 Possession of anything not authorized for retention or
receipt by a resident and not issued to him or her by regular institutional
channels. (tattoo equiptment)

DETAILS OF INCIDENT:While doing a pod search in A-pod I found tattoo equiptment
in Spanglers bunk area. I found a pencil with a spring wrapped around it and ink
residue on the end which is commonly used for tattooing. There was also a
toothpaste lid with ink/pencil lead melted to a liquid which is also commonly
used for tattooing. There was also a rag which was covered in the ink/lead
residue. These items were all found on Spanglers bunk.
 Spangler has had multiple reports written about him for either tattooing or for
having tattooing equiptment.

Incident #'s 250345,850058,850035,853969,845615,and 853774

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:none

DESCRIBE ANY PROPERTY DAMAGE: Spring removed from county property.

DISCIPLINARY SANCTION: This sanction will be a progressive disciplinary
8 Days in C-pod starting on 02-26-2011 at 1000 hours and ending on 3-06-2011 at
1000 hours.
 He will also not have visiting for one week to end on 03-06-2011


I ACCEPT THIS SANCTION: YES/NO          I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.
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INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

18:23:54 WARNER M          INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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11:54         Jail Events Summary Report, By Date, Time With Comments   Page:    47

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: SPANGLER, BRYCE , IDENTIFICATION NUMBER: 20164,
DECISION SERVED ON INMATE ON (Time and Date):Sat Feb 26 18:25:46 PST 2011
BY:DEPUTY M WARNER U112
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: MINOR #4    PLEA:   NG     FINDING:G

RULE:             PLEA:          FINDING:

RULE:           PLEA:           FINDING:
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:MINOR #4 POSSESSION OF ANYTHING NOT AUTHORIZED FOR RETENTION OR RECEIPT BY
A RESIDENT AND NOT ISSUED TO HIM BY REGULAR INSTITUTIONAL CHANNELS. IE TATTOO
EQUIPMENT.

EVIDENCE: POD SEARCH OF A-POD TATTOO EQUIP FOUND IN SPANGLERS BUNK AREA. FRESH
TATTOOS ON SPANGLERS FACIAL AREA. SEE REPORTS: 853774,850345,850058,845615,




_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 44 of 243



________________________________________________________________________

SANCTION: 8 DAYS IN C-POD AND LOSS OF VISITING 3-06-11.

REASON:SANCTION UPHELD. LOOKING AT REPORTS
853969,853774,850345,850058,845615,846989,847648,847843,850602,AND THE CURRENT
DISCIPLINE 854086 IT IS APPARANT THAT SPANGLER, BRYCE IS A BEHAVIORIAL PROBLEM.
24 HOUR LOCK DOWNS IN POD HAVE NOT SLOWED DOWN HIS DISRESPECT FOR STAFF OR
FOLLOWING THE RULES. I FIND THE SANCTION IS JUSTIFIED AND PROGRESSIVE
DISCIPLINE. DURING THE COURSE OF THE HEARING SPANGLER WAS ONLY CONCERNED ABOUT
HIS VISIT AND SHOWED NO CONCERN FOR NOT FOLLOWING THE RULES OF THIS
INSTITUITION.


08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
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_____________________________________________________________________

DATE OF DECISION: 2-26-11       HEARING OFFICER:M D WARNER
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

18:26:28 BUTCHER K       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While picking up trays at C-7, where I/M Spangler, Bryce N#220164, and I/M Blum,
Brandon N#315305 are housed I saw that there was a note under the first tray
addressed to "Timmy". I could see that there were 2 different types of hand
witting on the note. As an earlier report (Event Number 854071 and 854072)
stated that I/M Spangler was sending messages to the trustee pod through the
trays. It was also stated in that report that I/M Spangler was trying to send
the notes to I/M Hughes, Justin N#232493. After talking with Deputy Block about
the note it was determined that I/M Hughes is "Timmy". The note also states
that "Timmy" is a handle, as is "Mr. Lonely"(I/M Spangler). The first part of
the note I/M Blum talks about how he was moved North due to I/M Cameron,
Dominick N#11788 having a paperclip. I/M Blum goes on to say that I/M Cameron
is put money on I/M Blum's phone or I/M Blum will "tell his[I/M Cameron's]
business". I/M Blum also says about I/M Cameron "Tell Cameron he owes me
$10-20 on my phone"! "Tell him if he don't, I'll put him on blast". "His fault
that I'm in the hole, his paper clip". I/M Spangler is just asking about
"Timmy's" sister and asking how he is doing, I/M Spangler also says that he is
in the hole again.
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FOLLOW-UP ACTION TAKEN:




REMARKS:

20:51:44 BUTCHER K        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    49

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:02-26-11

RULE VIOLATION:Corresponding with another pod

DETAILS OF INCIDENT:A note was found in dinner trays taken from C-7 with both
I/M Spangler and I/M Blum's writing, sent to "Timmy" in trustee pod.

While picking up trays at C-7, where I/M Spangler, Bryce N#220164, and I/M Blum,
Brandon N#315305 are housed I saw that there was a note under the first tray
addressed to "Timmy". I could see that there were 2 different types of hand
witting on the note. As an earlier report (Event Number 854071 and 854072)
stated that I/M Spangler was sending messages to the trustee pod through the
trays. It was also stated in that report that I/M Spangler was trying to send
the notes to I/M Hughes, Justin N#232493. After talking with Deputy Block about
the note it was determined that I/M Hughes is "Timmy". The note also states
that "Timmy" is a handle, as is "Mr. Lonely"(I/M Spangler). The first part of
the note I/M Blum talks about how he was moved North due to I/M Cameron,
Dominick N#11788 having a paperclip. I/M Blum goes on to say that I/M Cameron
is put money on I/M Blum's phone or I/M Blum will "tell his[I/M Cameron's]
business". I/M Blum also says about I/M Cameron "Tell Cameron he owes me
$10-20 on my phone"! "Tell him if he don't, I'll put him on blast". "His fault
that I'm in the hole, his paper clip". I/M Spangler is just asking about
"Timmy's" sister and asking how he is doing, I/M Spangler also says that he is
in the hole again.


DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE:None
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DISCIPLINARY SANCTION:2 days D-Seg starting 03-06-11 1000 hrs. and ending
03-08-11 1000 hrs.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________


08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    50

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/26/11: 7


Date: 02/27/11
--------------
08:00:00 MCDONALD J      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
ON 02/27/11 AT APPROXIMATELY 0720 HOURS I WAS HANDED TWO INFRACTIONS THAT NEEDED
HEARINGS ON INMATES SPANGLER AND BLUM. THE INFRACTIONS BOTH INVOLVED A LETTER
WRITTEN BY BOTH INMATES TO "TIMMY" IN THE TRUSTEE POD. I LOOKED AT KITES IN BOTH
INMATES FILES TO COMPARE THE HANDWRITING. I AM NO GRAPHOLOGIST (HAND WRITING
EXPERT), BUT IT WAS OBVIOUS THE WRITING IN THE LETTER WAS FROM BOTH INMATES.
WITH THIS INFORMATION I WANT TO THERE CELL (C-7). THEY WERE BOTH WOKEN UP AND
ASKED IF THEY REALLY WANTED A HEARING, THAT IT WAS OBVIOUS IT WAS THERE WITTING
AND THE ONLY QUALM THEY COULD HAVE WOULD BE TO CONTEST THE SANCTION. BOTH
INMATES STATED THEY DID NOT WANT A HEARING. AT THE TIME THE INFRACTIONS WERE
SERVED THEY WERE BOTH ANGRY. THEY ALSO MENTIONED THAT THEY DID NOT LIKE DEPUTY
BUTCHERS MUSTACHE AND HE SHOULD GET RID OF IT. I REITERATED MULTIPLE TIMES THEY
WERE NOT CONTESTING THE INFRACTION AND THEY BOTH ACKNOWLEDGED THEY WERE NOT EACH
TIME.

18:00:00 SALINAS E        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

Total for 02/27/11:   2
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 47 of 243




Date: 02/28/11
--------------
13:36:29 HANNAHAN D      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While doing a check I/M Spangler passed a kite thru the door of C7. I noticed
the name said Vasquez. I asked if he wrote it and he didn't answer. C7 had just
been out to clean up a lunch spill so I verified with I/M Vasquez to make sure
Spangler hadn't taken it. Vasquez denied putting out any kites. Spangler began
laughing and Vasquez began yelling at Spangler.
Spangler wrote,
"Hey I would like to know if I can be put in trustee
I have reformed my ways & wish to become
a productive member of jail society I have
become No more of a threat than a toothless
teddy bear to the institution"
The handwriting was even in a curled-like italic similar to the style Vasquez
writes. -DMH


FOLLOW-UP ACTION TAKEN:
Original kite placed in Spangler's file with report. -DMH

REMARKS:


08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    51

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
16:25:53 WARNER M        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
INFRACTION REPORT DATE:

RULE VIOLATION:minor Minor #4. Posssession of anything not authorized to have.

DETAILS OF INCIDENT: see report #854450. Metal screw found on Spangler's bunk
during search. Spangler admitted to finding it on the floor. I noticed that
there was a screw missing from the outside of C7's doorframe.

DESCRIBE ANY PERSONAL INJURIES:none

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:none

DESCRIBE ANY PROPERTY DAMAGE:none

DISCIPLINARY SANCTION: Additional 2 days in C-op on D-seg added to disciplinary
already in place. This sanction starts 3-08-11 @1100   and ends 3-10-11 @ 1100.

I ACCEPT THIS SANCTION: YES/NO          I REQUEST A HEARING: YES/NO
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 48 of 243



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

18:00:00 KELLEY L         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 02/28/11:   3


Date: 03/02/11
--------------
18:00:00 CALLAHAN N      NORTH END RECREATION    0.00 SPANGLER, BRYCE L
hour out went to barber and rec

Total for 03/02/11:   1



08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    52

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/04/11
--------------
14:33:30 KAMMERER I      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
On 3/4/11 while dealing with a suicidal inmate in C-pod, I/M Spangler, Bryce
(NN#220164) was yelling at the inmate, saying "kill yourself you pussy," "just
end it all." I told Spangler to be quiet twice, however he continued to do it.
When I was done dealing with the suicidal inmate, I went back to C-pod and asked
Spangler why he was making things worse? He stated I had no proof it was him.
I told him I knew it was him, but asked him if he was denying it. He started
laughing and said, "I'm pleading the fifth." I told him I did not find his
comments helpful or funny, and he would be losing his hour out today 3/4/11.
North Control notified. IMK

FOLLOW-UP ACTION TAKEN:

REMARKS:

18:03:17 WARNER M        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
out for shower only then lock down due to losing hour out earlier today
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Total for 03/04/11:    2


Date: 03/05/11
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18:43:58 JENNINGS K      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -7   ' to `SCJ -SCJ1-N   -CO -4    '.

Total for 03/05/11:    1


Date: 03/06/11
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12:06:34 HANNAHAN D        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
1205-1305

Total for 03/06/11:    1


Date: 03/07/11
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12:00:00 HOLMSTROM N       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
Given hour out

Total for 03/07/11:    1


Date: 03/08/11
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12:05:00 MCDONALD J        JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    53

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
ON 03/08/11 AT APPROXIMATELY 1205 HOURS I WAS PASSING OUT TRAYS IN C-POD. WHEN I
GOT TO C-4 I SAW A BIG SWASTIKA DRAWN ON THE WALL. IT WAS SURROUNDED IN RED LIKE
A FLAG. I GAVE INMATE SPANGLER A SPRAY BOTTLE, RAGS AND SCRUB PAD. HE WAS TOLD
TO CLEAN THE WALL BEFORE THEY WERE ALLOWED TO COME OUT. SPANGLER SAID IT WAS NOT
HIM AND WAS INFORMED THAT SOMEONE ON THERE DID AND NO ONE WAS COMING OUT UNTIL
IT WAS CLEANED UP.

SUPPLEMENTAL by E Salinas U130
Tue Mar 08 22:11:05 PST 2011 Deputy Hines checked C-4 and approved Spangler and
Mangigo to have their hour out

20:16:22 SALINAS E       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
LATE ENTRY - see reports # 855849 and # 855850
  this entry was done by T Hines on 3-8-2011 @ 20:16:22
      Inmate Spangler and Mandingo can not come out of their room nor get hot
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 50 of 243



commisary on Sunday until the back wall with the swastika is cleaned off.

SUPPLEMENTAL by E Salinas U130 - see reports #855911 and #855912
Tue Mar 08 22:11:05 PST 2011 Deputy Hines checked C-4 and approved Spangler and
Mangigo to have their hour out




FOLLOW-UP ACTION TAKEN:




REMARKS:

20:20:16 SALINAS E       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out - approved to come out by Deputy Hines - see Reports 855911 and 855912

21:19:54 SALINAS E       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
At approximately 2115, I saw Inmate Mandigo, Douglas N# 379036 over by the
lower shower and C-8. I couldn't tell what Mandigo was doing but then Mandigo
went towards C-6 and hung something by their door. Shortly after, Spangler took
the mop bucket towards C-6 and started tipping it. Then both inmates ran
upstairs.
 I told them both to lock down and advised if they had poured water into C-6,
they would be locked down indefinitely.
 Deputy T Hines was coming North through the East Sally and I had him go check
C-pod. Deputy Hines removed something from the front of C-6 and went upstairs to
talk with the occupants of C-4.
 Deputy Hines locked down C-4 indefinitely.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
22:13:57 HINES T         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
INFRACTION REPORT DATE:Tue Mar 08 22:14:15 PST 2011

RULE VIOLATION:Rioting

DETAILS OF INCIDENT:At approximately 2115, I saw Inmate Mandigo, Douglas N#
379036 over by the
lower shower and C-8. I couldn't tell what Mandigo was doing but then Mandigo
went towards C-6 and hung something by their door. Shortly after, Spangler took
the mop bucket towards C-6 and started tipping it. Then both inmates ran
upstairs.
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 51 of 243



 I told them both to lock down and advised if they had poured water into C-6,
they would be locked down indefinitely.
 Deputy T Hines was coming North through the East Sally and I had him go check
C-pod. Deputy Hines removed something from the front of C-6 and went upstairs to
talk with the occupants of C-4.
 Deputy Hines locked down C-4 indefinitely.
Supplemental: I went to C-pod as directed by North control. I found water all
over the pod floor and paper tapped over the window of C-6. Inmate Spangler and
Mandingo were the only inmates out at the time. Deputy Salinas was in North
control and saw them do this. I told both inmates that this is not appropriate
behavior for the jail.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION:10 days of good time lost when sentenced.    10 days of
displinary segregation from 03-09-11 through 03-21-11.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 03/08/11:   5



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/11/11
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10:30:00 ONEILL J        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
NOTICE OF
                      DISCIPLINARY HEARING DECISION
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INMATE'S NAME: BRYCE SPANGLER, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON: 03-11-11 AT 1030 HOURS BY: SGT J ONEILL.

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: RIOTING   PLEA: NG       FINDING: G

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:

RULE: RIOTING

EVIDENCE: SUBJECT ADMITTED TO HAVING DUMPED WATER UNDER THE DOOR OF C-6. SUBJECT
INITIALLY ATTEMPTED TO STATE THAT HE WAS ASSISTING THE OTHER CELL IN CLEANING.
SUBJECT DENIED THAT HIS BEHAVIOR CONSTITUTED RIOTING AND STATED THAT HE HAS
BEHAVED IN SUCH A MANNER BEFORE BUT WAS NOT CITED WITH RIOTING.
RIOTING IS DEFINED AS "WHENEVER TWO OR MORE INMATES....ASSEMBLE FOR ANY PURPOSE,
AND ACT IN SUCH A MANNER AS TO DISTURB THE GOOD ORDER OF THE INSTITUTION AND
CONTRARY TO THE COMMANDS OF THE OFFICERS OF THE INSTITUTION....WHETHER ACTING IN
CONCERT OR NOT"

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:

SANCTION: LOSS OF TEN DAYS GOOD TIME AT TIME OF SENTENCING UPHELD. TEN DAYS
DISCIPLINARY SEGREGATION BEGINNING 03-09-11 AND ENDING 03-21-11 IS ALSO UPHELD.
ADDITIONALLY, CORRESPONDING LOSS OF COMMISSARY AND VISITATION FOR THE SAME TIME
PERIOD, BEGINNING 03-10-11 AND ENDING 03-21-11.

REASON: SUBJECT HAS BEEN INVOLVED IN 19 INCIDENTS WHILE IN CUSTODY ON THIS
BOOKING, 13 OF WHICH INVOLVED SOME FORM OF DISCIPLINARY ACTION. IN THIS
INSTANCE, SUBJECT BEHAVED IN A MANNER WHICH WOULD REASONABLY BE BELIEVED TO
INCITE THE VICTIM INMATES TO POTENTIALLY VIOLENT RESPONSE. PROGRESSIVE
DISCIPLINE IS APPROPRIATE IN AN ATTEMPT TO GAIN BEHAVIORAL COMPLIANCE.


DATE OF DECISION: 03-11-11        HEARING OFFICER: SGT J ONEILL
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.


08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    56

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
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Total for 03/11/11:   1


Date: 03/13/11
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12:05:00 HANNAHAN D       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
1205-1305

Total for 03/13/11:   1


Date: 03/14/11
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11:58:18 SARGENT D        NORTH END RECREATION   0.00 SPANGLER, BRYCE L

21:04:36 WARNER M         USE OF FORCE           0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
(X )UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
(X ) BECAME VIOLENT AND/OR ASSAULTIVE WITH( )STAFF( )OTHER INMATE(S)
(X ) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
(X ) ENFORCEMENT OF JAIL RULES            (X )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
(X ) OTHER: REFUSAL TO LOCK DOWN

USE OF RESTRAINTS:N/A
(X )    NONE USED
( )     BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:N/A

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )HANDCUFFS            ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:N/A

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
(X )BODILY FORCE       ( )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
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(   )BATON              (   )FIREARM        (   )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME: M WARNER
NAME: M BLOCK
NAME: J ZORN
NAME: K JENNINGS

LIST INJURIES TO STAFF:M WARNER U112. cut on R arm and scratches, Sore back.


TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW    (X )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: NONE


TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW     ( X)NOT NEEDED
( )REFUSED

NARRATIVE: Assistance was called for because Spangler NM#220164 was refusing to
lock down. I entered C pod along with above Deputies and Spangler was walking up

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11:54        Jail Events Summary Report, By Date, Time With Comments       Page:    58

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
the stairs towards his cell. Spangler let a broom handle slide down the stairs
and also placed a mattrerss in our path. As I got to the top of the stairs and
Spangler was near C5 he turned around and refused to go to his cell. He was
ordered by all Deputies to go to his cell and still refused. Spangler then took
what appeared to me as a fighting stance with shoulders squared and muscles
flexed and fists raised. He was close to his cell so I placed hands on and
started to force Spangler back into his cell. I started with an arm bar but then
decided to force him backwards into the cell as to keep him off balance.
Deputies Zorn and Block assisted by taking an arm each and I had Spangler by the
shoulders. When he got to the doorway he grabbed on and I had to use substantial
force to push him into the cell and both Spangler and I went to the ground,
Spangler over near the bunk and I was just inside the door. Spangler jumped up
and took another fighting stance and then Deputy Zorn approached Spangler and
calmed him down some. Deputies then left the cell. Walking back to the booking
area I noticed that my right arm was bleeding and there were some small
scratches also.


REPORTING DEPUTY:M Warner U112

REVIEWING SUPERVISOR:

21:34:46 JENNINGS K         INMATE DISCIPLINARY PR      0.00 SPANGLER, BRYCE L
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 20110315

RULE VIOLATION: Minor 6: Refusing to obey a lawful order of any staff member.
Minor 17: Refusing or delaying lock down orders. Major 18:Rioting or encouraging
riot or demonstration ( Flooding individual rooms or cell pods is considered
rioting or encouraging. Major 24: Receiving two or more minor infractions while
in custody on any one commitment.

DETAILS OF INCIDENT: While doing rounds in C-Pod inmate Zook #453217 was
standing in front of C-4 speaking to inmate Mandigo# 379036 and inmate Spangler
#220164. I overheard inmate Spangler say "Show him your hand". I approached
the door to C-4 and saw some sort of writing on Mandigo's hand. When Mandigo
noticed me he moved his hand out of sight. I instructed Mandigo to show me his
hand and he held up the opposite hand then both hands palm forward. I
instructed Mandigo to turn his hand around which he did and there was a tattoo
that looked fairly fresh. Inmate Spangler Mandigo's roommate is known for
tattooing. I left the pod after completing my check. When the inmates came down
for medication distribution, I had North control shut their door and had them
enter into and C-9 which was empty. I then proceeded to search their room. In
their room they had items they were not authorized to have while on D-seg.
Books, over 50 bandaids, over 20 antiacids, over 20 bars of soap, fish lines 2
extra blankets and both of their bracelets which were ripped off. These items
were all removed and thrown away. I also recovered 2 metal clips from an inmate
bracelet, and a toothpaste lid that had wet pencil shavings. These were also
removed from the cell. The light box on the ceiling was also loose.

After my search of C-4, I left the pod and told North
control that the boys in C-9 could return to their cell. While I was doing my
search I overheard inmate Spangler say to another inmate in the pod "I flushed
all the shit as soon as they saw his hand". When I removed the property from
the pod inmate Spangler began to yell and started rattling his door.

Mandigo returned to his cell without any problems. Inmate Spangler went to the
top tier where his cell is. He then grabbed a paper bag got it wet and placed
it over the drain in the upper tier shower. He also took his mattress out of his
cell and placed it at the top of the stairs. He placed bars of soaps on the
stairs. I told Spangler that he needed to lock down and he replied "I'm not
locking down". I radioed for staff that inmate Spangler was refusing to lock
down and that I needed assistance in C-pod. I also advised them that it
appeared that Spangler was attempting to flood the pod. When other deputies
came to assist with getting Spangler inside his cell he again refused. See use
of force report #856877. Once Spangler was inside his cell and released he took
an aggressive stance with his fist clenched stating "I don't give a fuck, ill go
to prison for the rest of my life". C-4 was secured and all deputies cleared
the block.

DESCRIBE ANY PERSONAL INJURIES: n/a
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LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: n/a

DESCRIBE ANY PROPERTY DAMAGE: n/a


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
DISCIPLINARY SANCTION:

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:

SANCTION: 10 days additional D-Seg to begin on 3-21-11 and end on 3-31-11. Loss
of ten days good time at the time of sentencing. Addiitionally, corresponding
loss of commissary and visitation for the same time period, beginning on 3-21-11
and ending 3-31-11.

REASON: Progressive disipline, subject is currently on D-Seg status. His
behavior imposes a possible threat to staff and inmates.

Due to the progressive disiplinary sanctions and inmates current status on D-Seg

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

22:40:18 BLOCK MM        JAIL INCIDENT REPORT      0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
When I took over North Control at 2200 03/14/11, the I/M's in C-4 were kicking
and yelling because of their discontent of an earlier event ( #856879, 856877).
I listened in to their room and could hear a lot of commotion. The first
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statement I heard I/M Spangler say was "They'll HAVE to give in to our demands!"
I/M Spangler went on saying "They'll never get the door opened!" "Stuff the
track and the door can't move! I know it works, I've done this before." Other
voices from in the Pod were yelling "Are you ready yet!" and I/M Spangler could
be heard saying "Wait, wait not yet!". Both I/M Spangler and I/M Mandigo could
be heard making statements about flooding. I/M Spangler was laughing and saying
"They'll have to gas us to get us out!" I then informed Sgt Parker of the
information I had heard. The Sgt directed Deputies Futrelle and Salinas to shut
all water off in C-pod.

 Approx. 2220: After the water was shut off, I/M Spangler said "They shut all
the water off! Now we can't flood or nothin." Then I/M Spangler could be heard
telling the other rooms to "Cover your windows!" When the Deputies left the pod
one of the I/M's in C-4 started banging. The sound was a metal hitting metal
sound. I/M Spangler was heard saying "I've been working this loose for a while,
it will come off soon." I/M Spangler began telling I/M Mandigo that they should
"break the window out", stating that he had done it before. There was a lot of
noise in the room and then I/M Spangler clearly stated "When they come in here
to get us I'll take you hostage and threaten to cut your throat!" There was more
banging and then the two subjects began conversing about possible charges they
might get with their current actions. I/M Spangler then started laughing and
said "Piss on them through that hole."

 Approx. 2250: The banging (metal on metal) sound started again and continued
for about five minutes. The two I/M's began talking about how they could get
staff into their room. I/M Mandigo stated that he would starve himself "Then
someone would HAVE to come talk to him." One of the I/M's approached the speaker
call button and hit it repeatedly yelling into the speaker "I know you can
fucking hear me! I'm going to kill myself, do you hear me? Kill myself!!"
Neither subject sounded to be in any distress and within moments both were
talking to each other. The subjects started talking again and I/M Mandigo made
several statements about not wanting extra charges and not wanting to do extra
time. He stated that he only had 12 days left and wanted to see his girl.

 Approx. 2305: I/M Spangler approached the speaker and said "I don't want them
listening to us." He then began banging on the speaker box and trying to
dismantle it. That action lasted about five minutes.

 Approx. 2315: Both I/M's have quieted down considerably. I   could hear
whispering and some comment about "...wish I could get this   off."
I could hear some scuffling and movement but could not make   out what actions
were occuring in the room. The action was taking place near   the speaker and from
the sounds, it may be possible that I/M Spangler was making   an attempt to
un-stop the door.

 Approx. 0045 03/15/11: No talking, movements or sounds other than breathing in
room. It appears the I/M's may be asleep or resting at this time.

Approx. 0145 03/15/11: All quiet.

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------

Total for 03/14/11:    4


Date: 03/15/11
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06:13:24 SARGENT D       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -4    ' to `SCJ -SCJ1-S   -ISO -3   '.

06:20:28 ONEILL J          USE OF FORCE            0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    63

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
( )UNPLANNED(XX)PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
( ) BECAME VIOLENT AND/OR ASSAULTIVE WITH( )STAFF( )OTHER INMATE(S)
( ) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
( ) ENFORCEMENT OF JAIL RULES             (XX)FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
( )     NONE USED
(XX)    BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS: 03-15-11 AT 0605

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
(XX)HANDCUFFS           ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS          ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS: 03-15-11 AT 0608

FREQUENCY OF CHECKS WHILE IN RESTRAINTS: CONSTANT SUPERVISION

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )BODILY FORCE        ( )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
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NAME:   DEPUTY SHANE PARKER
NAME:   DEPUTY KEITH DILLAMAN
NAME:   DEPUTY POLLY STORIE
NAME:   SERGEANT BRIAN SCHRADER

LIST INJURIES TO STAFF: NONE

TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW    (XX)NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: NONE


TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW    (XX)NOT NEEDED
( )REFUSED

NARRATIVE: AFTER BEHAVIOR OF THE PREVIOUS TWO SHIFTS, IT WAS DECIDED TO MOVE I/M
SPANGLER TO ISOLATION. SGT SCHRADER TOOK THE TASER FROM MAIN CONTROL IN THE
EVENT IT WAS NEEDED SINCE SPANGLER HAD TAKEN A FIGHTING STANCE AGAINST STAFF

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
DURING HIS FORCED PLACEMENT IN HIS CELL LAST NIGHT. SGT SCHRADER, ALONG WITH
DEPUTIES PARKER AND DILLAMAN WENT TO C-4. THE DOOR WAS NOT ABLE TO BE OPENED
BECAUSE THE DOOR RAIL HAD BEEN PACKED WITH PAPERS. SPANGLER WAS ORDERED TO CUFF
UP THROUGH THE CUFF PORT AND HE COMPLIED. MANDIGO WAS THEN TOLD TO CLEAR THE
DOOR TRACK SO THAT THE DOOR COULD BE OPENED. MANDIGO COMPLIED AND THE DOOR WAS
OPENED. I/M SPANGLER WAS REMOVED FROM THE CELL AND TAKEN TO ISOLATION WHERE HE
WAS STRIP SEARCHED AND PLACED IN ISO-3. ALL BOOKS AND PAPERWORK WERE REMOVED
FROM THE CELL AND I/M MANDIGO WAS TOLD TO CLEAN THE CELL THOROUGHLY. TASER WAS
NOT DISPLAYED OR USED.

REPORTING DEPUTY: SGT O'NEILL

REVIEWING SUPERVISOR:

Total for 03/15/11:     2


Date: 03/16/11
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17:10:47 DILLAMAN K         SOUTH END RECREATION        0.00 SPANGLER, BRYCE L
OUT FOR HIS 1 HOUR

17:53:14 DILLAMAN K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While in Main Control; I was watching I/M Spangler while he was out in the
dayroom for his 1 hour out. I/M Lederle #84650 was instructing him how to throw
a fishing line under the door and into the F-pod. I informed staff of what was
taken place and Deputies Butcher and Hines got over in time to retrieve the line
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from both parties.



FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 03/16/11:   2


Date: 03/17/11
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19:21:19 HINES T          JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:       65

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Thu Mar 17 19:21:48 PDT 2011

RULE VIOLATION:Letting another inmate use your pin number
               Conspiring with another inmate to break jail policy

DETAILS OF INCIDENT:Inmate Lederle was let out of his room at 1725 today. I was
watching him periodically to see what he was doing. I saw him using the phone in
the ISO area, so I went to intelmate to monitor his call. When I puled up the
call monitoring section of the program it said that inmate Spangler, Bryce NN
220164 was using the phone. This was interesting because he was locked down at
the time.
      I turned on the call to listen to it. The call was made at 1735 to
number 360-595-2640. Inmate Lederle places the call mimicking inmate Spanglers
voice. When the caller accepts the call, he identifies himself as inmate
Spaglers next door neighbor. The call is to inmate Spanglers grandmother. He
ask's her several questions about inmate Spanglers girlfriend. He also ask's
her to buy Spangler commissary, but to put it in inmate Lederle's name and he
will make sure Spangler gets it. Inmate Lederle asks her to look up several
different topics on the internet and to send the information in to them.

DESCRIBE ANY PERSONAL INJURIES: none

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:NONE

DESCRIBE ANY PROPERTY DAMAGE:NONE

DISCIPLINARY SANCTION:No commissary or phone privilege for the weeks of March
20-26th and March 27th - April 2nd.
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 61 of 243




I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 03/17/11:   1



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/18/11
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17:02:44 BUTCHER K       SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
Hour out ISO-3

19:56:19 JENNINGS K      INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L
INFRACTION REPORT DATE: March 18 2011

RULE VIOLATION: Minor 4: Possession of anything not authorized for retention or
receipt by a resident and not issued to him or her by regular instititional
channels.

DETAILS OF INCIDENT: While doing a pod check in the ISO unit, main control
advised inmate Spangler to lockdown because his hour out was over. I walked
with inmate Spangler to his cell and as he went in I noticed he had a pen on his
bunk area which in not an authorized item for him to have. I asked Main control
to open ISO 3- which Spangler was housed in and I went in and retrieved the pen.
  At this time inmate Spangler told me that he didn't know that Lederle couldn't
let him borrow pens and he was using it to draw a picture.

DESCRIBE ANY PERSONAL INJURIES: none

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: none

DESCRIBE ANY PROPERTY DAMAGE: none
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 62 of 243




DISCIPLINARY SANCTION: 5 additional days on D-Seg status to start 4-1-11 and end
4-5-11

I ACCEPT THIS SANCTION: YES/NO               I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 03/18/11:   2



08/03/12                      SKAGIT COUNTY JAIL                                   217
11:54      Jail Events Summary Report, By Date, Time With Comments         Page:    67

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/19/11
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21:15:00 WARNER M        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                   217
11:54      Jail Events Summary Report, By Date, Time With Comments         Page:    68

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                 NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: Spangler, Bryce, IDENTIFICATION NUMBER:220164,
DECISION SERVED ON INMATE ON (Time and Date):3-19-11 2115
BY:M Warner U112
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 63 of 243



________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: Minor #4   PLEA:   NG      FINDING:   G


________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Minor #4 Possession of anything not authorized for retention or receipt by
a resident and not issued to him by regular channels. flexi ink pen.

EVIDENCE: Report #857650 by Deputy Jennings, ink pen found on Spangler's bunk
area. Claimed he didn't know he couldn't borrow one from Lederle.




_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: 5 days additional days on D-segstatus to start on 4-1-11 and end on
4-5-11.

REASON: Sanction upheld. Spangler admitted to having the ink pen and knew he was
not allowed to have it in his possession.




_____________________________________________________________________

DATE OF DECISION: 3-19-11     HEARING OFFICER: M Warner U112
_______________________________________________________________________


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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    69

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

21:15:20 WARNER M        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                 NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: Spangler, Bryce, IDENTIFICATION NUMBER:220164,
DECISION SERVED ON INMATE ON (Time and Date): 3-19-11 2115
BY: M Warner
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:    Allowing another inmate to use phone PIN # PLEA: NG   FINDING: G


________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Allowing another inmate (Lederle, Jesse) to use phone PIN #
EVIDENCE: Phone calls on 3-17-11 @ approx 1725 to phone #360-595-2640.


_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: No commissary or phone privledges for the weeks of March 20th thru
26th and March 27th thru April 2nd.

REASON: Sanction upheld. I listend to calls made to phone # 360-595-2640. The
caller ID says that Spangler, Bryce made the call by the actual voice on the
line is a voice I recognize as Lederle, Jesse. When questioned about the call
Spangler admitted he had Lederle make the call and stated he did not know it was
against the rules. I told Spangler that the rules are posted in the pods and it
was actuall a crime to use someone elses phone PIN #. I also told Spangler that
it was common sense not to use another's PIN or allow someone else to use your
PIN #.
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_____________________________________________________________________

DATE OF DECISION: 3-19-11       HEARING OFFICER: M Warner U112
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections

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11:54      Jail Events Summary Report, By Date, Time With Comments      Page:    71

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Total for 03/19/11:   2


Date: 03/20/11
--------------
09:00:00 BEISLER P       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I noticed Iso pod had a smell of mildew or mold in it when I walked in. I
walked around the pod and did not find anything. I later moved Spangler to Iso-2
so I could check his room. The smell was in the dayroom but not in his room. I
did a search of his room while I was there and found a paperclip in his room in
the cracks of his window framing. It was clearly visible and was about 3/4 of
the paper clip. I did not locate any other pieces in his room.
 Spangler has had numerous incidents of tattooing and/or having tattoo
paraphenalia in his possession. He also had some drawings on the backs of kites
that looked like possible sketches for future tattoos.

09:52:11 BEISLER P        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:      72

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Sun Mar 20 2011

RULE VIOLATION: Minor #4: Possession of anything not authorized for retention or
receipt by a resident and not issued to him or her by regular instititional
channels.

DETAILS OF INCIDENT: I did a search of Spanglers room today and found a paper
clip that was clearly visible sitting in the cracks by his window.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None
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DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION: Two days loss of good time due to proggressive
discipline. Spangler has received numerous infractions while custody on this
booking and is currently serving disciplinary segregation time until 04-5-2011
as well as a loss of commissary and phone priviledges until 04-02-2011.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

17:00:00 WALDE J          SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
out for hour

Total for 03/20/11:   3


Date: 03/21/11
--------------
17:58:13 HINES T          JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
OUT FOR HIS HOUR


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11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    73

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
18:59:51 HINES T         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
locked down

Total for 03/21/11:   2


Date: 03/22/11
--------------
10:10:00 PARKER R         SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
OUT FOR HIS HOUR
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11:17:04 PARKER S        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Keasha removed the cleaning cart from Iso and was at booking. She realized that
the spring was removed from one of the bottles. I went over to Iso and asked
Spangler for the spring. He looked at me and said "what spring." I told him not
to play dumb with me and give it up. Spangler then reached into his sock and
gave me the spring.

FOLLOW-UP ACTION TAKEN: Spangler can lose his hour out until the 26th which is
his next eligible day for an hour out.

REMARKS:

13:00:00 JENNINGS K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
When doing checks I noticed that the inside of Spanglers room, ISO 2 was covered
with drawings and nazi symbols. I told Spangler that it needed to come down.
He said that he was leaving in 2 days (Thursday) and if he were to take it down
it would be like me burning an american flag. I told Spangler that he would not
be coming out of his room until it was down. He then replied that he was board
and if I would give him a book that he would take it down. I told him that he
did not get to negotiate the terms in which he gets his privelidges back.




FOLLOW-UP ACTION TAKEN: Spangler is to remain in his room until the drawings are
off his wall




REMARKS:

Total for 03/22/11:    3



08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    74

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/25/11
--------------
11:34:00 HANNAHAN D      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-S   -ISO -3   ' to `SCO -TEMP-TEMP-TEMP-0006'.

11:45:00 DILLAMAN K        TEMPORARY CONDITIONAL   0.00 SPANGLER, BRYCE L
RELEASE TO GO TO PCN
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Total for 03/25/11:    2


Date: 04/08/11
--------------
08:46:36 COAKLEY R         JAIL INCIDENT REPORT        0.00 SPANGLER, BRYCE L
10-1-01027-0

Fri Apr 08 16:10:08 PDT 2011
Warrant issued, Spangler booked out.     RPC

Fri Apr 08 11:55:35 PDT 2011
I contacted Rishardson this morning to confirm that Spangler had fled from PCN.
Richardson stated that he had gotten a message at 0100, 4-7-11, from Bob S. at
PCN that Spangler left before midnight bedcheck. This departure was not
authorized by PCN staff. The order of temporary release stated that upon
leaving PCN, Spangler was to immediately report back to the Skagit County Jail.
As of 1200, 4-8-11, Spangler has not done so. Report sent to PA and SC File.
RPC

Thu Apr 07 16:55:22 PDT 2011
I received a message this afternoon from Scott Richardson, SC Community
Services, that Spangler had left PCN. I attempted to verify the information, but
no one was at Comm Svcs.

16:23:00 COAKLEY R          TEMPORARY CONDITIONAL    0.00 SPANGLER, BRYCE L
Released from record       176347, location SCO -TEMP-TEMP-TEMP-0006

Total for 04/08/11:    2


Date: 05/03/11
--------------
17:43:57 RUDDELL L       FELONY WARRANT BOOKING        0.00 SPANGLER, BRYCE L
Arrived at jail 16:50:00 05/03/11

17:43:57 RUDDELL L       INMATE CELL CHANGE            0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -AF -1        '.

Total for 05/03/11:    2



08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    75

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 05/04/11
--------------
09:54:05 LIEKHUS F       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
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RIGHTS
RIGHTED ON 5/4/11. CONTINUED TO 5/12/11

Total for 05/04/11:   1


Date: 05/11/11
--------------
18:24:05 WALDE J         INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -AF -1    ' to `SCJ -SCJ1-N   -C   -3   '.

18:27:22 HINES T          JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    76

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Wed May 11 18:27:39 PDT 2011

RULE VIOLATION:Fighting

DETAILS OF INCIDENT:I had just completed a check of A pod and was standing out
front taking care of some paper work. I heard inmate Ensley, Robert yell and
point towards A-2 to leave him alone. I looked up in that direction and there
was a wall of inmates in front of A-2. I could see several inmates coming out of
the room but could not tell who they were.
      I went into the pod and walked upstairs to A-2. I could see inmate
Benston, Charles in the room and it appeared that he had been assaulted. I
called for the pod to lock down. Once all inmates were locked down I escorted
inmate Benston out of the pod. I took him up front and placed him in Grey-10. I
asked him what had happened. He said that he was in the room and several people
walked in and started hitting him. They knock off his glasses so he could not
see who they were. He has no idea why he was assaulted. I got the photo book
for A pod and showed him the pictures of every one assigned to the upper tier.
He
could still not identify any one who assaulted him.
      I returned to A pod and told them all that they would be locked down for
the night. I also told them that I was looking at keeping them lock down
tomorrow and taking away hot commissary on Sunday. I then moved inmate Ensley
out of the pod for his own safety.
      When I returned to the pod inmate Spangler, Bryce said that he was
involved in the attack. I asked him several time if he wanted to claim this. He
said that he did.
      There was an inmate in A-5 that said he was also involved. When I went
to A-5 Inmate Schafer, Garrett said that he was the one that did it. I again
asked him if he was sure he wanted to claim responsibility for this? He said
yes.
Both inmates were moved to C-3 with out incident. Inmate Benston was moved to
C-9 due to having problems in all other pods.

DESCRIBE ANY PERSONAL INJURIES:A red welt to the right side on inmate Benston
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 70 of 243



head. A red welt to the back left shoulder of inmate Benston.

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:Inmate Benston was given and ice
pack.

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION:3 days in C-pod on disciplinary segregation.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 05/11/11:   2


Date: 05/12/11
--------------
20:04:00 RANDALL D       INMATE COURT APPEARANC    0.00 SPANGLER, BRYCE L
10-1-1027-0 serve sent/no credit for treatment.

Total for 05/12/11:   1


Date: 05/13/11
--------------
10:01:29 HANNAHAN D       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
1000-1100

20:46:23 ZORN J          INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -3   ' to `SCJ -SCJ1-N   -CO -8    '.

21:28:31 ZORN J           JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
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08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
After Deputy Block completed meds in C-Pod I let I/M Schreib (NM 402132) out of
his cell to finish his hour out. As I was doing so I saw I/M Spangler (NM
220164) running down the stairs. I immediately shut I/M Schreib's door and got
it closed all the way just as I/M Spangler reached it. I/M Spangler then started
banging on and punching I/M Schreib's cell door, shouting out threats. Deputy
Block responded to C-Pod at this time and I advised I/M Spangler to lock down.
I/M Spangler followed my direction. I listened in to I/M Spangler and I/M
Schaffer's (NM 98707) cell and heard conversation. I heard Spangler say it was a
good thing he didn't get to Schreib because he (Spangler)was really going to
hurt him and it would have meant his (Spangler) third strike. I heard Schafer
ask if Spangler had seen what he (Schafer)had done with his meds and how he had
distracted Dep Block. I heard several threats of "shit bombing, flooding and
riding mattresses down the stairs". I heard Schafer say "watch when they are
closing the doors, if you hit the doors right then, they stop for a second".
Deputy Block was aware of all and notified Sgt Randall. JAZ

     As North Rover, when dispensing medications, I do C-pod lower tier first. I
push my cart to each door and then when finished with lower tier I start with
upper tier rooms individually. When I got to C-3 (occupied by I/M Spangler
#220164 and I/M Schafer #98707) the only inmate to come down for medications was
I/M Schafer. As he took his Tylenol and Ibuprofen he flicked two of the pills
onto the floor. I pulled my cart aside and watched as he picked up the pills and
was fumbling with them. When he was finished I asked if his roommate was coming
down and he stated "No". I then finished medications on the upper tier and left
the pod. As I stepped away from C-pod I heard yelling and banging, I then
returned to C-pod to see what was happening. After talking with North Control it
became evident that I/M Spangler had slipped out of C-3 and into the shower
right next to his room. He then waited until C-8 (#402132 I/M Schreib, Rodney)
was let out of his room and made an attempt to assault I/M Schreib. Deputy Zorn
in North Control was observant of what was going on and was able to get I/M
Schreib locked in his room before the planned assault could take place. MMBlock

22:03:41 BLOCK MM       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    79

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: Fri May 13 22:04:49 PDT 2011

RULE VIOLATION: Intentionally lying to Staff and encouraging a riot situation.

DETAILS OF INCIDENT: I/M Spangler maliciously hid in the shower while his
roommate was out for medication rounds with the deliberate intention of
assaulting another I/M.
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 I/M Spangler is already on D-seg for a fight that occurred on 05/11/11 Event
#867338.

DESCRIBE ANY PERSONAL INJURIES: NONE

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: NONE

DESCRIBE ANY PROPERTY DAMAGE: NONE

DISCIPLINARY SANCTION: 15 days Disciplinary Segregation in C-pod

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 05/13/11:   4


Date: 05/15/11
--------------
08:23:20 KAMMERER I       JAIL INCIDENT REPORT      0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    80

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
On 5/15/11 while doing meds in C-pod, I/M Bettys, John (NN#15310) came
downstairs to get his medication. While he was standing at the cart with me,
I/M Schafer, Garrett (NN#98707) and I/M Spangler, Bryce (NN#220164) started
calling him a "rapo." Bettys stated they were at it all night, and he was
getting tired of the harassment. He stated, "can you let me have a moment with
them, just open their door." I told Bettys that was not going to happen, and it
was not a good way to deal with this situation. Bettys went back to his room.
When I went upstairs a couple minutes later, Bettys handed me a kite, stating
the "felony harassment" needed to stop. He then talked to me, and said, "if I
ever get a hold of those guys, I will hurt them, I will take life in prison for
it." I told Bettys he did not want to do that. Bettys stated, "I'm already
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dealing with this suicidal stuff, and now this." I asked Bettys if he was
suicidal, and he stated he has had suicidal thoughts since he was found guilty,
but he spoke with mental health, and he was doing fine. I asked him if he was
suicidal, and he stated, "not this minute, I'm fine." I told Bettys I would see
what could be done about the harassment. I advised Sgt. Schrader of the
situation. IMK

FOLLOW-UP ACTION TAKEN:

REMARKS:

10:32:12 KAMMERER I       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: SPANGLER, BRYCE, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date): Sun May 15 10:36:52 PDT 2011
BY: DEPUTY KAMMERER
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: THREATENING ANOTHER WITH BODILY HARM
             PLEA: NG           FINDING: GUILTY

________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: THREATENING ANOTHER WITH BODILY HARM
EVIDENCE:SPANGLER HID IN THE SHOWER, AND WHEN SCHREIB CAME OUT OF HIS ROOM,
SPANGLER RAN OUT OF THE SHOWER, DOWNSTAIRS, TOWARDS SCHREIB. DEPUTY ZORN WAS IN
NORTH CONTROL, AND SHE OBSERVED SPANGLER RUN OUT OF THE SHOWER.

WHEN I SPOKE WITH SPANGLER, HE ADMITTED TO HIDING IN THE SHOWER. SPANGLER
STATED HE DID NOT WANT TO ASSAULT SCHREIB, HE JUST WANTED TO SCARE HIM. I ASKED
SPANGLER IF DEPUTY ZORN DIDN'T STOP HIM, IF HE WOULDN'T HAVE TOUCHED SCHREIB.
HE SMILED AND STATED, "I JUST WANTED TO SCARE THE SHIT OUT OF HIM."
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_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: 15 DAYS DISCIPLINARY SANCTION UPHELD.
REASON: SPANGLER ADMITTED TO HIDING IN THE SHOWER WITH INTENTION OF "SCARING"
SCHREIB. DEPUTY ZORN SAW SPANGLER RUNNING OUT OF THE SHOWER. SPANGLER WAS
RECENTLY PLACED ON D-SEG FOR ANOTHER FIGHT HE WAS INVOLVED IN.

_____________________________________________________________________

DATE OF DECISION: 5/15/11                HEARING OFFICER: KAMMERER
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was

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Time     Officer         Event Type             Qty    Inmate
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served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

10:50:09 LIEKHUS F       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -8    ' to `SCJ -SCJ1-S   -ISO -2   '.

11:00:00 LIEKHUS F       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I was moving inmate Spangler, Bryce #220164 from C pod to ISO. He reluctantly
packed up his belongings and was asking the whole time where he was going. Once
we were in the east sally I told him where he was moving to. When we got to the
ISO door, I told him to leave his belongings outside the door and to go in and
lock down. He immediately grabbed a book out of his tub and put in inside the
front of his pants. He stated that he was not going anywhere without this book.
I ordered him to hand it back and he refused. I lifted up the front of his shirt
and took the book and put it back inside his tub. He then back into the corner
in an aggressive posture. I ordered him to go into the room and he stated "I'm
not going into the room without that book." As I was taking ahold of his shirt
to move him into ISO, Deputies Kammerer, Beisler, Block and Sargeant Schrader
came over as backup. As we moved into ISO, he again stopped to argue about going
into the cell. Deputy Kammerer and I grabbed ahold of his shirt and escorted him
into the cell and closed the door. Upon inspection of his belongings, no illegal
items were found.

FOLLOW-UP ACTION TAKEN:

REMARKS:

11:00:00 LIEKHUS F        USE OF FORCE           0.00 SPANGLER, BRYCE L
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
(XX)UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
(XX) BECAME VIOLENT AND/OR ASSAULTIVE WITH(XX)STAFF( )OTHER INMATE(S)
(XX) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
( ) ENFORCEMENT OF JAIL RULES             ( )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
(XX)    NONE USED
( )     BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )HANDCUFFS            ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )BODILY FORCE        ( )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME: Deputy Liekhus
NAME: Deputy Kammerer
NAME: Deputy Beisler
NAME: Deputy Block
NAME: Sargeant Schrader

LIST INJURIES TO STAFF: NONE


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (XX)NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: NONE
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TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW    (XX)NOT NEEDED
( )REFUSED

NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
FORCE)I was moving inmate Spangler, Bryce #220164 from C pod to ISO. He
reluctantly
packed up his belongings and was asking the whole time where he was going. Once
we were in the east sally I told him where he was moving to. When we got to the
ISO door, I told him to leave his belongings outside the door and to go in and
lock down. He immediately grabbed a book out of his tub and put in inside the
front of his pants. He stated that he was not going anywhere without this book.
I ordered him to hand it back and he refused. I lifted up the front of his shirt
and took the book and put it back inside his tub. He then back into the corner
in an aggressive posture. I ordered him to go into the room and he stated "I'm
not going into the room without that book." As I was taking ahold of his shirt
to move him into ISO, Deputies Kammerer, Beisler, Block and Sargeant Schrader
came over as backup. As we moved into ISO, he again stopped to argue about going
into the cell. Deputy Kammerer and I grabbed ahold of his shirt and escorted him
into the cell and closed the door. Taser was present but never used or shown.
Upon
inspection of his belongings, no illegal items were found.

REPORTING DEPUTY: F. LIEKHUS

REVIEWING SUPERVISOR:

18:50:00 FADDIS D           SOUTH END RECREATION        0.00 SPANGLER, BRYCE L
Out for hour out.

Total for 05/15/11:     6


Date: 05/16/11
--------------
09:58:34 RANDALL D          SOUTH END RECREATION        0.00 SPANGLER, BRYCE L

17:20:23 SARGENT D          SOUTH END RECREATION        0.00 SPANGLER, BRYCE L
TIME OUT

Total for 05/16/11:     2


Date: 05/19/11
--------------
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16:15:18 ZORN J          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
10-1-01027-0 motion denied

17:15:09 BUTCHER K       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Late Entry-

   When assigned to Main Rover on 05-18-11 I noticed when going through ISO the
name "Mr. Lonely" tagged all rover ISO-2 and the ISO dayroom. From past
dealings with I/M Spangler, Bryce N#220164, "Mr. Lonely" is I/M Spangler. I
told I/M Spangler that all the writings need to be taken off the next time he is
out.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
18:25:40 JENNINGS K      INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: May 19 2011

RULE VIOLATION: Major 10 Intentionally or recklessly destroying or damaging
county property or the property of another person.

Minor 12 Failure to keep one's person and one's quarters in accordance with
posted standards, rules and regulations.

Minor 20 Communicating or attempting to communicate with a different housing
unit which inmate is not assigned to. (Spangler opened up the door window on a
female pod)

DETAILS OF INCIDENT: While inroute from the ISO unit to Booking, inmate Spangler
reached out and opened the window of the female unit.

Spangler has been warned by myself and Deputy Butcher Report number 868734,
about tagging the inside of the ISO pod as well as the room he is house in.
When at booking I told spangler that his pencils were going to be taken away
until all the writing was off the walls in the pod, and his cell and once it was
approved that they could could have them back. He responded "that's not going
to happen".


DESCRIBE ANY PERSONAL INJURIES: n/a

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: n/a
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DESCRIBE ANY PROPERTY DAMAGE: n/a

DISCIPLINARY SANCTION: Loss of visiting for 1 week to begin on 5/19 and end on
5/26/2011. 5 days of D-Seg to begin on 5/31 and end on 6/5/2011. No pencils
allowed in cell/pod until all writing is removed from cell and pod - and
privilege of pencils be contingent of writing / drawings remainin off walls.




I ACCEPT THIS SANCTION: YES/NO          I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________




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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
DEPUTY__________________________________

21:31:29 BUTCHER K       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
After I/M Mandigo, Douglas N#379036 and I/M Spangler, Bryce N#220164 returned to
ISO-2 they pushed the call button asking were his pencils and pictures were. I
informed I/M Mandigo that they were taken once the cell was searched. I/M
Mandigo went on to say that he made a deal with Sgt Parker that if they would
clean the witting off the wall they could keep them. I informed I/M Mandigo
that the pencil's were taken because there was tattoo items found in the cell
and the witting had nothing to do with the pencil's being taken. I/M Mandigo
went on to say that he wants to talk to a sergeant right now. I let I/M Mandigo
know that a sergeant will not come back to talk with him. I/M Mandigo went to
say that he will continue to push his button until he gets his pictures and
talks to a sergeant. I told I/M Mandigo to have at it and put ISO on silence.
After a few moments I activated the ISO-2 intercom to listen. I could hear I/M
Spangler telling I/M Mandigo once they open the door again to hit them with a
mattress. I/M Mandigo said he did not want any more charges. I/M Spangler then
said well once the door pops kick it at them. I called Sgt Randall and told her
of what I heard. I relayed to the main rover not to open ISO until I could talk
with her. Sgt Randall came up to main control and I was sent out with the taser
to go to ISO-2. I handed the taser to Deputy Warner, then informed Deputy
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Block, and Deputy Jennings of the situation. I went to ISO-2 opened the pass
through and explained to both inmates that this is not the way to get items
back. No matter what deal was made I have nothing saying there was one. Both
inmates were laying on there bunks. I had ISO-2 opened and removed the paper
covering the window. I told I/M Spangler and I/M Mandigo that if they were to
still cover there window we would remove all items from there cell except there
mattress. At this point I/M Spangler said "If you keep messing with us a cop is
going to get stabbed". I told I/M Spangler to stand up right now. I/M Spangler
continued to lay on his bunk and ask why. I told I/M Spangler 2 more times and
got the same response. I then asked I/M Mandigo to exit the room. I/M Mandigo
did not move. I/M Spangler made another smart ass remark and I told I/M
Spangler to get his ass up right now. At this time I/M Spangler Stood up very
quickly in an aggressive manner saying "All right lets go". I took a step
towards I/M Spangler at which time Deputy Warner activated the Taser and pointed
it at I/M Spangler. I/M Spangler stopped and raised his hands. I took control
of I/M Spangler's right arm and escorted him out of ISO-2. Once in the day room
Deputy Warner said to cuff up I/M Spangler. Deputy Block placed hand cuffs on
I/M Spangler and escorted him to Grey-9 without further incident. I talked with
I/M Spangler once in Grey-9 and explained that threats towards staff are
completely unacceptable. I/M Spangler tried to say that we are making him do
these actions. I stopped I/M Spangler and told him that if he does what we say
when we say it and if he were to follow the rules there would be no problems. I
left Grey 9 and Deputy Warner removed the cuffs 1 minute later.

21:32:09 BUTCHER K      USE OF FORCE              0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
(X )UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
(x ) BECAME VIOLENT AND/OR ASSAULTIVE WITH(x )STAFF( )OTHER INMATE(S)
(x ) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
( ) ENFORCEMENT OF JAIL RULES             ( x )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
( )     NONE USED
( x )    BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:2100   05-19-11

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( x )HANDCUFFS           ( )LEG IRONS    ( )FLEXCUFFS
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(   )RESTRAINT CHAIR    (   )WAIST CHAINS          (    )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:2104      05-19-11

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )BODILY FORCE        ( x )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( x )OTHER: TASER ACTIVATED

LIST STAFF INVOLVED:
NAME:Deputy Warner
NAME:Deputy Block
NAME:
NAME:

LIST INJURIES TO STAFF:none


TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE:None


TREATMENT OF INJURIES: (    )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED

NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF
FORCE)After I/M Mandigo, Douglas N#379036 and I/M Spangler, Bryce N#220164

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
returned to ISO-2 they pushed the call button asking were his pencils and
pictures were. I informed I/M Mandigo that they were taken once the cell was
searched. I/M Mandigo went on to say that he made a deal with Sgt Parker that
if they would clean the witting off the wall they could keep them. I informed
I/M Mandigo that the pencil's were taken because there was tattoo items found in
the cell and the witting had nothing to do with the pencil's being taken. I/M
Mandigo went on to say that he wants to talk to a sergeant right now. I let I/M
Mandigo know that a sergeant will not come back to talk with him. I/M Mandigo
went to say that he will continue to push his button until he gets his pictures
and talks to a sergeant. I told I/M Mandigo to have at it and put ISO on
silence. After a few moments I activated the ISO-2 intercom to listen. I could
hear I/M Spangler telling I/M Mandigo once they open the door again to hit them
with a mattress. I/M Mandigo said he did not want any more charges. I/M
Spangler then said well once the door pops kick it at them. I called Sgt
Randall and told her of what I heard. I relayed to the main rover not to open
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ISO until I could talk with her. Sgt Randall came up to main control and I was
sent out with the taser to go to ISO-2. I handed the taser to Deputy Warner,
then informed Deputy Block, and Deputy Jennings of the situation. I went to
ISO-2 opened the pass through and explained to both inmates that this is not the
way to get items back. No matter what deal was made I have nothing saying there
was one. Both inmates were laying on there bunks. I had ISO-2 opened and
removed the paper covering the window. I told I/M Spangler and I/M Mandigo that
if they were to still cover there window we would remove all items from there
cell except there mattress. At this point I/M Spangler said "If you keep
messing with us a cop is going to get stabbed". I told I/M Spangler to stand up
right now. I/M Spangler continued to lay on his bunk and ask why. I told I/M
Spangler 2 more times and got the same response. I then asked I/M Mandigo to
exit the room. I/M Mandigo did not move. I/M Spangler made another smart ass
remark and I told I/M Spangler to get his ass up right now. At this time I/M
Spangler Stood up very quickly in an aggressive manner saying "All right lets
go". I took a step towards I/M Spangler at which time Deputy Warner activated
the Taser and pointed it at I/M Spangler. I/M Spangler stopped and raised his
hands. I took control of I/M Spangler's right arm and escorted him out of
ISO-2. Once in the day room Deputy Warner said to cuff up I/M Spangler. Deputy
Block placed hand cuffs on I/M Spangler and escorted him to Grey-9 without
further incident. I talked with I/M Spangler once in Grey-9 and explained that
threats towards staff are completely unacceptable. I/M Spangler tried to say
that we are making him do these actions. I stopped I/M Spangler and told him
that if he does what we say when we say it and if he were to follow the rules
there would be no problems. I left Grey 9 and Deputy Warner removed the cuffs 1
minute later.



REPORTING DEPUTY:Deputy Butcher

REVIEWING SUPERVISOR:


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
21:38:55 BUTCHER K       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-S   -ISO -2   ' to `SCJ -SCJ1-B    -G9 -1   '.

Total for 05/19/11:     6


Date: 05/21/11
--------------
16:20:29 BUTCHER K       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
INFRACTION REPORT DATE:05-19-11

RULE VIOLATION:Major 18-Rioting or encouraging riot or demonstration.
Minor 1-Threatening another with bodily harm (Threats to Staff)
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Minor 6-Refusing to obey a lawful order of any staff member or failing to
perform work as instructed by staff when capable of doing it


DETAILS OF INCIDENT:During incident# 868784 I/M Spangler, Bryce N#220164 made
the comment "If you keep messing with us a cop is going to get stabbed". After
that statement I/M Spangler was order 3-4 times to stand up for movement but did
not move until I said "Stand your ass up now". I/M Spangler also was telling
inmate 379036 to hit staff with a mattress.

DESCRIBE ANY PERSONAL INJURIES:none

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:none

DESCRIBE ANY PROPERTY DAMAGE:none

DISCIPLINARY SANCTION:2 days loss of good time. This is a progressive
disciplinary. Will remain in Grey-9 until further review.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 05/21/11:   1



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 05/28/11
--------------
18:03:32 WARNER M        SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
SPANGLER WAS ALLOWED 1 HR IN MULTI USE FOR REC AT HIS REQUEST

Total for 05/28/11:   1
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Date: 06/05/11
--------------
08:46:27 SCHRADER B      INMATE REPORT HOUSING    0.00 SPANGLER, BRYCE L
NOTICE OF ADMINISTRATIVE SEGREGATION HOUSING ASSIGNMENT
________________________________________________________________________
You have been assigned to Administrative Segregation due to:
( ) Protective Custody       ( ) Medical Segregation
(x ) Institutional Security ( )Other:(specify)
________________________________________________________________________
Description of circumstances requiring Segregation:Subject has been involved in
numerous incidents during this booking. Subject has been a disruption in every
housing unit during this stay. Subject's release date is 6/10/11. Subject shall
remain in the Isolation unit until his release.

________________________________________________________________________
Conditions of Administrative Segregation (Dayroom Access, Rec Access, Etc):1
hour out every day. Commissary/Visiting privileges re-instated.



_______________________________________________________________________
You have the right to appeal this decision to the Chief Corrections Deputy.

_______________________________________________________________________
DECISION SERVED ON INMATE ON Sun Jun 05 08:54:14 PDT 2011
BY:Schrader

10:11:04 BEISLER P       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-B   -G9 -1    ' to `SCJ -SCJ1-S   -ISOF-3F '.

Total for 06/05/11:   2


Date: 06/06/11
--------------
17:19:54 WARNER M         SOUTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 06/06/11:   1



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 06/07/11
--------------
10:08:34 SARGENT D       SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
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Total for 06/07/11:   1


Date: 06/08/11
--------------
17:10:12 JENNINGS K       SOUTH END RECREATION     0.00 SPANGLER, BRYCE L
Hour out

19:14:09 JENNINGS K       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 6/8/2011

RULE VIOLATION:

Fish lining to another cell block / Attempting to communicated with another cell
block.
Lying to staff member.


DETAILS OF INCIDENT: Inmate was seen on the ISO camera with a fish line to F
pod. When confronted inmate lied to staff denying he was doing it. Note and
fish line from inmate was retrieved.

DESCRIBE ANY PERSONAL INJURIES: None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: None

DESCRIBE ANY PROPERTY DAMAGE: None

DISCIPLINARY SANCTION: 5 days D-Seg. Loss of 4 days good time. Progressive
Discipline.

Inmate has had multiple violations on this booking. Event Number 86772, 868744,
867079. Inmate is currently on Ad-Seg. Inmate has already lost good time for
inmate infractions on this booking.

I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.
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INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

21:24:05 HINES T         JAIL INCIDENT REPORT      0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    94

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Wed Jun 08 21:24:25 PDT 2011

RULE VIOLATION:Covering the Speaker system

DETAILS OF INCIDENT:I was in isolation checking the rooms. Iso 3 had their
speaker covered with wet toilet paper. I uncovered it and told them not to
cover their speaker. They said they did not want us listening in. I again told
them not to cover their speaker.
I left the pod and went and checked F pod. When I exited F pod Deputy Jennings
told me thay had covered their speaker again. I went to Iso 3 and it was covered
again. I again uncovered the speaker and told them not to cover it. I secured
the door and left the pod.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION:2 days loss of hour out for both inmates in the room.
Loss of commissary for the week of 06-13-11 thru 06-19-11. The hours out loss
will be 06-09-11 and 06-10-11

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________
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Total for 06/08/11:   3


Date: 06/09/11
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14:12:13 ZORN J           INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     95

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: Spangler, Bryce, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date): 120 Thu Jun 09 14:15:57 PDT 2011
BY: Deputy Julie Zorn
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:Covering the speaker      PLEA:G       FINDING:G
_______________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:Covering the speaker
EVIDENCE:Subject admitted to committing the infraction. Subject thought the
discipline was too harsh.
______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: Original sanction of 2 days loss of hour out and loss of commissary
from 6/3/11 - 6/19/11 upheld.
REASON: Progressive discipline.

_____________________________________________________________________

DATE OF DECISION: 6/9/11           HEARING OFFICER:Deputy Julie Zorn
_______________________________________________________________________
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You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

14:33:08 ZORN J            INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:    96

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                  NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: Spangler, Bryce, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date): 120 Thu Jun 09 14:15:57 PDT 2011
BY: Deputy Julie Zorn
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:Fishlining to another cell block / Attempting to communicate with another
cell block / Lying to a staff member.   PLEA:G          FINDING:G
_______________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:Fishlining to another cell block / Attempting to communicate with another
cell block / Lying to a staff member.
EVIDENCE:Subject admitted to committing the infraction. Subject thought the
discipline was too harsh.
______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: Original sanction of 5 days D-Seg and 4 days loss of good time upheld.

REASON: Progressive discipline.

_____________________________________________________________________

DATE OF DECISION: 6/9/11             HEARING OFFICER:Deputy Julie Zorn
     Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 88 of 243



_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Total for 06/09/11:    2



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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    97

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 06/10/11
--------------
03:54:34 FUTRELLE K      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-S   -ISOF-3F ' to `SCJ -SCJ1-N     -CO -6   '.

17:00:00 LIEKHUS F         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 06/10/11:    2


Date: 06/11/11
--------------
08:35:45 PARKER S          NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out 0830-0930    / late getting out.

21:17:13 BUTCHER K       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Late entry: Yesterday 06-10-11 I was helping with lunch when I went to C-6 to
pick up trays I saw that I/M Spangler, Bryce N#220164 had a new tattoo on his
right check. The tattoo was N W B. Later on that I was north rover and doing
afternoon meds in C-Pod. At that time I saw I/M Spangler had added and more to
the tattoo, N W B B. I asked I/M Spangler for the tattoo equipment. I/M
Spangler said he flushed it along with ink. I again asked I/M Spangler for the
tattoo equipment. I/M Spangler again said he had flushed it. Later in the
evening on C-6 hour out I went through C-6, no tattooing equipment was found.


Supplemental by Deputy Beisler:

While moving Spangler to make room in Isolation for inmates from the riot
incident on 6-10-2011 I noticed that Spangler had the tattoo on his face also. I
looked through his property at that time and his room was looked through but
nothing was found. Report was not written because of other things that were
going on that time.
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23:11:54 TREVINO L       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
Spangler, Bryce #220164 continuously buzzing north control to tell me Alaniz has
a bad nose bleed and needs medical attention.   Alaniz spoke to rover Deputy
Salinas and is awaiting the arrival of the nose spray, which Salinas went to
medical to obtain. As far as Spangler is concerned this is not fast enough to
suit his needs and continues to buzz north control. Spangler has been advised
to discontinue and allow us to do our job without his interruption. He was not
happy and continued on his tirade about staff inadequacies, name calling of
staff and how much of a "fucking bitch" I was, and "how much I looked like a
fucking man."

Total for 06/11/11:    3



08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments      Page:    98

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 06/12/11
--------------
17:02:48 SARGENT D       NORTH END RECREATION     0.00 SPANGLER, BRYCE L

Total for 06/12/11:    1


Date: 06/14/11
--------------
07:10:00 FADDIS D          NORTH END RECREATION      0.00 SPANGLER, BRYCE L
Hour Out

16:40:28 PARKER S           SENTENCE COMPLETE RELE   0.00 SPANGLER, BRYCE L
Released from record       178151, location SCJ -SCJ1-N   -CO -6

Total for 06/14/11:    2


Date: 07/02/11
--------------
22:58:46 WARNER M          MISC JAIL NOTE            0.00 SPANGLER, BRYCE L
**Informational Report*

Today while Lederle NM#84650 was having his legal visit I was taking out the
trash. I heard someone yelling "hey Mike" from the District Court parking lot. I
looked up to see Spangler, Bryce NM#220164 walking towards me. I asked him what
he was doing here and he said that when Lederle has his legal visit sometimes he
hangs out in the car. He then asked me for a smoke and tried to make small talk.
I told him I was busy working and he went off back towards the car. We might
want to keep an eye out for Spangler walking around the perimeter when Lederle
has his legal visits.
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Total for 07/02/11:   1


Date: 07/23/11
--------------
02:22:14 MASKELL B       INMATE CELL CHANGE           0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -CO -5       '.

02:22:14 MASKELL B       MIS CIT/WRT BOOKING          0.00 SPANGLER, BRYCE L
Arrived at jail 01:15:00 07/23/11

03:08:36 MASKELL B        JAIL INCIDENT REPORT        0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments      Page:    99

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
SUBJECT BOOKED BY SWPD ON A 10 DAY COMIT WARRANT. SUBJECT ASKED TO BE IN C POD
AS HE ALWAYS DOES. DUE TO NO EMPTY ROOMS SUBJECT WAS HOUSED IN C-5 AS I KNOW
THEY WILL GET ALONG. I TALKED TO BOTH ABOUT GETTING ALONG AND NOT CAUSING
PROBLEMS IN THE POD. BOTH SAID OK.
SGT SCHRADER WAS HERE WHEN SUBJECT WAS BOOKED AND THE HOUSING WAS OK'D BY HIM.

Sat Jul 23 06:38:26 PDT 2011 Sgt. Randall approved to move Spangler to B-10,
which is an empty room. Spangler apparently stole from Lederle's investigator,
who is also his fiance, and due to possible retaliation on Lederle's part, and
due to Lederle's Pro-Se status, it was best to move Spangler out. Spangler is
not to be let out with the rest of the pod as he does not get along with
numerous people in B-pod. Special arrangments will be made to give him time out
of his room. IMK

FOLLOW-UP ACTION TAKEN:

REMARKS:

06:41:39 KAMMERER I      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -5    ' to `SCJ -SCJ1-N   -B   -10A '.

Total for 07/23/11:   4


Date: 07/24/11
--------------
13:34:44 LIEKHUS F       MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
SEVERAL TIMES THIS MORNING, INMATE SPANGLER, BRYCE #220164 ASKED WHEN HE IS
GOING TO GET OFF LOCKDOWN AND COME OUT WITH THE REST OF THE POD. I ASKED HIM
ABOUT HIS COMMENT ABOUT BEING BEAT UP IF HE IS PLACED IN B POD. HE TRIED TO DENY
THAT HE SAID THAT. I KEPT ASKING FOR A BETTER EXPLANATION AND HE FINALLY TOLD ME
THERE WAS NOBODY IN HERE THAT WAS GOING TO HURT HIM. PER SGT. SCHRADER, SPANGLER
IS NO LONGER ON LOCKDOWN AND CAN COME OUT WITH THE LOWER TIER. FL
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FOLLOW-UP ACTION TAKEN: SGT. SCHRADER NOTIFIED AND SPANGLER OFF LOCKDOWN.

REMARKS:

17:06:29 WALDE J         INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -B   -10A ' to `SCJ -SCJ1-N   -BF -14 '.

Total for 07/24/11:   2


Date: 07/25/11
--------------
07:30:00 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
WENT TO RIGHTS FOR CASE BUC12975/BUC12893 PRED BUT STILL BEING HELD ON THE
COMMIT PER JUDGE GILBERT.


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   100

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 07/25/11: 1


Date: 07/26/11
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16:00:00 KELLEY L        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
WENT TO COURT ON BUC12975 / BUC12893 45 DAY DAY SENTENCE

Total for 07/26/11:   1


Date: 07/27/11
--------------
20:27:11 KELLEY L        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
An Allyssa Barter called the jail to report that subject had tried to call her
twice tonight at 360-395-5360. Ms. Barter said that she has a restraining order
/ no contact order and subject is not to call her or have any contact with her.
I called INTELMATE to make sure her number was properly blocked from any calls
made from the jail.




FOLLOW-UP ACTION TAKEN:
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REMARKS:

Total for 07/27/11:   1


Date: 07/29/11
--------------
12:19:27 SARGENT D       INMATE CELL CHANGE     0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -BF -14 ' to `SCJ -SCJ1-N   -B   -14B '.

19:43:35 MCINTOSH A      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -B   -14B ' to `SCJ -SCJ1-N   -B   -6B '.

Total for 07/29/11:   2


Date: 07/31/11
--------------
21:03:40 JENNINGS K       JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   101

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
When serving dinner in B pod, inmate Schafer, G. #98707 came to the pod door and
asked for B-13 to be popped. I radioed for N control to pop the door and watched
as Sundean, T #188899 who was inside the cell, came to the door and slammed it
shut again. I asked for N Control to listen in on B13 and ask them if there was
a problem. N control radioed to me that Sundean was requesting to be moved out
of the pod and put into C-Pod - however would not offer much more reasoning as
to why. I talked to Sundean and he again had no reasoning on why he needed to be
moved just said "I need space". I did not feel at this time that Sundean was in
any danger due to the pod being locked down to clean, and so Sundean was offered
dinner in his cell which he refused. While I was giving N control their dinner
break I was listening into B13 where inmate Schafer and inmate Nixon K. #42362
were talking to inmate Sundean and overheard the comments "Just order the food
and be done with it" "If you don't then you are going to have a target on their
back the rest of the time your here" "Just tell them that Spangler did it and
they will take him to the hole" "If you snitch then they will take our TV and
phone away and the whole pod will suffer". It seemed like there was also a lot
of running back and forth from B13's room to B2's room which houses Peters J
#71132 and Brito, R. #331441.

At 1815 I pulled inmate Olson, J #63903 out of the pod to help me with the
cleaning gear. I asked him what was going on in the pod and explained to him
that I had overheard a lot of the talking that was going on between B2 and B13.
He told me that "Stimey" who is also known as Peters, J. makes people "pay
rent" in the pod by buying commissary for him, that the "guy" in B13 hasn't done
any jail time prior to this offense and so he is an easy target in the pod. I
asked him what the involvement of Spangler was and he said that "Spangler thinks
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he is one of the homies and will do whatever Stimey says, he just talks a lot".
It seemed like a lot of the information that Olson was relaying matched to the
conversations that I had overheard in both B13 and B2.

Due to the lack of space to move Sundean, the staff shuffled some bodies around
to open a room in C Pod. I went into the pod and had Sundean move out into C8.
Once in C-8 I asked Sundean to explain to me what was going on and who was
involved. Sundean was hesitant, but told me that when he moved into the pod
Spangler, B#220164 came to his room with a commissary sheet that was already
filled out. Spangler told Sundean that he needed to hook his homies up in the
pod and that Stimey "the guy in B2" said if he didn't that they would get him.
Sundean told me that he was told that because he uses the TV and the phone in
the pod that he needed to contribute other wise they would make sure that he
didn't come out of his cell. And if he wasn't going to they would get him so he
better just kite out of the pod". Sundean said he questioned as to why he hadn't
been given anything if it was collective sharing and was told by Stimey that its
because he hadn't asked. Sundean also said that prior to dinner, Spangler
'picked' the lock of B14 which was unoccupied, opened and closed the door - just
to show Sundean that 'they' could get to him. Sundean said he was scared to
death to stay in the pod because they are able to get into his cell and he
didn't have the means or resources to provide the 'commissary' that was demanded
of him.

I asked him what the issue was with the tier that he was on and he said that
they (Peters & Spangler) were saying that they would find a way to get their
door popped when Sundean was out by means of phone call or toilet paper just so

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
they could get a "shot" at him if he didn't pay up. Sundean also said that he
didn't feel comfortable with his tier because they are all "working for Stimey"
and they do everything that he tells them too, so he was scared.

It appears that Mr. Peters has a control over the pod again and that commissary
is playing a big role in power over inmates. I also believe that there is a lot
of strong arming in the pod which is creating a dangerous environment for both
inmates and staff.




FOLLOW-UP ACTION TAKEN:




REMARKS:
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Total for 07/31/11:   1


Date: 08/01/11
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07:01:45 SARGENT D       JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L
24 hr lock down/ refused to go to court. Informed and accepted. DS

12:09:36 FREEBURN J      INMATE COURT APPEARANC    0.00 SPANGLER, BRYCE L
RIGHTS ON MC25052/ REFUSED TO GO

13:29:34 SARGENT D       INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -B   -6B ' to `SCJ -SCJ1-N   -B   -10A '.

15:09:33 WARNER M         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 8-01-11

RULE VIOLATION:Major #23 Extortion blackmail, demanding or receiving money or
anything of value in return for protection or under the threat of informing. An
attempt is considered the same as offense.

Minor #1/#19. Threatening another with bodily harm. An attempt is same as
offense.

DETAILS OF INCIDENT:See incident #188899. On 7-31-11 an inmate #188899 was given
a commissary slip to submit and was told if he did not comply that they would
get him. The inmate in question had to be moved out of the pod for his own
safety. Staff was listening in on individual cells and it is apparent that
inmate Spangler is aiding in the coercing of other inmates out of their
commissary.


DESCRIBE ANY PERSONAL INJURIES: None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: N/A

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION: 48 hours lock down in cell on D-seg status. Starting
8-01-11 @1400 and ending 8-03-11 @ 1400. Loss of 1 day of goodtime.

I ACCEPT THIS SANCTION: YES/NO            I REQUEST A HEARING: YES/NO

INFRACTION REPORT DATE:
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RULE VIOLATION:

DETAILS OF INCIDENT:

DESCRIBE ANY PERSONAL INJURIES:

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:

DESCRIBE ANY PROPERTY DAMAGE:

DISCIPLINARY SANCTION:

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


08/03/12                      SKAGIT COUNTY JAIL                                 217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------

INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 08/01/11:    4


Date: 08/02/11
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09:53:38 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED ON MC25052 PRED BUT STILL BEING HELD ON A COMMITT

19:53:00 RUDDELL L         JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:   105

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
North Control advised that I/M Olson, Justin needed to be removed from the pod.
Olson locked himself in his room until I responded to talk to him. When I went
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into Olson's room he stated he couldn't talk about it there. Olson asked if I
could take him up to read his discovery. I took Olson up front and he explained
that he was going to get jumped later. Olson was very reluctant to say anything
more due to the fact that he didn't want anyone in the pod to find out what he
was telling me. Olson stated that he was already being blamed for being a snitch
on I/M's Petters, Spangler and Schaffer. Olson said that all three inmates where
blaming him for their lock down and that he is the one who snitched on them when
he was out cleaning with Deputy Jennings the other day. According to Olson is
that all three "put two and two together" and believes he is responsible for
them getting locked down and that he has been told by them along with several
other inmates tonight that he was going to get jumped. I asked Olson how they
were planning to do this and Olson said he was told at med time when the door
gets open to their room that he was going to "get mopped up" and "pay." Olson
said he is no longer safe in the pod and even if they are locked down now it
wouldn't matter because eventually later they wouldn't be locked down or have
someone else do it. Olson stated that Peters continues to run the whole pod and
everyone is behind Peters. Olson was very adimit that he was going to get beat
up and this isn't a bluff on Peters part due to he kept saying "You don't know
how he runs that place. It will happen. Peters will never stop no matter what
you guys try to do. He will never change." Olson was very worried that any of
the information he was telling me would get back to any of the other inmates and
especially Peters. Olson said he wanted to stay out of trouble and had no choice
but to go to C Pod because he could not go to A or E Pod. Olson kept stating
that he didn't want the other inmates on the bottom tier to get blamed if we
locked down the pod for a threat or fight since Olson kept saying "this is all
Peters doing. You have to stop him, no one else." Then they would also know
where this information came from. Olson was moved to C Pod.

Peters appears to continue to run the pod, seems to dictate his authority and
the on goings in B Pod. More and more people apparently are becoming not safe in
B Pod again. Peters also had a hearing earlier in the day for another issue in
the pod of the same nature. At this point Olson was moved out of the pod and the
pod was not locked down until a Sgt can review this since Peters is already on
lock down. Peters housing and discipline needs to be address by the Sgt's in
order to keep B Pod safe. Peters seems to continue to have disregard on the jail
rules and continues his behavior.



FOLLOW-UP ACTION TAKEN:




REMARKS:


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
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22:11:09 FUTRELLE K       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

Total for 08/02/11:   3


Date: 08/03/11
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08:31:46 SCHRADER B       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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______________________________________________________________________

                                NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME:Spangler, Bryce, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date):Wed Aug 03 08:32:30 PDT 2011
BY:Schrader
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:Major #23 Extortion blackmail, demanding or receiving money or
anything of value in return for protection or under the threat of informing. An
attempt is considered the same as offense.
PLEA:Not Guilty           FINDING:Guilty

RULE:Minor #1/#19. Threatening another with bodily harm. An attempt is same as
offense.
PLEA:Not Guilty           FINDING:Guilty
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:Major #23 Extortion blackmail, demanding or receiving money or
anything of value in return for protection or under the threat of informing. An
attempt is considered the same as offense.
EVIDENCE:Subject has been named by several inmates as demanding payment in the
form of commissary.


RULE:Minor #1/#19. Threatening another with bodily harm. An attempt is same as
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offense.
EVIDENCE:Subject has been named by several inmates as threatening bodily harm to
them if they do not comply with his demands.
_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION:48 hours disciplinary sanction in cell.
REASON:This is subject's second disciplinary sanction this booking. This
sanction is progressive discipline.


_____________________________________________________________________


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Time     Officer         Event Type             Qty    Inmate
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DATE OF DECISION:Wed Aug 03 08:43:57 PDT 2011 HEARING OFFICER:Schrader
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

11:25:43 DILLAMAN K      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -B   -10A ' to `SCJ -SCJ1-B   -G11 -1   '.

12:10:00 MCDONALD J      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
ON 08/03/11 AT APPROXIMATELY 1210 HOURS I WAS PICKING UP LUNCH TRAYS AT BOOKING.
I WENT TO GREY-11 WHERE INMATE SPANGLER IS HOUSED AND ASKED FOR HIS TRAY. I
COULD SEE INMATE SPANGLER LAYING ON THE BENCH WITH THE TRAY ON THE FLOOR AT THE
BACK OF THE CELL. I YELLED FOR INMATE SPANGLER TO GIVE ME THE TRAY MULTIPLE
TIMES. HE DID FINALLY GET UP AND STUMBLED AROUND. HE HANDED ME THE TRAY AND
ASKED A FEW QUESTIONS ABOUT LIVING IN GREY-11. HIS SPEECH WAS SLURRED AND HIS
EYES APPEARED RED. BEFORE I CLOSED THE WINDOW HE ASKED TO SEE THE NURSE BECAUSE
HE JUST RAN OUT OF THE HEROIN HE BROUGHT IN AND WILL NEED SUBOXONE.

12:17:07 PARKER S        USE OF FORCE             0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
(XX)UNPLANNED( )PLANNED USE OF FORCE
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REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
(XX) BECAME VIOLENT AND/OR ASSAULTIVE WITH(XX)STAFF( )OTHER INMATE(S)
(XX) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
(XX) ENFORCEMENT OF JAIL RULES            (XX)FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
( )     NONE USED
(XX)    BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS: 1100

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
(XX)HANDCUFFS           ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
(XX)BODILY FORCE       ( )TASER DISPLAYED       (XX)TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME:Deputy S.Parker
NAME:Deputy K.Jennings
NAME:Deputy P. Storie
NAME:Deputy J. Zorn
NAME:Deputy J.Mcdonald

LIST INJURIES TO STAFF:Deputy Storie, cut on palm of left hand. Deputy Parker,
pulled back muscle.


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: Spangler stated that he had no injuries.


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
NARRATIVE: Deputy Jennings asked me over the radio if Spangler could return to
the North End from booking. I told her that it was ok. Upon returning to the
North end I told Spangler to pack up his belongings because he was moving to
another cell in the pod. He entered the pod and walked toward his cell. He
noticed that the other cellmates that he had we no longer in the cell. As soon
as he heard that they had been moved to isolation Spangler decided that he
wasn't going to cooperate. I heard him tell Jenninigs that he wasn't going to
lock down. He was then told again to go to his room and he said "fuck that I'M
not locking down". Spangler then took off his shirt and took a fighting stance.
At that time I asked for the taser in the pod. The pod door was open, so I
walked in the pod and started telling people to lock down. Spangler started
walking up to inmates and shaking hands and hugging inmates. I again told
everone to lock down. I headed to open rooms and had to yell at inmates to again
lock down and had to physically close their doors. At that point I saw that
several Deputies had responded. I saw that he had his back to me, so       I went
at him and grabbed him from behind. He started to resist, so I then took ahold
of him from behind with a rear neck hold. At that point I pulled back on him and
took him to the floor. I got control of him on the ground and at that time
Deputy Zorn took control of his legs and Deputy Storie came with the taser.
Jennings and Storie had a hold of his arms. Spangler was told to put his arms
behind his back and he refused. I then let go of his neck and placed on hand on
his back and the other was on his head holding it down to the floor. Deputy
Storie then drive stunned Spangler in the hip because he refused to give up his
arms for restraints. Spanglers arms were then put behind his back and Deputy
McDonald assisted in placing the cuffs on him. Spangler was then picked up off
the floor and escorted to booking.



Supplimental report: Wed Aug 03 13:51:29 PDT 2011
Deputy Polly Storie

I was at C-pod getting inmate Solis for an attorney when Deputy Parker requested
a taser. When I retreived the taser from the north control drawer, I observed
inmate Spangler taking his red uniform shirt off walking away from deputy Parker
in the B-pod dayroom. Inmate Spangler was smacking hands and high fiving other
inmates in the dayroom, while Deputy's Parker and Jennings was telling the other
inmates the pod to lock down and telling inmate Spangler to lock down.

As I entered B-pod dayroom, I/M Spangler was the only inmate standing in the
dayroom refusing to lock down. I/M Spangler noticed I had a taser and stated, "
go ahead and tase me I don't care". I approaced him and while he was activily
refusing to lock down and focused on me, Deputy Paker was able to grab him from
behind attempting to take him down to the ground and handcuff him. I/M Spangler
activily fought our attempts to get him handcuffed, I drive stunned him in the
lower left back area as he was laying face down but still activly resisting our
attempts to get him handcuffed. Deputy Zorn and Jennings were able to get hand
cuffs on him as Deputy Parker still applied prassure to his neck and back to
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disable him from at least getting up.
Once he was handcuffed and secured, Deputy's Zorn and Jennings escorted inmate
Spangler up to Grey 11 at booking while I walked behind with the taser.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
At booking I took photos of I/M Spanglers lower back where I had to drive stun
him I also asked if he wanted medical attention, he stated " No I just want a
blanket to get some sleep".


REPORTING DEPUTY:

REVIEWING SUPERVISOR:

16:25:00 HOLMSTROM N     JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
At about 1625 hours on 08-03-11, staff was notified by North Control that Inmate
Olson, Justin Carl (nm# 63903) needed to move out of E pod as he was going to
have issues with several other inmates in the pod. I had been instructed by
Sergeant Schrader prior to his departure, to move Inmate Spangler, Bryce from
Grey 11 into the cell with Inmate Schafer, Garrett in C pod if we needed Grey 11
for Olson. It became apparent that we needed Grey 11 so Spangler was moved to
C-8 and Olson was moved to Grey 11 without incident. N. Holmstrom

FOLLOW-UP ACTION TAKEN:


REMARKS:

16:40:07 JENNINGS K      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-B   -G11 -1   ' to `SCJ -SCJ1-N   -CO -9    '.

Total for 08/03/11:     6


Date: 08/04/11
--------------
12:31:20 PARKER S           INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 08/03/11
RULE VIOLATION: Disobeying a lawful order of a staff member, Threatening,
Refusing lock down orders.
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DETAILS OF INCIDENT:When returned to the pod Spangler refused to lock down.
Subject took a fighting stance by removing his shirt and stating that he was
refusing to lock down. See incident #878986.

DESCRIBE ANY PERSONAL INJURIES:N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE:N/A

DISCIPLINARY SANCTION: 3 DAYS LOSS OF GOOD TIME.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO

In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________

DEPUTY__________________________________

Total for 08/04/11:   1


Date: 08/05/11
--------------
20:10:02 SALINAS E        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

Total for 08/05/11:   1


Date: 08/06/11
--------------
12:00:00 KAMMERER I       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 08/06/11:   1



08/03/12                      SKAGIT COUNTY JAIL                                 217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 08/07/11
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19:00:13 SALINAS E        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

22:05:54 SALINAS E       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
At above time and date, I saw Inmate Schafer, Garrett N# 98707 walk into the
North Rec and towards the B-pod rec door. It looked like he has dropped
something by the door, then he went back into C-pod. Deputy T Hines was
disbursing medications in C-pod, so I had him go check it out as I could see 2
or 3 other inmates from within B-pod crouching down by the B-pod rec door, as if
fishing for the dropped item. As Deputy Hines approached the BV-pod rec door, I
popped it open and Deputy T Hines saw the Inmates on the floor and told them to
lock down. This was around 1940 hours. The door that I saw close was B-12. The
Inmates in B-12 are Rylah, Jessy N# 399205, Auriemma, Joseph N# 309222 and
Kester, Kristopher N# 164083.
 When Deputy Hines finished disbursing medications in C-pod, he patted down both
Inmates Spangler, Bryce N# 220164 and Schafer. Then he locked them down at 1950
hours.
 Per Deputy Hines, it was a packette of coffee. The packette was confiscated and
disposed of and all parties were locked down for the remainder of the day.

Total for 08/07/11:   2


Date: 08/08/11
--------------
17:00:00 WALDE J         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Inmate Spangler requested his hour out early as there was nobody in C-6. Request
was granted by me. His hour was terminated early however as he was observed
helping inmate Schafer string toilet paper around C-pod. Locked down at 1750 hrs




FOLLOW-UP ACTION TAKEN:




REMARKS:

20:25:23 SCHRADER B       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Mon Aug 08 20:25:45 PDT 2011
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RULE VIOLATION:Minor #12 Failure to keep one's quarters in accordance with
rules.

DETAILS OF INCIDENT:Event #879608 states that subject was observed by deputies
stringing toilet paper in the C-pod dayroom.

DESCRIBE ANY PERSONAL INJURIES:N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE:N/A

DISCIPLINARY SANCTION:4 days in disciplinary segregation ending 8/12/11. This is
subject's 3rd disciplinary sanction this booking. Subject was going to be
removed from the segregation unit today, but this incident prevented the move.

I ACCEPT THIS SANCTION: YES/NO               I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 08/08/11:   2


Date: 08/10/11
--------------
16:34:48 RANDALL D        JAIL INCIDENT REPORT       0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                   217
11:54      Jail Events Summary Report, By Date, Time With Comments         Page:   115

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                 NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________
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INMATE'S NAME: Spangler, Bryce IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON 8/11/11 @ 1330:
BY: Sgt. Randall
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:#12 failure to keep one's quarters in accordance with rules
      PLEA: NG        FINDING: G
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Failure to keep one's quarters in accordance with rules.
EVIDENCE: Staff observation. I/M Spangler stated that he did throw toilet paper
but it was at his cell mate telling him to stop or they would get locked down.
______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: 2 of the 4 days upheld. Sanction to end 0600 8/11/11. I/M Spangler
will stay in C-pod per his request to stay out of trouble.
REASON: Inmate stated that he did throw toilet paper.


_____________________________________________________________________

DATE OF DECISION:8/10/11   HEARING OFFICER: Sgt. Randall
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

19:00:00 RUDDELL L       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT


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Time     Officer         Event Type             Qty    Inmate
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Total for 08/10/11: 2
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Date: 08/11/11
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12:14:06 PARKER S         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
1200-1300

Total for 08/11/11:   1


Date: 08/12/11
--------------
19:35:00 WALDE J          NORTH END RECREATION   0.00 SPANGLER, BRYCE L
out for houer

Total for 08/12/11:   1


Date: 08/14/11
--------------
18:00:00 RUDDELL L        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 08/14/11:   1


Date: 08/15/11
--------------
21:20:21 FADDIS D         JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
I/M Schafer (NM 98707) was running around the pod on his hour out, trying to go
upstairs after I advised him he was not allowed to and throwing items onto the
upper tier. I advised subject his hour out was terminated 15 minutes early due
to his behavior. Subject refused to lock down. I requested assistance respond to
C-Pod to assist subject in locking down. Deputies Jennings, Ruddell, Warner,
Hines and LO Faddis responded. Schafer's cell mate, I/M Spangler (NM 220164) was
in the dayroom so was told to lockdown as well for safety and security reasons
so the cell door would not have to be re-opened. The taser was viewed but not
used. Both subjects finally locked down with no use of force. After subjects
locked down I/M Schafer threatened to flood. The water was turned off. I/M
Schafer then stated he would break the window. I heard the sound of banging and
both subjects were talking about "when you see the spiderwebs". I again asked
for assistance and the same deputies responded. JAZ

Supplemental deputy Faddis: During the first response I/M Schafer retreated to
his room as soon as he saw the Taser. I/M Spangler remained at the day room
table until I ordered him to lock down.
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During the second response when I arrived at C-9 day room door there was a towel
covering the window. I'M Schafer was talking with Deputy Ruddell and Deputy
Jennings. When I/M Schafer heard my voice he looked out the window. I spoke
with I/M Schafer about why he was doing this. Subject stated using a loud voice
and profanities that he was upset with Deputy Hines and wanted an apology. I/M
Schafer complained that Deputy Hines had told him that he was losing all his
good time. I told I/M Schafer that whatever Deputy Hines had told him, his
actions were not going to help his situation. I/M Schafer than let the towel
drop covering the window again. I left the pod to retrieve the Taser. Deputy
Ruddell remained and spoke with I/M Schafer through the door.

It should be noted that I/M Lederly NN#84650 was yelling to I/M Schafer at the
top of his lungs. I/M Lederly was yelling things like "They only have one
chair, they can't put both of you in there". I/M Lederly also yelled that it
was only a misdemeaner to assault a corrections deputy and they should do it if
they got the chance.

FOLLOW-UP ACTION TAKEN: Deputy Rudell was able to get I/M Schafer to remove the
towel from the window. Subjects were left in C-9.

Supplement by Dep Zorn @ 2120: I heard both subject's talking about how
their floor was covered with Oxywash and water and was very slippery. I also saw
water coming from underneath their cell door. I advised staff. JAZ

Supplemental Deputy Faddis: At 2130 I went to North Control to listen in on
C-Pod. There was general rambling about disatisfaction with staff, and some
unintelligible yelling. After listening for a few minutes I went to C-9 to
speak with I/M Schafer. I listened to both I/M Schafer and I/M Spangler
complain about staff, and how they thought they were being lied to and provoked.
 After a few minutes I was able to get them to agree to be calm and not to cause
anymore problems tonight. I agreed to turn their water back on for the night
and they agreed not to flood.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
21:31:49 ZORN J          JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I/M Schafer (NM 98707) was running around the pod on his hour out, trying to go
upstairs after I advised him he was not allowed to and throwing items onto the
upper tier. I advised subject his hour out was terminated 15 minutes early due
to his behavior. Subject refused to lock down. I requested assistance respond to
C-Pod to assist subject in locking down. Deputies Jennings, Ruddell, Warner,
Hines and LO Faddis responded. Schafer's cell mate, I/M Spangler (NM 220164) was
in the dayroom so was told to lockdown as well for safety and security reasons
so the cell door would not have to be re-opened. The taser was viewed but not
used. Both subjects finally locked down with no use of force. After subjects
locked down I/M Schafer threatened to flood. The water was turned off. I/M
Schafer then stated he would break the window. I heard the sound of banging and
both subjects were talking about "when you see the spiderwebs". I again asked
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for assistance and the same deputies responded. JAZ

Supplemental deputy Faddis: During the first response I/M Schafer retreated to
his room as soon as he saw the Taser. I/M Spangler remained at the day room
table until I ordered him to lock down.

During the second response when I arrived at C-9 day room door there was a towel
covering the window. I'M Schafer was talking with Deputy Ruddell and Deputy
Jennings. When I/M Schafer heard my voice he looked out the window. I spoke
with I/M Schafer about why he was doing this. Subject stated using a loud voice
and profanities that he was upset with Deputy Hines and wanted an apology. I/M
Schafer complained that Deputy Hines had told him that he was losing all his
good time. I told I/M Schafer that whatever Deputy Hines had told him, his
actions were not going to help his situation. I/M Schafer than let the towel
drop covering the window again. I left the pod to retrieve the Taser. Deputy
Ruddell remained and spoke with I/M Schafer through the door.

It should be noted that I/M Lederly NN#84650 was yelling to I/M Schafer at the
top of his lungs. I/M Lederly was yelling things like "They only have one
chair, they can't put both of you in there". I/M Lederly also yelled that it
was only a misdemeaner to assault a corrections deputy and they should do it if
they got the chance.

FOLLOW-UP ACTION TAKEN: Deputy Rudell was able to get I/M Schafer to remove the
towel from the window. Subjects were left in C-9.

REMARKS: Supplement by Dep Zorn @ 2120: I heard both subject's talking about how
their floor was covered with Oxywash and water and was very slippery. I also saw
water coming from underneath their cell door. I advised staff. JAZ

Total for 08/15/11:   2


Date: 08/16/11
--------------
11:16:18 RANDALL D        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: Tue Aug 16 11:16:46 PDT 2011

RULE VIOLATION: Minor 17: Refusing or delaying lockdown orders
Major #18 Rioting or encouraging riot or demonstration.
(Flooding individual rooms or cell pods is considered rioting or encouraging).

DETAILS OF INCIDENT: When advised to lockdown I/M Spangler remained at the day
room table until again ordered to lock down after the taser had been retrieved.
Subject was over heard talking about how to cover floor with Oxywash and water
causing it to be very slippery.
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DESCRIBE ANY PERSONAL INJURIES: N/A
LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: N/A
DESCRIBE ANY PROPERTY DAMAGE: N/A
DISCIPLINARY SANCTION: 1 week D-Seg to begin 0600 on Aug 16th and end 0600 Aug
24. 1 week loss of commissary.

I ACCEPT THIS SANCTION: YES/NO               I REQUEST A HEARING: YES/NO

      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________

DEPUTY__________________________________

Total for 08/16/11:   1


Date: 08/17/11
--------------
11:47:52 BEISLER P         INMATE COURT APPEARANC     0.00 SPANGLER, BRYCE L
RIGHTS ON 11-1-00772-2    / Bail set at 10,000 /     Commisioner Smith

14:27:42 SCHRADER B       INMATE DISCIPLINARY PR     0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                   217
11:54      Jail Events Summary Report, By Date, Time With Comments         Page:   120

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                 NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME:Spangler, Bryce, IDENTIFICATION NUMBER: 880569,
DECISION SERVED ON INMATE ON (Time and Date):Wed Aug 17 14:28:39 PDT 2011
BY:Schrader
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:Minor 17 Refusing or delaying lockdown orders.     PLEA:NG   FINDING:NG
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________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:Refusing or delaying lockdown orders.
EVIDENCE:Deputy Zorn stated she did not tell subject to lockdown.
______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION:N/A
REASON:
_____________________________________________________________________

DATE OF DECISION: Wed Aug 17 14:34:50 PDT 2011 HEARING OFFICER:Schrader
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

19:09:03 KELLEY L         NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 08/17/11:   3



08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   121

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 08/18/11
--------------
19:49:26 TREVINO L       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -9    ' to `SCJ -SCJ1-N    -C  -9   '.

Total for 08/18/11:   1


Date: 08/19/11
--------------
20:05:00 CALLAHAN N       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out

Total for 08/19/11:   1
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Date: 08/21/11
--------------
20:00:00 VATER R          NORTH END RECREATION     0.00 SPANGLER, BRYCE L

Total for 08/21/11:   1


Date: 08/22/11
--------------
19:00:00 RUDDELL L        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 08/22/11:   1


Date: 08/23/11
--------------
15:32:25 ZORN J           INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
mc25052 cont to 9/20/11

Total for 08/23/11:   1


Date: 08/24/11
--------------
20:28:12 CALLAHAN N       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

Total for 08/24/11:   1


Date: 08/25/11
--------------
12:06:31 SARGENT D        NORTH END RECREATION     0.00 SPANGLER, BRYCE L


08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:   122

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 08/25/11: 1


Date: 08/26/11
--------------
19:15:00 BLOCK MM         NORTH END RECREATION     0.00 SPANGLER, BRYCE L
Hour out

Total for 08/26/11:   1
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Date: 08/28/11
--------------
20:02:50 KELLEY L         NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 08/28/11:   1


Date: 08/30/11
--------------
12:00:00 HOLMSTROM N     NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT FROM 1200-1300 HOURS.

Total for 08/30/11:   1


Date: 08/31/11
--------------
19:57:25 CALLAHAN N       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
hour out

21:01:42 RUDDELL L        JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     123

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
I received a note slipped under the door from C 9 to me from I/M Farias, Sergio.
The note stated "can I please get moved somewhere else there are people that
want to jump me in here and people in this tank that don't like me. I will tell
you who but I can't say it loud so can you move me somewhere else. I don't want
nothing to happen and I'm worried for my safety." Farias is currently housed
with Spangler, Bryce. Both inmates came out on there hour out about 15 minutes
later. I locked Spangler up in the rec so I could talk to Farias. Farias stated
to me that because he has named people in his case there are a lot of inmates in
here that are unhappy with him including I/M Peters, Jeff that is housed in C
Pod also. I/M Spangler is an association with Peters so Farias stated he fears
that there could be problems with Spangler. I moved Farias to C 8.


FOLLOW-UP ACTION TAKEN: Farias moved to C 8 and Sgt O'Neill informed. Farias
should not go to court with anyone for his safety.




REMARKS:

Total for 08/31/11:   2
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Date: 09/01/11
--------------
00:33:01 CALLAHAN N         OWN RECOGNIZANCE RELEA   0.00 SPANGLER, BRYCE L
Released from record       179066, location SCJ -SCJ1-N   -C   -9

Total for 09/01/11:    1


Date: 09/02/11
--------------
10:50:04 KAMMERER I      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
On 9/2/11 I received a call from the Snohomish County PA's office. The lady I
spoke with asked if we had an inmate by the name of Bryce Spangler. I told her
he was no longer in custody. The lady stated she received a voicemail yesterday
around 0230 hours, and the message left stated, "you didn't do your fucking
homework" along with some other choice words she did not want to repeat. I
looked Spangler up and it stated he was released on 9/1/11 at 0115 hours. IMK

FOLLOW-UP ACTION TAKEN:

REMARKS:

Total for 09/02/11:    1



08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments      Page:   124

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 11/05/11
--------------
02:56:38 MASKELL B       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -A   -14A '.

02:56:38 MASKELL B       INVESTIGATIVE HOLD         0.00 SPANGLER, BRYCE L
Arrived at jail 23:30:00 11/04/11

03:53:51 MASKELL B       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -A   -14A ' to `SCJ -SCJ1-N   -C   -7   '.

18:45:11 MASKELL B       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
LATE REPORT. SUBJECT BOOKED BY SWPD AND REQUESTED TO GO TO THE HOLE! SUBJECT
FINNISHED BOOKING AND WAS TAKEN TO C POD. SUBJECT WAS ADVISED IF ROOM WAS
NEEDED HE MIGHT HAVE TO MOVE TO A DIFFERANT ROOM.
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FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 11/05/11:   4


Date: 11/06/11
--------------
07:30:48 KAMMERER I      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -7   ' to `SCJ -SCJ1-N   -CO -6    '.

Total for 11/06/11:   1


Date: 11/07/11
--------------
10:53:07 MASKELL B       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
Mon Nov 07 10:47:02 PST 2011 SEEN IN DISTRICT COURT ON 11-1-00772-2, MC25052,
AND ALSO INV ID THEFT 2 AND PSP 2. PR'D ON MC25052. CONTINUED HELD ON $15000 ON
11-1-00772-2. BAIL SET ON THE INV HOLD AT $10000 WITH A FILING DEADLINE OF 1600
HOURS ON 11-09-11.                  JO

RIGHTS


08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:      125

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 11/07/11: 1


Date: 11/09/11
--------------
17:00:00 LIEKHUS F        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 11/09/11:   1


Date: 11/10/11
--------------
06:19:36 ONEILL J        NO CHARGES FILED RELEA   0.00 SPANGLER, BRYCE L
IF NO CHARGES FILED ON INV11-479, IS TO BE RELEASED AT 1600 HOURS. (Filed on)
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 115 of 243




07:00:00 LIEKHUS F        NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

07:25:10 HOLMSTROM N     INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED ON CAUSE# 11-1-01100-2, BAIL REMAINED $10,000.00 BONDABLE. CASE
CONTINUED TO 11-17-11.

16:04:08 FREEBURN J      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -6    ' to `SCJ -SCJ1-N   -CO -4    '.

16:22:19 FREEBURN J      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -4    ' to `SCJ -SCJ1-N   -CO -1    '.

16:50:15 HOLMSTROM N     INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
APPEARED IN SUPERIOR COURT ON CAUSE# 11-1-00772-2. DEFENDANT GRANTED PROSE
STATUS ON THIS CASE ONLY, PER COURT ORDER. CASE CONTINUED TO 11-17-11 FOR
OMNIBUS HEARING.

17:06:09 PARKER R        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -CO -1    ' to `SCJ -SCJ1-N   -C   -1   '.

Total for 11/10/11:   7


Date: 11/11/11
--------------
07:02:05 KAMMERER I       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

07:30:45 KAMMERER I      INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALL TO 360-941-8526 TO SHAMIKA, VOICEMAIL
CALL TO 202-3683 TO SHAWN, VOICEMAL
CALL TO 360-941-8526 TO SHAMIKA, CONNECTED


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   126

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
10:28:33 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
small envelope sent out to Shameka Colver "marked legal mail".

Total for 11/11/11:   3


Date: 11/12/11
--------------
14:42:08 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
3 small envelopes out going to:
      1 The Bames Review
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      1 Washington State Bar Association
      1 Commission on Judicial Conduct

16:54:48 KELLEY L         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

17:15:29 KELLEY L        INMATE PRO SE           0.00 SPANGLER, BRYCE L
CONNECTED TO 360-941-8526 SHAMIKA

20:48:59 SCHRADER B      INMATE PRO SE           0.00 SPANGLER, BRYCE L
Request sent to law library

Total for 11/12/11:   4


Date: 11/13/11
--------------
06:55:00 CALLAHAN N       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out

07:21:34 CALLAHAN N      INMATE PRO SE           0.00 SPANGLER, BRYCE L
called 0715 katie at 202-3683 0720 chinika at 941-8526 no answers. at 0750
called chinika 941-8526 and was transferred in.

Total for 11/13/11:   2


Date: 11/14/11
--------------
07:02:05 KAMMERER I       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

07:25:47 KAMMERER I      INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLED 202-3683 FOR KATIE OR SHWAN NO ANSWER
CALLED 941-8526 FOR MIKA TRANSFFERED

10:27:20 ONEILL J         INMATE PRO SE          0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   127

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Subject sent out for mailing the following items:
      One unstamped standard sized envelope addressed to William and Linda
Smith of Sedro Woolley, marked "legal mail".
      One unstamped standard sized envelope addressed to Kaylee of Sedro
Woolley, marked "legal mail".

Both items were placed in the appropriate location for outgoing mail.

Total for 11/14/11:   3
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Date: 11/15/11
--------------
07:31:38 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from the Law Library, the following items for the subject:
      Washington Court Rules Volume I
      Washington Court Rules Volume III

Both books due to be returned to the Law Library on 11-16-11.

07:57:29 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following item:
      One unstamped standard sized envelope addressed to Cherilyn Hughes of
Mount Vernon, marked "legal mail".

This was placed in the appropriate location for outgoing mail.

09:39:04 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Office of Assigned Counsel returned a response to an Inmate Grievance form
regarding supplies.
 This was placed in the North Rover box for delivery to the subject.

14:03:12 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
SUBJECT WAS GIVEN ONE FLEX SAFETY PEN DUE TO HIS PRO SE STATUS.

15:00:00 FREEBURN J      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
Was seen on MC25052 new court date 12/13/11 not being held on this charge.

16:58:16 SARGENT D        NORTH END RECREATION   0.00 SPANGLER, BRYCE L

Total for 11/15/11:   6


Date: 11/16/11
--------------
02:20:39 CALLAHAN N      INMATE PRO SE            0.00 SPANGLER, BRYCE L
to library to make copies.


08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:    128

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
06:17:15 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following items:
      One unstamped standard sized envelope addressed to Kaytee Greenwood of
Sedro Woolley, marked "legal mail".
      One unstamped standard sized envelope addressed to Shameka R. Calvin of
Sedro Woolley, marked "legal mail".
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Both items were placed in the appropriate location for outgoing mail.

07:07:54 TREVINO L        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out began 0700

07:25:31 TREVINO L       INMATE PRO SE           0.00 SPANGLER, BRYCE L
requested legal call (350) 941-8526 Meeka

11:04:54 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped standard sized envelope addressed to
Shameka Colvin of Sedro Woolley, marked "legal mail". This was placed in the
appropriate location for outgoing mail.

15:00:00 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject to return to the Law Library Volumes I and III of the Washington Court
Rules.

Total for 11/16/11:   6


Date: 11/17/11
--------------
06:48:00 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following items:
      One unstamped standard sized envelope addressed to the Skagit Valley
Herald, marked "legal mail".

This item was returned to the subject for postage as it does not qualify as
legal mail for postage to be paid by the County.

      One unstamped standard sized envelope addressed to Kamore, Delgado,
Romanik and Rawlins of Daytona Beach, Florida, marked "legal mail".

This item was placed in the appropriate location for outgoing mail.

06:54:39 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from the Law Library for the subject the Courtroom Handbook on
Washington Evidence 5D. This book is due back to the Law Library on 11-18-11. A
scheduled event will be entered for this.

10:12:30 MCDONALD J      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
APPEARED IN SWMC ON SC13146 NEXT DATE IS 11/23/11.


08/03/12                      SKAGIT COUNTY JAIL                              217
11:54      Jail Events Summary Report, By Date, Time With Comments    Page:   129

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
16:00:00 KELLEY L        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
ON 11-14-01100-2 / 11-1-00772-2
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18:16:27 HINES T         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Inmate Spangler asked me if he could make a legal phone call. I told him
I would and asked him the number. He gave me the name Micca Calvin with a number
of 360-941-8526. I had concerns if I could call this person So I asked LO
Storie. She said that legal calls are to be made only to his legal team ( stand
by counsel and private investigator).
      I asked inmate Spangler if this person was part of his legal team. He
said that she was. He said that she is looking into things for him. I asked him
if she was a licensed private investigator. He said that she was not, that
she was helping him. I told him per LO Storie that I could not place the phone
call. He asked me who the LO was and I told him.
      When Deputy Kelly took over as LO he asked me if I would ask her about
making the phone call. I did as asked and was told the same thing as before. I
relayed this information back to inmate Spangler.




FOLLOW-UP ACTION TAKEN:




REMARKS:

18:29:56 HINES T          JAIL INCIDENT REPORT   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   130

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Deputy Warner was bringing inmate Lederle back from an attorney visit. I
asked inmate Spangler to lock down. I could see he was at the top of the stairs
with the mop bucket and his mattress. He did not lock down. I told him again to
lock down. He refused. Inmate Lederle was placed into the rec yard for security.
Additional officers were called.
      Deputy Warner asked inmate Spangler to lock down several times. Each
time he refused. Deputy Warner requested the taser and was given to him. Deputy
Warner along with deputies Butcher, Block, and Freeburn entered C pod. As they
did inmate Spangler threw the soppy mop water down the stairs and onto the
floor. The deputies went up the stairs where inmate Spangler confronted the
deputies. He was taken to the ground and then carried to his room. He was
secured in his room and the deputies exited the pod.

      While listening into C-1 to see if inmate Spangler was flooding I heard
him say (anytime a cop comes to get me I am going to Tee OFF on him). He said
that he was not going to flood that he is just goping to TEE OFF on the officer.
 Inmate Lederle said that he agrees with inmate Spanglers actions.
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supplemental report:M Warner U112: I was bringing Lederle NM#84650 back to Cpod
from an attorney visit. I put Lederle into the north rec area. Spangler
NM#220164 was standing at the top of the stairs with the mop bucket by his feet,
and his mattress against the railing. I noticed that the was soap and cleaner
foam all over the stairs. I told Spangler to lock down and he refused. I gave
him several more orders. North Control advised that Spangler was not locking
down. I called LO Kelley and was given permission to get the TASER. Deputies
Butcher, Block, and Freeburn all came to assist. I had North Control open C-pod
and as soon as I started up the stairs Spangler dumped the mop bucket down the
stairs. Spangler then grabbed the mattress and held it in fron of him as I had
the TASER. Deputy Butcher went ahead of me on the stairs and grabbed Spangler
and the mattress and put him on the ground. Spangler was taken to his cell and
placed on the floor. The law books were removed and Spangler was left in his
cell. Spangler had this planned out and was his intention to cause us harm by
slipping on the stairs or get hit by the mop bucket.




FOLLOW-UP ACTION TAKEN:




REMARKS:


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   131

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
20:34:10 WARNER M        USE OF FORCE             0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   132

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
(X )UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
(X ) BECAME VIOLENT AND/OR ASSAULTIVE WITH(X )STAFF( )OTHER INMATE(S)
(X ) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
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(X   )   ENFORCEMENT OF JAIL RULES              ( X)FORCED MOVEMENT
(    )   REMOVE UNAUTHORIZED CLOTHING           ( )DRUGS/ALCOHOL
(    )   MENTAL PROBLEMS                        ( )ATTEMPTED ESCAPE
(X   )   OTHER: LOCKDOWN OF INMATE

USE OF RESTRAINTS:NONE
( )     NONE USED
( )     BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:N/A

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )HANDCUFFS            ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:N/A

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:N/A

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
(X )BODILY FORCE       (X )TASER DISPLAYED      ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME: M WARNER
NAME: K BUTCHER
NAME: J FREEBURN
NAME: M BLOCK

LIST INJURIES TO STAFF:NONE


TREATMENT OF INJURIES: (      )HOSPITAL   (   )AID CREW   (X )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: NONE


TREATMENT OF INJURIES: (      )HOSPITAL   (   )AID CREW   (X )NOT NEEDED
( )REFUSED

NARRATIVE: REFER TO REPORT #893013
M Warner U112: I was bringing Lederle NM#84650 back to Cpod from an attorney

08/03/12                          SKAGIT COUNTY JAIL                               217
11:54          Jail Events Summary Report, By Date, Time With Comments     Page:   133

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
visit. I put Lederle into the north rec area. Spangler NM#220164 was standing at
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the top of the stairs with the mop bucket by his feet, and his mattress against
the railing. I noticed that the was soap and cleaner foam all over the stairs. I
told Spangler to lock down and he refused. I gave him several more orders. North
Control advised that Spangler was not locking down. I called LO Kelley and was
given permission to get the TASER. Deputies Butcher, Block, and Freeburn all
came to assist. I had North Control open C-pod and as soon as I started up the
stairs Spangler dumped the mop bucket down the stairs. Spangler then grabbed the
mattress and held it in fron of him as I had the TASER. Deputy Butcher went
ahead of me on the stairs and grabbed Spangler and the mattress and put him on
the ground. Spangler was taken to his cell and placed on the floor. The law
books were removed and Spangler was left in his cell. Spangler had this planned
out and was his intention to cause us harm by slipping on the stairs or get hit
by the mop bucket. This was planned out in advance due to the stairs being
soaped, mop bucket ready to spill, mattress ready to stop the TASER, and
Spangler's positioning himself at the top of the stairs.



REPORTING DEPUTY:M WARNER U112

REVIEWING SUPERVISOR: D. Randall U26

20:53:18 BUTCHER K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   134

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Supplemental report: North Control radioed and said that I/M Spangler was not
locking down and assistance was need at C-Pod. I arrived as Deputy Warner was
calling for the Taser. By the time I was at C-Pod I/M Spangler had put soap on
the stairs and had the mop buck at the top of the stairs with his mattress.
Deputy Freeburn and Deputy Block arrived. Deputy Warner told I/M Spangler to
lock down. I/M Spangler refused stating he wanted to talk to the LO. The pod
door was opened and we entered Deputy Warner going first and I fowled. As the
pod door opened I/M Spangler pushed the mop bucket down the stairs. Deputy
Warner started up the stairs but I passed him as I/M Spangler had put his
sleeping mat in front of him so the taser could not be used. I reached the top
of the stairs and grabbed a hold of I/M Spangler and the mattress. I/M Spangler
let go of his mattress and tried to grab the rail. At that point I placed I/M
Spangler on the ground. I began to drag I/M Spangler towards his cell. At this
time Deputy Freeburn and Deputy Block were at the landing and assisted in the
movement towards his cell. Once there I/M Spangler was placed on his stomach as
Deputy Freeburn and Deputy Block removed the law books and I maintained control
of I/M Spangler while the law books were removed.
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FOLLOW-UP ACTION TAKEN:




REMARKS:

21:09:40 BUTCHER K        USE OF FORCE           0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
( x )UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
( x ) BECAME VIOLENT AND/OR ASSAULTIVE WITH( x )STAFF( )OTHER INMATE(S)
( x ) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
( x ) ENFORCEMENT OF JAIL RULES            (x )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
( x )    NONE USED
( )     BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:N/A

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )HANDCUFFS            ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( x )BODILY FORCE       ( x )TASER DISPLAYED      ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME:Deputy Butcher
NAME:Deputy Warner
NAME:Deputy Block
NAME:Deputy Freeburn
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LIST INJURIES TO STAFF:None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW    (   )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE:None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW    (   )NOT NEEDED
( )REFUSED

NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF
FORCE) North Control radioed and said that I/M Spangler was not

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
locking down and assistance was need at C-Pod. I arrived as Deputy Warner was
calling for the Taser. By the time I was at C-Pod I/M Spangler had put soap on
the stairs and had the mop buck at the top of the stairs with his mattress.
Deputy Freeburn and Deputy Block arrived. Deputy Warner told I/M Spangler to
lock down. I/M Spangler refused stating he wanted to talk to the LO. The pod
door was opened and we entered Deputy Warner going first and I followed. As the
pod door opened I/M Spangler pushed the mop bucket down the stairs. Deputy
Warner started up the stairs but I passed him as I/M Spangler had put his
sleeping mat in front of him so the taser could not be used. I reached the top
of the stairs and grabbed a hold of I/M Spangler and the mattress. I/M Spangler
let go of his mattress and tried to grab the rail. At that point I placed I/M
Spangler on the ground. I began to drag I/M Spangler towards his cell. At this
time Deputy Freeburn and Deputy Block were at the landing and assisted in the
movement towards his cell. Once there I/M Spangler was placed on his stomach as
Deputy Freeburn and Deputy Block removed the law books and I maintained control
of I/M Spangler while the law books were removed.



REPORTING DEPUTY:K BUTCHER U138

REVIEWING SUPERVISOR: D. Randall U26

21:12:23 BUTCHER K         INMATE DISCIPLINARY PR      0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                  217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:11-17-11   1800 hrs
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RULE VIOLATION:Minor 6-Refusing to obey a lawful order of any staff member or
failing to perform work as instructed by staff when capable of doing it.
Minor 17-Refusing or delaying lockdown orders.
Major 18-Rioting or encouraging riot or demonstration. (Flooding individual
rooms or cell pods is considered rioting or encouraging.)

DETAILS OF INCIDENT:North Control radioed and said that I/M Spangler was not
locking down and assistance was need at C-Pod. I arrived as Deputy Warner was
calling for the Taser. By the time I was at C-Pod I/M Spangler had put soap on
the stairs and had the mop buck at the top of the stairs with his mattress.
Deputy Freeburn and Deputy Block arrived. Deputy Warner told I/M Spangler to
lock down. I/M Spangler refused stating he wanted to talk to the LO. The pod
door was opened and we entered Deputy Warner going first and I followed. As the
pod door opened I/M Spangler pushed the mop bucket down the stairs. Deputy
Warner started up the stairs but I passed him as I/M Spangler had put his
sleeping mat in front of him so the taser could not be used. I reached the top
of the stairs and grabbed a hold of I/M Spangler and the mattress. I/M Spangler
let go of his mattress and tried to grab the rail. At that point I placed I/M
Spangler on the ground. I began to drag I/M Spangler towards his cell. At this
time Deputy Freeburn and Deputy Block were at the landing and assisted in the
movement towards his cell. Once there I/M Spangler was placed on his stomach as
Deputy Freeburn and Deputy Block removed the law books and I maintained control
of I/M Spangler while the law books were removed.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION:Due to the dangerous condition made by the inmate 20 days
D-Seg ending 12-07-11 at 1800 hrs.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 11/17/11: 10


Date: 11/18/11
--------------
07:05:57 TREVINO L         NORTH END RECREATION        0.00 SPANGLER, BRYCE L
hour out

07:10:03 TREVINO L       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call to Meeka (360) 941-8526 - transferred in / went to VM.
Fri Nov 18 07:37:22 PST 2011: connected call - transferred in.

11:33:50 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Fri Nov 18 11:35:08 PST 2011
      1 small envelope out to Shameka Reanne Colvin
            (witness in my case, investigator, finder)

      1 9x12 envelope in from the Skagit County Sheriff's Office.

13:24:52 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject is to return the Courtroom Handbook on Washington Evidence.

15:12:55 RANDALL D          SHUTTLE RELEASE          0.00 SPANGLER, BRYCE L
Released from record       180417, location SCJ -SCJ1-N   -C   -1

Total for 11/18/11:    5


Date: 01/10/12
--------------
03:13:09 KELLEY L        FELONY WARRANT BOOKING        0.00 SPANGLER, BRYCE L
Arrived at jail 01:30:00 01/10/12

03:13:09 KELLEY L        INMATE CELL CHANGE            0.00 SPANGLER, BRYCE L
Assigned to location `SCJ -SCJ1-N   -B   -9B      '.

09:28:47 TREVINO L       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
Tue Jan 10 09:26:19 PST 2012: righted by Judge Savern on 11-1-01100-2, bm bail
$10,000.00, cont to 01-212-12 0900. 11-1-00772-2 bm bail $15,000.00, cont to
01-12-12 0900. mc25052 / iz394626 - pr'd and cont to 01-17-12 0930. buc14363
pr'd and cont to 01-18-12 0930. sc13146 - pr'd and cont to 01-19-12 0830 - not
held on. lft
RIGHTS

21:00:50 RUDDELL L         JAIL INCIDENT REPORT        0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
North Control advised that I/M Smallwood, Richard pushed the button and stated
he needed to probably move to avoid problems with another inmate. I responded to
talk to Smallwood. Smallwood stated that I/M Spangler, Bryce who is housed next
to him stated that there could be problems with the both of them being in the
same pod. I asked Smallwood why? Smallwood said the only reason he could think
of is that he "messed with Spanglers girlfriend on the outside." Smallwood was
moved to E6 to avoid any problems.


FOLLOW-UP ACTION TAKEN: Smallwood moved to E 6.

Total for 01/10/12:   4


Date: 01/11/12
--------------
12:12:37 DILLAMAN K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I walked in I/M Spangler trying to take apart the temperature gauge on the
visitor side of visition. Subject was in there seeing his attorney. Subject
is not allowed in on that side for anything per Sgt. Parker.



FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 01/11/12:   1


Date: 01/12/12
--------------
11:45:06 LIEKHUS F       INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -B   -9B ' to `SCJ -SCJ1-N   -BF -10 '.

15:39:00 ONEILL J         JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                              217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Subject came back up from Superior Court and we were advised that the subject
was allowed Pro Se status on one of his charges. He was placed in an interview
room at booking while a room was opened up in C-Pod to house him in. Subject
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began throwing a tantrum in the room, slamming the chairs and table around and
saying that he did not want to be Pro Se, did not want to be moved and wanted to
be permitted to stay in the pod where he had been housed, B-Pod. Subject's
stand-by Counsel Paula Plummer was here and spoke with the subject through the
glass, advising him that if he wished to recind his request to be Pro Se, that
he needed to send something to the Court in writing stating such and that the
Court would then have to approve releasing his Pro Se status. She also advised
the subject that his behavior would negatively impact any view the Court might
have on future requests for Drug Court, etcetera. When staff was available,
subject was moved to C-1.

FOLLOW-UP ACTION TAKEN: See also Incident #900455, regarding possible contraband
that was reportedly brought in by subject.

REMARKS:

15:40:34 ZORN J          INMATE CELL CHANGE     0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -BF -10 ' to `SCJ -SCJ1-N   -C   -1   '.

16:21:00 ZORN J          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
11-1-00772-2 CONT TO 2/2/12
11-1-01100-2 CONT TO 2/2/12

Total for 01/12/12:   4


Date: 01/13/12
--------------
08:22:06 STORIE P        INMATE PRO SE            0.00 SPANGLER, BRYCE L
PRO SE PHONE CALL TO SHAWN 202-3683

Total for 01/13/12:   1


Date: 01/14/12
--------------
17:00:42 ANDERSEN C       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HR OUT.

17:25:00 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
LEGAL CALL PLACED-360-202-3683-SHAWN/ ANSWERED & TRANSFERED IN.

Total for 01/14/12:   2



08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/15/12
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--------------
06:41:54 SCHRADER B      INMATE PRO SE           0.00 SPANGLER, BRYCE L
REQUEST SENT TO LAW LIBRARY

09:03:10 CALLAHAN N       INMATE PRO SE          0.00 SPANGLER, BRYCE L
out pro se

12:08:09 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
PHONE CALLED TRANSFERRED AND HE RECEIVED. NUMBER 202-3683 FOR SHAWN

13:10:00 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
MADE PHONE CALL TO 202-3683,SHAWN AND IT WENT THROUGH AND SUBJECT RECEIVED IT

13:51:51 SCHRADER B       INMATE PRO SE          0.00 SPANGLER, BRYCE L
REQUEST SENT TO OAC

Total for 01/15/12:   5


Date: 01/16/12
--------------
09:00:00 KAMMERER I       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
PRO-SE TIME OUT

09:12:17 KAMMERER I      INMATE PRO SE           0.00 SPANGLER, BRYCE L
LRGAL CALL TO 202-3683 NO ANSWER
LEGAL CALL TO 840-8939 NO ANSWER

11:10:08 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 unstamped envelope marked legal mail and addressed to Alisha & Kaylee placed
in the outgoing mail box.

12:12:41 KAMMERER I      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
On 1/16/12 around 1210 hours I/M Spangler, Bryce (NN#220164) pushed his cell
button C-1, and asked if he could come out of his room. I told him I would let
him out as soon as count cleared. Spangler stated, "come on let me out now." I
told Spangler he needed to be patient or he'd be the last Pro-Se inmate I let
out. Spangler started laughing, and started saying something I couldn't
understand. I asked him if he was OK, and he said, "you know that heroin I
brought up my ass, I just ran out and I need Suboxone." I asked Spangler to
repeat himself, and he stated, "I need Suboxone cause I ran out of the heroin I
brought in." See report 900455 referring to Spangler bringing in contraband.
IMK

FOLLOW-UP ACTION TAKEN:

REMARKS:

Total for 01/16/12:   4
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/17/12
--------------
17:07:06 ANDERSEN C      NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hr out

17:26:27 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call placed to 360-202-3683 to Shawn, No Answer.

17:30:31 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call placed to 360-202-3683 to Shawn, No Answer.

18:06:44 HANNAHAN D      INMATE PRO SE            0.00 SPANGLER, BRYCE L
360.722.1636 for Scott or Dana; no answer, voicemail full. -DMH

19:11:12 RUDDELL L       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
SEEN ON BUC14628 CONTIUNED TO 1/25/12.

19:35:36 RUDDELL L       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I/M Spangler, Bryce came up to read his discovery and when he was done I patted
him down. When I patted Spangler's sock I could feel something in it. I asked
Spangler what he had in there and he stated it was "where he keeps his papers."
I pulled out the paperwork in his sock and Spangler stated "Oh those are mine.
I'm allowed to have that stuff, I'm Prose." I opened up the paperwork and it
looked like pages from his discovery. The paperwork included information on
individuals, personal information such as their social security number, bank
information and stated at the bottom "this is not to be released to any other
agency or individuals for any purpose." I told Spangler these papers are from
his discovery and Spangler said "So I was hoping I wouldn't get searched cuz I
don't always. I should be able to have that stuff, I'm Prose." Deputy Warner
came over to look at the papers and stated that indeed they are from his
discovery. Spangler insisted he should have the information and kept asking not
to be disciplined for it due to he has hot commissary coming this weekend.
Spangler was escorted back to C Pod. Spangler will lose his hot commissary on
Sunday 1/22/12.

20:17:59 RUDDELL L      INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: Tue Jan 17 20:18:22 PST 2012


RULE VIOLATION: 7. Lying to a Staff 4. Possession of anything not authorized
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DETAILS OF INCIDENT: You had paperwork from your discovery in your sock. You
tried to lie about it to staff. You are not authorized to have these items.

DESCRIBE ANY PERSONAL INJURIES: None


LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: None

DESCRIBE ANY PROPERTY DAMAGE: None


DISCIPLINARY SANCTION: Loss of Hot commissary on Sunday 1/22/12.



I ACCEPT THIS SANCTION: YES/NO               I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 01/17/12:   7


Date: 01/18/12
--------------
05:46:54 PARKER R         INMATE DISCIPLINARY PR     0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                   217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                                 NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________
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INMATE'S NAME: Bryce Spangler     , IDENTIFICATION NUMBER: 220164       ,
DECISION SERVED ON INMATE ON (Time and Date):0800 1-18-12
BY:Sgt Parker
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: Possession of unautorized material PLEA:NG     FINDING:NG
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Possession of unautorized material
EVIDENCE: When I starting looking at the disciplinary on Spangler by Deputy
Ruddell I recalled that previously he had been granted Pro Se status by the
Court on Cause# 11-1-01100-2. While researching I found a order by the Court
done on 1-12-12 that stated "Previous conditions remain in effect".I then found
a subsequent order that stated "P. Plummer, Standby" which indicates Spangler is
Pro Se in this case. Therefore I find Mr. Spangler not guilty of the infraction
and am directing staff to deliver the discovery packet to him in his cell as per
Jail Pro Se Policy.
_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: Sanction Overturned
REASON:See above remarks
_____________________________________________________________________

DATE OF DECISION: 1-18-12    HEARING OFFICER: Sgt R. Parker
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
06:37:26 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 unstamped envelope marked legal mail and addressed to Alisha & Kaylee placed
in the outgoing mail box.
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1 unstamped envelope marked legal mail and addressed to Kellie Dolan (?) placed
in the outgoing mail box.

09:02:43 FADDIS D          INMATE PRO SE         0.00 SPANGLER, BRYCE L
Pro Se time out.

12:13:23 COUCH J         INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLED 202-3683 FOR SHAWN OR KATY. NO ANSWER

12:22:44 COUCH J         INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLED202-3683 FOR SHAWN. NO ANSWER

12:23:54 COUCH J         INMATE PRO SE           0.00 SPANGLER, BRYCE L
360-927-3221 FOR TOMMY NO ANSWER

12:24:28 COUCH J         INMATE PRO SE           0.00 SPANGLER, BRYCE L
333-8290 FOR KELLY NO ANSWER

12:25:43 COUCH J         INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLED 840-8939 NO ANSWER

13:38:55 COUCH J         INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALLED 202-3683 FOR SHAWN NO ANSWER

13:48:34 COUCH J         INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLED 202-3683 CALL WAS CONNECTED

19:09:21 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following items:

      One unstamped standard sized envelope addressed to Allisha and Kaylee of
Sedro Woolley, marked "legal mail".
      One unstamped standard sized envelope addressed to Juan Curly of Mount
Vernon, marked "legal mail".
      One unstamped standard sized envelope addressed to Danna and Josh of
Mount Vernon, marked "legal mail".

All three items were placed in the appropriate location for outgoing mail.

21:23:05 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped standard sized envelope addressed to
"Joey Auriemma mein bruder" of Sedro Woolley, marked "legal mail".

This was placed in the appropriate location for outgoing mail.

Total for 01/18/12:   12



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/19/12
--------------
11:55:32 ZORN J          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
sc13146 cont to 1/26/12

17:00:00 ANDERSEN C       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HR OUT.

17:20:00 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
LEGAL CALL PLACED TO 360-927-3221 TO TOMMY, NO ANSWER AT 17:20:00 SCAN # USED

LEGAL CALL PLACED TO 360-202-3683 TO SHAWN, ANSWERED & TRANSFERRED AT Thu Jan 19
17:22:57 PST 2012

Total for 01/19/12:   3


Date: 01/20/12
--------------
06:25:36 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Unstamped letters marked legal mail sent to:
Kellie Dollan
Shameka Colvin
Allisha and Kaylee

09:00:00 LIEKHUS F        NORTH END RECREATION    0.00 SPANGLER, BRYCE L
pro-se out

09:45:00 LIEKHUS F       INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALLS TO 360-202-3221 TOMMY CONNECTED

19:35:07 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Fri Jan 20 19:35:56 PST 2012
      request to exchange pen/done.

Total for 01/20/12:   4


Date: 01/21/12
--------------
08:31:19 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
2 sheets of carbon paper exchanged.

08:41:09 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Unstamped letter marked "legal mail" sent to:
United States District Court

17:00:11 ANDERSEN C       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
hr out.
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08/03/12                      SKAGIT COUNTY JAIL                               217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
17:13:42 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call placed to Katie @ approx 17:09:00 to 202-3683. No answer

Legal call placed to Kelly @ approx 17:10:00 to 333-8290. Answered- was told
unavailable.

Legal call placed to Katie @ approx 17:12:00 to 202-3683. Answered & transferred
into pod.

Total for 01/21/12:   4


Date: 01/22/12
--------------
09:02:52 HINES T          INMATE PRO SE             0.00 SPANGLER, BRYCE L
HOURS OUT

09:17:56 HINES T         INMATE PRO SE              0.00 SPANGLER, BRYCE L
call placed to 360-202-3683 no answer     message left.

09:54:42 HINES T         INMATE PRO SE            0.00 SPANGLER, BRYCE L
call placed to 360-840-8939 to shamika answered and transfered to inmate
Spangler

11:19:08 HINES T          INMATE PRO SE             0.00 SPANGLER, BRYCE L
ld for lunch

20:45:13 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Sun Jan 22 20:45:51 PST 2012
      1 small envelope out going to Loph & Danna

      1 9x12 envelope out going to Shameka Colvin

      1 9x12 envelope out going to Kaytee Creenwood & A

Total for 01/22/12:   5


Date: 01/23/12
--------------
09:00:00 ANDERSEN C       INMATE PRO SE             0.00 SPANGLER, BRYCE L
0900-1400 time out.

13:49:53 ANDERSEN C      INMATE PRO SE              0.00 SPANGLER, BRYCE L
Legal call to 202-3683/ Katie. No Answer @1340
Legal call to 202-3683/ Katie. No Answer @1341
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Legal call to 333-8290/ Kelly. No Answer @1342
Legal call to 333-8290/ Kelly. No Answer @1343
Legal call to 840-8939/ Mika. Answered and transferred into pod @1347


08/03/12                      SKAGIT COUNTY JAIL                                217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 01/23/12: 2


Date: 01/24/12
--------------
00:00:12 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from the Skagit County Superior Court, one sealed, standard sized
envelope addressed to the subject. This was placed in the North Rover's box for
delivery.

00:03:24 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Suject sent out for mailing one unstamped standard sized envelope addressed to
Kellie M and Daniel G of Mount Vernon, marked "legal mail".

This was placed in the appropriate location of outgoing mail.

14:29:25 HINES T         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While my back was turned unlocking the door inmate Spangler took a
chocolate milk out of the cooler in the vehicale sally. I took it away from him
when I discovered it. He will be locked down for 24 hours for this action
ending 1400 hours on 01-25-12




FOLLOW-UP ACTION TAKEN:




REMARKS:

17:27:37 HANNAHAN D      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
Tue Jan 24 17:27:46 PST 2012
Seen in BMC/ Judge Gilbert/ BUC14363&14628/ Cont to 02.01.12 @0930. -DMH

Total for 01/24/12:   4
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Date: 01/25/12
--------------
07:52:11 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 unstamped enveloped marked legal mail and addressed to "Josh & Dannet
(SP?)placed in the outgoing mail box


08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments      Page:   149

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
14:23:00 ANDERSEN C      NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HR OUT.

14:40:00 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call placed to Katie @ 360-202-3683. Answered and transfered into pod.

20:03:15 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following items:

      One unstamped standard sized envelope addressed to Edwin Norton, marked
"legal mail".
      One unstamped standard sized envelope addressed to Marvis Bets, marked
"legal mail".

All items were placed in the appropriate location for outgoing mail.

23:04:37 ONEILL J        INMATE PRO SE             0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following:

      One unstamped standard sized envelope addressed to Kaytee Greenwood of
Sedro Woolley, marked "legal mail".

Subject also sent out two Inmate Request slips, one addressed to Judge Cook and
one addressed to Edwin Norton prosecutor. Both slips stated that the subject
would take the plea if he could get in by Friday and could be on the bus by
Tuesday.

All items were placed in the appropriate locations for outgoing mail.

Total for 01/25/12:   5


Date: 01/26/12
--------------
11:55:50 ZORN J           INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
sc13146 cont to 2/9/12

15:14:13 JENNINGS K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
INMATE HANDED HIS RED INMATE ISSUED UNIFORMS OUT AFTER LAUNDRY EXCHANGE. WHILE
PLACING THE LAUNDRY IN THE LAUNDRY TUB I NOTICED A DRAWING ON THE PANT LEG WHICH
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MATCHES THE INSIGNIA THAT INMATE SPANGLER WRITES ON HIS LETTERS / KITES. INMATE
SPANGLER WAS TOLD NOT TO BE WRITING ON THE UNIFORMS ANY LONGER. INMATE SPANGLER
WILL BE LOCKED DOWN FOR 24 HOURS. KRJ

Supplemental Report by Sgt O'Neill: See Incident Report #902326 in which
several mattress covers and sandals were also found which had been written on in
ink by the subject.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
17:10:45 SARGENT D       JAIL INC-ALCOHOL/DRUGS   0.00 SPANGLER, BRYCE L
APPROX 1700 INMATE SPANGLER ACTIVATED THE CALL BUTTON OF C-01 AND ASKED FOR HIS
HOUR OUT. I TOLD HIM HE HAD BEEN LOCKED DOWN BY DEPUTY JENNINGS FOR WRITING ON
HIS UNIFORM BEFORE LAUNDRY EXCHANGE. HE SAID HE HAD NOT DONE IT. I TOLD HIM
THE 24 HOUR LOCK DOWN WOULD STAND. I HEARD HIM SAY HE WOULD FLOOD THE CELL. I
TOLD HIM THIS WOULD NOT GET HIM ANYTHING BUT MORE DISCIPLINE AND HE SHOULD
RETHINK IT. HE STATED HE WOULD NOT FLOOD BUT THAT HE WANTED A PRO SE PHONE
CALL. I TOLD HIM I WOULD ASK THE SUPERVISOR. DEPUTY ZORN WAS LEAD OFFICER AND
RELAYED THE INFORMATION TO SGT O'NEILL WHOM STATED HE WOULD NOT COME OUT OF HIS
ROOM FOR PHONE CALLS DURING A LOCK DOWN PROCESS. I RELAYED THIS INFORMATION TO
INMATE SPANGLER AND HE BEGAN TO BECOME UPSET BY TALKING RAPIDLY AND WITH AN
INCREASING VOLUME. I TOLD INMATE SPANGLER TO HANDLE THIS SITUATION BY BEING
CALM AND FOLLOWING REGULAR PROCESS TO DISCUSS HIS QUESTIONS ON THIS DECISION.

HE DID CALM DOWN AND AT THIS TIME HAS NOT MADE ANY NOISE OR ACTIVATED HIS CALL
BUTTON. I HAVE LISTENED TO HIS ROOM SEVERAL TIMES. DEPUTY DIANE LYNN SARGENT
Thu Jan 26 17:22:01 PST 2012

Supplemental Report by Sgt O'Neill: See report #902326, in which several
mattress covers and sandals were found to have been written on in ink by the
subject.

19:06:48 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from Superior Court a returned Inmate Request form that the subject had
sent to Judge Cook advising that he wished to take a plea and asking for the
matter to be heard on Friday. The response indicated that the hearing was set
for Friday, 1-27-12 at 1300 hours for plea.

This was placed in the North Rover's box for delivery.

21:39:09 COUCH J         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 01-26-2012
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RULE VIOLATION: Violation of Sanitary Practices: G. Keep walls clean

DETAILS OF INCIDENT:

While doing a check in C-Pod I noticed that Inmate Spangler had drawn "Mr.
Lonely" on the back wall of his cell. This matches a tattoo that he has on his
neck. I asked Inmate Spangler if he had drawn this and he said yes, and then
said well maybe another time I was in there.

DESCRIBE ANY PERSONAL INJURIES: N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE:

DISCIPLINARY SANCTION: Loss of commissary and visitation for the week of
01/29/2012 - 2/4/2012

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

21:59:37 FREEBURN J      JAIL INCIDENT REPORT      0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:   152

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Thu Jan 26 22:00:08 PST 2012 by Dep Freeburn
I was notified by the Laundry trustee I/m Gerrish that he had a set of sheets
and blanket and a pair of sandals with words written on everything in ink the
blanket, sandals, and sheet were given to Sgt. Oniell and it was determined the
all the writing is the same and that the name Mr. Lonely that is written on the
sheet is in reference to I/m Spangler who has this name tattooed on his body.
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FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 01/26/12:   6


Date: 01/27/12
--------------
07:00:27 KAMMERER I       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT

07:56:23 KAMMERER I      INMATE PRO SE            0.00 SPANGLER, BRYCE L
LEGAL CALL TO 840-8939 X2 NO ANSWER
LEGAL CALL TO 333-8290 NO ANSWER
LEGAL CALL TO 202-3683: A MAN ANSWERED THE PHONE AND AFTER I IDENTIFIED MYSELF
AND ASKED HIM IF HE WANTED TO SPEAK TO SPANGLER, HE STATED IT WAS TOO EARLY, AND
HE DIDN'T WANT TO TALK TO SPANGLER AT THE TIME. THE CALL WAS MADE AT 0700
HOURS. I RELAYED THIS INFORMATION TO SPANGLER, WHO STATED TO CALL IT BACK IN
HALF AN HOUR. I TOLD HIM HE'LL HAVE TO ASK ME IN HALF HOUR AS I WAS NOT KEEPING
TRACK OF TIME FOR HIM. SPANGLER ASKED ME TO DIAL THE NUMBER TWO MORE TIMES, AND
THERE WAS NO ANSWER EITHER TIME. IMK

13:44:33 KAMMERER I      INMATE PRO SE            0.00 SPANGLER, BRYCE L
LEGAL CALL TO 333-8290 TO KELLY. A FEMALE ANSWERED THE PHONE AND AFTER I
IDENTIFIED MYSELF SHE STATED SHE WOULD NOT BE TALKING TO SPANGLER AT THIS TIME
AND SHE HUNG UP THE PHONE.
LEGAL CALL TO 202-3683 NO ANSWER
LEGAL CALL TO 840-8939 NO ANSWER

I TOLD SPANGLER I WOULD NOT BE MAKING ANY MORE PHONE CALLS FOR HIM AS ALL I GOT
WAS VOICEMAIL AND PEOPLE SAYING THEY DID NOT WANT TO TALK TO HIM. IMK

22:03:17 RANDALL D        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________
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INMATE'S NAME: Spangler, Bryce, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date): 1/27/12 2200
BY: Sgt. Randall
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:Sanitary Practices PLEA: NG FINDING: NG
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Sanitary Practices/keep walls clean
EVIDENCE: Subject admitted to drawing on the wall but stated that it was from
the last time he was in the jail. No showing that the room was clean prior to
subject being placed in the room.
_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: Subject was instructed to clean the room and keep it clean. subject
given cleaning supplies to remove the drawing. Sanction not upheld.
REASON:
_____________________________________________________________________

DATE OF DECISION: 1/27/12               HEARING OFFICER: Sgt. Randall
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Total for 01/27/12:   4



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 01/28/12
--------------
12:33:14 SCHRADER B      INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L
INFRACTION REPORT DATE:Sat Jan 28 12:34:51 PST 2012
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RULE VIOLATION:Minor #5 Maliciously mutilating or altering clothing

DETAILS OF INCIDENT:On 1/26/12 a mattress cover, blanket, and a pair of sandals
were discovered to have writing in ink on them. The left sandal had writing it
stating "Protect our race". The right sandal had writing on it stating "Bravery
strength intelligence". The blanket had writing on it stating "NWBB". The
mattress cover had writing on it stating "Mr Lonely forever in love w/Allisha
Barter". Subject is known to use the moniker "Mr. Lonely". Subject is known to
be in a relationship with Allisha Barter. Handwriting comparisons with subject
court paperwork and request forms are an exact match to that of the witting on
the laundry and the sandals. Subject has a pen due to his pro se court status.

DESCRIBE ANY PROPERTY DAMAGE:Writing on a mattress cover, sandals, and blanket.

DISCIPLINARY SANCTION:Loss of pen privilege until 2/5/12.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO

In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________

DEPUTY__________________________________

17:26:25 STORIE P        NORTH END RECREATION      0.00 SPANGLER, BRYCE L
spangler out for his hour out.

17:41:33 STORIE P        INMATE PRO SE             0.00 SPANGLER, BRYCE L
Pro Se Call 840-8939 Meeka. DMR

21:18:35 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Sat Jan 28 21:19:29 PST 2012
      1 small envelope outgoing to Shameka Colvin

Total for 01/28/12:   4


Date: 01/29/12
--------------
13:04:00 DILLAMAN K      INMATE PRO SE             0.00 SPANGLER, BRYCE L
Attempted phone call to 202-3683; no answer


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Time       Officer        Event Type              Qty    Inmate
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13:05:00 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Attempted to transfer phone call; 333-8290-Kelli; she stated for him to call
back later for she was busy.

Total for 01/29/12:   2


Date: 01/30/12
--------------
09:00:00 SARGENT D        INMATE PRO SE            0.00 SPANGLER, BRYCE L
PRO SE TIME OUT

20:43:25 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received in incoming mail one 9X12 envelope from the Clerk, US District Court.

This was placed in the North Rover's box for delivery.

Total for 01/30/12:   2


Date: 01/31/12
--------------
12:08:43 HANNAHAN D       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
1205-1305

12:18:52 HANNAHAN D      INMATE PRO SE             0.00 SPANGLER, BRYCE L
840.8939 micha- connected

16:25:20 ZORN J           INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
BUC14628 CONT TO 2/7/12

16:45:00 HANNAHAN D       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
While observing dinner service from North Control, yelling & banging could be
heard coming from Cpod. Due to its excess & being directed at a mentally
unstable inmate, Mingo NN487387, I advised all Cpod inmates via the overhead
speaker to stop or they may lose visiting, commissary, or more. The yelling &
banging then escalated & I could see doors rattling. I went room-by-room via
the intercoms & could hear the yelling continuing from C1 (Spangler NN220164),
C2 (Lederle NN84650), C4 (Rylah NN399205) & C8 (Pressley NN3957). These are
single-occupant cells, so there was no discprepancies as to who was causing the
riotous activity. Deputies Andersen & Ruddell responded to Cpod. Two trays hit
the floor. Deputy Ruddell verified the trays belonged to Spangler & Pressley.
There was still yelling when I left on break at 1710. It had calmed down upon my
return at 1740. -DMH
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FOLLOW-UP ACTION TAKEN:
Disciplinaries to follow.
As I am N Control & would not be serving the IRDs, I spoke w each subject via
the speaker to discuss Rule Violation & the sanction it yielded. Subject had a
calm conversation & was apologetic. -DMH

REMARKS:
All participants have numerous incidents on the current booking.
Subject appeared genuinely remorseful when he learned he almost hit Dep Ruddell
w his tray. He apologized for the whole incident, and seemed to understand
consequences of unintentional actions. -DMH

18:30:56 HANNAHAN D      INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:
Tue Jan 31 18:31:50 PST 2012

RULE VIOLATION:
Major 18. Rioting or encouraging riot or demonstration
Minor 6. Refusing to obey a lawful order of any staff member when capable of
          doing it.

DETAILS OF INCIDENT:
While observing dinner service from North Control, yelling & banging could be
heard coming from Cpod. Due to its excess I directed all Cpod inmates via the
overhead speaker to stop or they would lose visiting, commissary or more. The
yelling & banging then escalated & I could see the C1 door rattling. I went
room-by-room via the intercoms & could hear the yelling continuing from C1
(Spangler NN220164), This is a single-occupant cell, so there was no
discprepancies as to who was causing the riotous activity. Deputies Andersen &
Ruddell responded to Cpod. I witnessed Dep Ruddell lean backward as something
passed by her head. I heard a tray hit the floor & Dep Ruddell say "that was
lucky". Dep Ruddell verified the tray that nearly hit her belonged to Spangler.
There was still yelling when I left on break at 1710. It had calmed down upon my
return at 1740.

DISCIPLINARY SANCTION: 5 days D-Seg to start WED 02.01.2012 @0600 & end SUN
02.05.2012 @2200; to include loss of visiting on FRI 02.03.2012 & Hot Commissary
on SUN 02.05.2012

Subject has been listed in numerous incidents on this booking; including
destruction of county property x2, lying, disrespect to staff, disobeying direct
orders, and riotous activity (throwing chairs/table in GRY3). It is past
practice of this facility to view yelling & rattling doors as rioting,
especially when in unison with others (C2, C4, C8). It is a Major infraction;
five days D-Seg is a low-end range for a Major infraction. This is because he
did not flood nor cover his window. Five days is including progressive
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discipline is a fair sanction.

Subject was also counceled, by me, on his near assault of a Deputy. It was not
intentional, but he was made aware that it would not matter, had Dep Ruddell
been struck in the head or face w a food tray. Subject did apologize for that.
-DMH

Follow Up Action: Wed Feb 01 06:29:45 PST 2012 Copy of report forwarded to CCD
Wend with recommendation to consider Charging Prison Riot under Rcw
9.94.010..Sgt Parker




I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO


      In agreeing to his discipline, I understand that I am waiving my right

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 01/31/12:   5


Date: 02/01/12
--------------
07:05:00 DILLAMAN K       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
OUT FOR HIS 1 HOUR

07:15:00 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
The following phone calls was attempted-non went through

  202-3683 tried 3 times
  360-7221636 tried 2 times
  333-8290 tried 3 times
  425-351-2315 tried 1 time
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  859-361-8579 tried 1 time
  428-3988 tried 1 time

11:52:34 PARKER R        INMATE SPECIAL PRIVILE   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: BRYCE SPANGLER      , IDENTIFICATION NUMBER:220164        ,
DECISION SERVED ON INMATE ON (Time and Date): 2-1-12 1230
BY: R PARKER
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: MAJOR 18         PLEA: NG            FINDING: NG

RULE: MINOR 6          PLEA: NG          FINDING: NG
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Major 18 & Minor 6
EVIDENCE: In looking into this action It immediately was apparent that timely
service of the disciplinary was not done. Also the information in the report is
lacking an important fact that precipitated the inmates behavior
________________________________________________________________________________
_____________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: NOT UPHELD



_____________________________________________________________________

DATE OF DECISION: 2-1-12         HEARING OFFICER:SGT R. PAKRER
_______________________________________________________________________
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You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   160

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
13:15:00 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
The following phone was attempted for I/M

    202-3683 3 different times just voice mail
    333-8290 3 different times just voice mail

18:09:20 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing an unstamped standard sized envelope addressed to
another SCSO Jail inmate "Daniel Gilbert E-Pod", marked "legal mail". This
letter was forwarded for review as Inmate to Inmate Correspondence is not
permitted by policy.

22:58:43 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped 9X12 envelope addressed to Laurie
Huey of Sedro Woolley, marked "legal mail". This was placed in the appropriate
location for outgoing mail.

Total for 02/01/12:   6


Date: 02/02/12
--------------
17:00:00 HOLMSTROM N     NORTH END RECREATION     0.00 SPANGLER, BRYCE L
Hour out from 1700-1800 hours.

17:44:08 HOLMSTROM N     INMATE PRO SE            0.00 SPANGLER, BRYCE L
Phone call placed to Katie at 360-202-3683 and transferred to Spangler in C pod.

18:31:21 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject had sent out earlier, one unstamped standard sized envelope addressed to
Daniel Gilbert, an inmate currently housed in E-Pod, but marked as "legal mail".
The Jail does not, by policy permit Inmate to Inmate correspondence. The letter
was originally sent out per standard process but was returned to the Jail today
due to the prohibited Inmate to Inmate correspondence. The item was stamped with
the notation "Skagit County Jail does not accept Inmate to Inmate Correspondence
Return to Sender" and returned to the subject.

19:47:46 WARNER M        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
appeared swmc/sc13146/case dismissed
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Total for 02/02/12:   4


Date: 02/03/12
--------------
06:33:30 SCHRADER B      INMATE PRO SE           0.00 SPANGLER, BRYCE L
LETTERS MARKED "LEGAL MAIL" SENT TO:
KAYLEE GREENWOOD
KELLIE AND DANIEL


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   161

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
09:00:00 LIEKHUS F       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT

10:50:15 LIEKHUS F       INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLS TO 202-3683 HANG UP KATIE
      206-351-1655 NO ANSWER
      859-806-5394 NO ANSWER
      333-8290 NO ANSWER KELLY
      941-7117 NO ANSWER CHINO

15:30:12 BEISLER P     INMATE COURT APPEARANC 0.00 SPANGLER, BRYCE L
11-1-01100-2 / Continued to 2-15-2012 / Judge Cook

Total for 02/03/12:   4


Date: 02/04/12
--------------
08:50:00 HOLMSTROM N     INMATE PRO SE           0.00 SPANGLER, BRYCE L
"Legal" phone calls placed:

0850- To Mike at 859-806-6349 and transferred to Inmate in C pod.

0920- 360-202-3683, no answer.

0922- 360-840-8939, no answer.

11:45:22 SCHRADER B      INMATE PRO SE           0.00 SPANGLER, BRYCE L
REQUEST SENT TO PROSECUTOR'S OFFICE.

17:05:37 HANNAHAN D       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
1710-1810

17:18:26 HANNAHAN D      INMATE PRO SE           0.00 SPANGLER, BRYCE L
202.3683 for Katie, no answer
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333.8290 for   Kelly, no answer
360.722.1636   for Josh, no answer
202.3683 for   Katie, no answer
840.8939 for   Mika, connected
202.3683 for   Katie, no answer

Total for 02/04/12:    4


Date: 02/05/12
--------------
09:00:00 CALLAHAN N        INMATE PRO SE         0.00 SPANGLER, BRYCE L


08/03/12                      SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
09:53:22 CALLAHAN N      INMATE PRO SE            0.00 SPANGLER, BRYCE L
from 0900 to 0950 called 202-3683 for sean or katy, twice, 333-8290, kelly and
941-7117 for chico. all the calls were not answered, not transferred and I did
not leave a voice message.

20:53:53 ANDERSEN C      NORTH END RECREATION     0.00 SPANGLER, BRYCE L
placed in library. This will be I/M Spangler's library day for the week.

Total for 02/05/12:    3


Date: 02/06/12
--------------
09:00:00 HOLMSTROM N     INMATE PRO SE           0.00 SPANGLER, BRYCE L
Time out of cell from 0900-1400 hours.

09:22:00 HOLMSTROM N     INMATE PRO SE           0.00 SPANGLER, BRYCE L
Pro Se "Legal" phone calls:

0922- 360-202-3683, no answer.

0924- 360-941-7117 Tina, no answer.

0925- 360-333-8290, no answer.

12:19:37 HANNAHAN D      INMATE PRO SE           0.00 SPANGLER, BRYCE L
202.3683 for Katie, no answer
360 3338290 ringing-transferred
360 3338290 ringing -transferred
360 9417117 answer machine not trasferred
360 8533056 ringing 12 times no answer.
360 6101220 no answer
202.3683 for Katie, no answer
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853.3065 for Sarah, no answer
840.8939 for Mika, connected

Total for 02/06/12:    3


Date: 02/07/12
--------------
13:55:00 HOLMSTROM N     INMATE PRO SE             0.00 SPANGLER, BRYCE L
"Legal" phone calls placed:

1355- 360-428-1443 Richard Burton (DOC), call transferred to C pod.

1405- 360-840-8939, no answer.

1407- 360-630-1375, no answer.

1410- 360-202-3683, no answer.


08/03/12                        SKAGIT COUNTY JAIL                             217
11:54        Jail Events Summary Report, By Date, Time With Comments   Page:   163

Time       Officer         Event Type             Qty    Inmate
--------   --------------- ---------------------- ------ -------------------------
17:00:00   HOLMSTROM N     NORTH END RECREATION     0.00 SPANGLER, BRYCE L
Hour out   from 1700-1800 hours.

18:13:39 ZORN J          INMATE PRO SE            0.00 SPANGLER, BRYCE L
Tue, Feb 07, 2012 phonecalls made by Deputy Holmstrom:
360-333-8290, 1730, no answer
360-202-3683, 1732, no answer
360-722-1636, 1732, no answer
360-421-1186, 1734, no answer
360-853-3065, 1735, no answer
360-739-9625, 1755, no answer

Total for 02/07/12:    3


Date: 02/08/12
--------------
05:08:16 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
2 9x12 envelopes marked discovery and 1 regular envelopes marked the same placed
in the North Rovers box for delivery.

05:24:43 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 regular unstamped envlope marked legal mail and addressed to Kaylee Greenwood
placed in the outgoing mail

07:02:53 KELLEY L          NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT
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07:20:47 KELLEY L        INMATE PRO SE            0.00 SPANGLER, BRYCE L
202-6383 NO ANSWER LEFT MESSAGE.
853-3065 NO ANSWER LEFT MESSAGE.

853 6383 NO ANSWER LEFT MESSAGE.

09:02:54 KELLEY L         INMATE PRO SE           0.00 SPANGLER, BRYCE L
OUT

12:16:52 COUCH J         INMATE PRO SE            0.00 SPANGLER, BRYCE L
202-3683 NO ANSWER
333-8290 KELLY SAID CALL BACK LATER

16:15:19 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from Investigator Felix Moran for subject one 9X12 manila envelope
marked "legal mail". This was given to the North Rover for delivery.

16:19:02 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped standard sized envelope addressed to
Felix Moran, marked "legal mail". This was placed in the appropriate location
for outgoing mail.


08/03/12                      SKAGIT COUNTY JAIL                              217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/08/12: 8


Date: 02/09/12
--------------
13:15:18 ZORN J          INMATE PRO SE            0.00 SPANGLER, BRYCE L
Thu Feb 09 13:15:35 PST 2012 840-0099, NO CONNECTION,TRANSFERRED TO LEAVE
MESSAGE.
Thu Feb 09 13:18:35 PST 2012 202-3683, NO ANSWER

17:00:00 HOLMSTROM N     NORTH END RECREATION     0.00 SPANGLER, BRYCE L
Hour out from 1700-1800 hours.

17:20:00 HOLMSTROM N     INMATE PRO SE            0.00 SPANGLER, BRYCE L
"Legal" phone calls placed:

1720- 360-202-3683, no answer.

1723- 360-853-3065, no answer.

1727- 360-941-7117, no answer.

Total for 02/09/12:   3
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Date: 02/10/12
--------------
13:25:43 LIEKHUS F       INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALL TO 202-3683 CONNECTED

21:25:57 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Fri Feb 10 21:26:34 PST 2012
      out going mail

      1 small envelope out to Kellie Dollan
      1 small envelope out to Cathy John and Danna

Total for 02/10/12:   2


Date: 02/11/12
--------------
17:00:00 LIEKHUS F        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

17:46:58 LIEKHUS F       INMATE PRO SE           0.00 SPANGLER, BRYCE L
CALLS TO 859-806-5394 X3 MESSAGE
      840-8939 MESSAGE
      333-8290 MESSAGE
      360-927-3221 MESSAGE
      853-3065 SARA CONNECTED


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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   165

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
19:48:31 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Sat Feb 11 19:49:08 PST 2012
      1 small envelope out going to Richard A Weyrich

22:24:36 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Sat Feb 11 22:24:56 PST 2012
      1 small envelope out going to Edwin Norton

      1 small envelope out going to Ms Sarah Philipfen

      1 new pen given

Total for 02/11/12:   4


Date: 02/12/12
--------------
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10:42:03 TREVINO   L           INMATE PRO   SE              0.00 SPANGLER, BRYCE L
LEGAL PHONE CALL   -   (350)   853-7996 -   TROY,   LEFT MESSAGE
LEGAL PHONE CALL   -   (350)   610-1879 -   SARA,   TRANSFERRED/NO RESPONSE
LEGAL PHONE CALL   -   (360)   853-3065 -   SARA,   LEFT MESSAGE
LEGAL PHONE CALL   -   (350)   853-3065 -   SARA,   LEFT MESSAGE

Sun Feb 12 11:14:52 PST 2012: FELIX/INVESTIGATOR CALLED IN, OTHER PRO SE ON
PHONE, FELIX WILL CALL BACK AFTER LUNCH, SPANGLER ADVISED.

10:48:16 TREVINO L             NORTH END RECREATION        0.00 SPANGLER, BRYCE L
HOUR OUT BEGAN AT 1010

12:59:42 TREVINO L       INMATE PRO SE            0.00 SPANGLER, BRYCE L
FELIX - INVESTIGATOR CALLED IN AND CALL TRANSFERRED,
Sun Feb 12 13:13:57 PST 2012: LEGAL CALL TO TODD SPANGLER (540)382-7652, LEFT
MESSAGE

14:08:59 JENNINGS K            JAIL INCIDENT REPORT        0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
I received a kite from inmate Lederle stating "there are comments taht will
generate adverce reactions... When you cross lines with words it can cause
retalitory action down the road or right then". I believe inmate Lederle was
referring to a conversation I had with multiple people in the pod while I was
picking up trays about being in jail and not being able to control the
enviornment or the type of people you are in jail with, I also said those who
are looking at prison time are going to have a lot more of those challenges. I
stated that working here Im faced with that issue that I have no control of who
comes here or why. There was no other direct conversation or pointing of
fingers.

After I received the kite from Lederle, I attempted to call into the pod and
speak with him - knowing he was on his pro-se time out and would be able to
retrieve phone calls. When I called into the pod inmate Spangler answered the
phone. I asked for "LEDERLE" he said "Can I tell him who is calling". I stated
Keasha - he then said Lederle is not here and slammed the phone down.

Spanger was locked down for the remainder of the day.
Lederles' kite was placed in his file - with no returned response.




FOLLOW-UP ACTION TAKEN:
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REMARKS:

14:33:51 JENNINGS K     JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type              Qty   Inmate
-------- --------------- ---------------------- ------ -------------------------
I was in F-pod doing a check and subject was on the attorney phone in the pod.
As I walked by I heard her say "I can't talk about it right now, there's a cop
standing here." I thought this was odd since she was on the attorney phone. I
asked North Control and Main Control if either of them had transferred a phone
call into F-pod on the attorney phone. Both said that they had not. I returned
to F-pod and had subject hang up the phone. I then radioed North Control because
I knew the pro-se inmates were out and Pressley, Larry is her husband, to see if
someone was on the phone.I also remembered that there was a report in the past
that stated how other inmates could call from E-pod to F-pod, but could not
remember who the report indicated. Deputy Trevino stated that the attorney phone
had also just been hung up in there as well. Since this was on the Attorney
phones there is no verbal recording available to us.Laird did tell me that she
was talking to an investigator named Valerie Ball and that this person calls
into the pod and talks to inmates all the time. Staff searched for the name
Valerie Bell in Spillman and found no such name.
 Deputies Hines and Jennings continued to research phone calls from there.

Supplemental Report by Deputy Hines: When I heard deputy Beilser talking about
inmate Laird using the attorney phone I pulled up intelmate to see if she had
called some one. I did not see where she was on an active phone call. Deputy
Beisler made her hang the call up. North control advised that an inmate in C pod
hung his call up at the same time. Knowing that inmate Pressley and Laird have a
relationship I checked to see if they called the same number. I did not see
where they had called the same number. I did see where they called two different
numbers at just about the same time.
      I called intelmate and explained the situation to them. The operator
that I spoke to said that our attorney phones are unique to our facility. He
said that he would have a technician look into the problem and get back to us.
      Zac from intelmate called back. I told him that we had figured out how
the inmates are making the calls. After some further discussion it was decided
that intelmate could make the number for the Public Defenders office
(360-336-9405) a non direct number. The inmate can still call the number and it
will not be recorded. However, there has to be some one in the office to answer
the call or it will not go through. This should alleviate the situation. TLH


Supplemental by Deputy Beisler: Inmate Laird was moved to Isolation while staff
investigated what was going on with the phone system.It was figured out by staff
on duty at the time that inmates were at the time able to call the public
defenders office and wait through their weekend/evening message system, and when
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it asked "if you know the extension of the person you wish to speak with enter
it now" were able to dial into another pod. This is able to be done with the
Programs phone line as well and possibly other county extensions with this
option.
 Writing a disciplinary sanction on the inmates that staff know were making the
calls today was discussed. I attempted to get Inmate Laird to tell me who she
was talking to or at least acknowledge that she was communicating with Pressley,
Larry or another inmate through the phone system. She denied any contact with
anyone except the investigator "Valerie Ball", which was unable to be found. It
was decided not to do a disciplinary since there was not enough evidence to
prove who she or Pressley were talking to. At no time did I hear Laird say she
was talking to Pressley or any other inmate.

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-------- --------------- ---------------------- ------ -------------------------


Supplemental: Upon inmates in C-Pod being let back out for the rest of there
'Pro-se' time. Inmate Rich placed a call and told the man that answered "Get a
hold of Tammy and tell her that Pressley got busted for supposably making phone
calls through the public defenders office and calling back in. Just make sure
she knows that". KRJ

Deputy Hines also called and informed that he was able to call and connect from
his cell phone through the programs line and being able to call any extention in
the jail including pods.

17:45:21 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Sun Feb 12 17:46:38 PST 2012
      1 small envelope out going to Todd spangler

Total for 02/12/12:   6


Date: 02/13/12
--------------
16:00:15 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Mon Feb 13 16:00:53 PST 2012
      out going mail

      3 9x12 envelopes of out going mail to Felix Moran

Total for 02/13/12:   1


Date: 02/14/12
--------------
15:35:48 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Tue Feb 14 15:37:29 PST 2012
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      MVMC sent up a stack of discovery for I/M Spangler on MC25052. I called
the court and they stated that I/M Spangler is now Pro Se on his MV case.

17:00:30 COUCH J          NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

17:16:13 WARNER M        INMATE PRO SE            0.00 SPANGLER, BRYCE L
@1720 CALLED 202-3683 NO ANSWER, LEFT MESSAGE.
@1730 CALLED 202-3683 NO ANSWER, LEFT MESSAGE,
@1735 CALLED 333-8290 NO ANSWER, LEFT MESSAGE.
@1740 CALLED 859-806-5394 NO ANSWER
@1745 CALLED 360-927-3221 CONNECTED TO MIKE

19:28:09 ZORN J          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
mc25052 / iz394626 cont to 3/12/12


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/14/12: 4


Date: 02/15/12
--------------
09:00:32 SARGENT D        INMATE PRO SE           0.00 SPANGLER, BRYCE L
PRO SE TIME OUT

11:09:52 SARGENT D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
662 5945219 RICHARD NO ANSWER 360 8533065 TRANSFERRED 2 TIMES.

Total for 02/15/12:   2


Date: 02/16/12
--------------
08:13:38 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing on unstamped standard sized envelope addressed to
Kaytee Greenwood of Sedro Woolley, marked "legal mail".

16:41:52 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Thu Feb 16 16:43:34 PST 2012
      Incoming
      1 9x12 envelope from Felix Moran

      Request returned from Court Clerk

17:11:41 BUTCHER K       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call attempted to 202-3683 voice mail
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Thu Feb 16 17:26:24 PST 2012..attemprd 333-8290     voice mail

Thu Feb 16 17:27:47 PST 2012..853-3065    Sarah Contected

Total for 02/16/12:   3


Date: 02/17/12
--------------
11:04:59 SARGENT D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
360 202 3683 NO ANSWER TRANSFERED TO ANSWER MACHINE
360 333 8290 TRANSFERRED ANSWER MACHINE
662 594 5219 RICHARD TRANSFERRED
662 594 5219 RICHARD TRANSFERED

13:13:04 SARGENT D         INMATE PRO SE             0.00 SPANGLER, BRYCE L
PRO SE CALL 662 594-5219   ANSWER MACHINE SPANGLER DECLINES TO LEAV MESSAGE.
            360 333 8290   KELLY TRANSFERRED
            360 927 3221   MIKE OR TOMMI TRANSFERRED


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/17/12: 2


Date: 02/18/12
--------------
06:29:46 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from the Law Library Volume One-State Washington Court Rules. Notation
on Inmate Request returned with the book says it is due back on 02-21-12. Book
placed in North Rover's Box for delivery.

Also received from the Prosecutor's Office a Drug Court
Questionnaire/Application for subject to fill out and return to the Prosecutor's
Office. This was placed in the North Rover's box for delivery.

Subject sent out an Inmate Request form requesting to be seen by Mental Health.
This was placed in the appropriate location for Mental Health Requests.

Subject sent out an Inmate Request form regarding having constant headaches.
This was forwarded to Medical.

Subject sent out an unstamped standard sized envelope addressed to "Jeanne
Youngquist Admin Building Rm 201", marked "legal mail". This was placed in the
appropriate location for outgoing mail.

Subject also sent out an Inmate Request form asking to speak with Detective
Harris. This was forwarded appropriately.
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18:20:13 STORIE P         INMATE PRO SE          0.00 SPANGLER, BRYCE L
phone calls:

521 pm 202-3863 SHAWN- stated he was out of minutes and to call back in 9 days
662-594-5219 RICHARD - NO ANSWER
529 PM 360-926-8265 UCI -NO ANSWER
540PM 425-244-2727 UCI -NO ANSWER
333-8290 KELLY
540-382-7652 TODD
840-8939 NO ANSWER

Total for 02/18/12:   2


Date: 02/19/12
--------------
14:00:00 LIEKHUS F       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Calls to 662-594-5219 Richard message
      360-722-1636 Josh messge
      360-927-3221 Tomy message
      360-333-3374 disconnected number
      202-4606 message
      360-770-2990 Tyler Connected


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 02/19/12: 1


Date: 02/20/12
--------------
09:40:20 DILLAMAN K      INMATE PRO SE           0.00 SPANGLER, BRYCE L
Numbers called 853-3065 non-complete

09:41:15 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Numbers called 853-3065 non-complete
               840-8939 non-complete

20:04:19 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Mon Feb 20 20:04:33 PST 2012
      request for new pen/given

20:07:38 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Mon Feb 20 20:08:08 PST 2012
      out going mail
            1 small envelope to Att. Lara Fredlund
            1 small envelope to Kellie M. Dollan
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            1 small envelope to Taumi and Mike

21:54:47 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Mon Feb 20 21:55:10 PST 2012
      1 9x12 envelope out going to Kaytee Greenwood.

Total for 02/20/12:   5


Date: 02/21/12
--------------
09:37:56 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
request faxed to law Library

16:59:21 HANNAHAN D       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
1700-1800

17:00:13 HANNAHAN D      INMATE PRO SE            0.00 SPANGLER, BRYCE L
1725 360-927-3221 no answer call palced by U112
1730 662-594-5219 connected call placed by U112
662.594.5219 for Richard, connected

Total for 02/21/12:   3


Date: 02/22/12
--------------
05:16:21 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Unstamped leter marked "Legal Mail" delivered to:
"Cathy, Losh, & Danna"


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   172

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
10:00:00 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALL PLACED TO 360-722-1636 TO JOSH @ 0901 . NO ANSWER, I/M LEFT MESSAGE SCAN #
USED.

CALL PLACED TO SAME AS ABOVE @ 1012. NO ANSWER.

CALL PLACED TO 428-3988 TO PAULA PLUMMER @ 1300. NO ANSWER

CALL PLACED TO 333-8290 TO DANIEL/KELLY @ 1301. ANSWERED & TRANSFERRED.

10:34:45 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Unstamped letter marked "Legal Mail" sent to:
"Paula Plumer"

20:25:23 RANDALL D        INMATE PRO SE           0.00 SPANGLER, BRYCE L
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Wed Feb 22 20:26:06 PST 2012
      Out going mail
            1 small envelope to Kaytee Greenwood.

         in coming
               stack of documents from Skagit Co. Clerk/receipt of pladings
filed.
         1. Defendant's motion to dismiss charges under 11-2-01122-7
         2. Motion to Appoint Second Seat/every case
         3. Document titled :non-Negotiable Contract-Affidavit of Truth"

Total for 02/22/12:    4


Date: 02/23/12
--------------
07:41:18 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped 9X12 manila envelope addressed to
Kellie M. Dollah & Daniel of Bennett Road, Mount Vernon, marked "legal mail".

This was placed in the appropriate location for outgoing mail.

11:00:00 BEISLER P         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                         SKAGIT COUNTY JAIL                             217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:2-23-2012

RULE VIOLATION:
Minor #1 Fighting with or threatenig any individual with bodily harm (Deputy
Jennings and Deputy Beisler)
Major #13 Tampering with a locking device

DETAILS OF INCIDENT:Subject placed several books in his doorway in a way that
the door could not be closed. Myself and Deputy Jennings went to C-1 to remove
the books from the door way. Subject attempted to pull the door open while
attempting to get the books. Subject stood and stepped towards staff so I used
an open hand to move subject out of the doorway and clear so the door could be
shut. Subject immediately raised his hands in a fighting stance and told myself
and Deputy Jennings to "Open the door and I'll kick both your Bitch asses". He
also said that the next time the door opened He would knock our asses out.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION:5 Days Disciplinary Segregation to start on 3-4-2012 at
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 161 of 243



1100 hours and to end on 3-9-2011 at 1100 hours. This will run consecutive to
Disciplinary #'s 906216 and 906194

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

11:15:00 BEISLER P       JAIL INCIDENT REPORT       0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                                 217
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Spangler entered his room. Spangler placed the books he had got from the
Multiuse in his door way in a fashion that the door could not be closed.
Spangler was advised to remove the books which he did not do. Deputy Jennings
and myself entered C-pod and went to Spanglers room to remove the books from the
doorway. Spangler argued for a moment and when Deputy Jennings attempted to
remove the books from the doorway while pushing the door closed Spangler grabed
the door and attempted to pull it open while reaching for his books. Subject
stood and advanced towards Myself and Deputy Jennings so I extended my arm and
pushed Spangler back into his room with the palm of my hand on his chest area.
Spangler immediately started to advance towards the door again with closed fists
as Deputy Jennings finished closing the door to C-1. Spangler then called both
myself and Deputy Jennings "Bitches" and stated we should open the door so he
could knock both of "Our Bitch asses out".

12:20:01 ANDERSEN C      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
After finishing laundry exchange in C-pod I/M Spangler, Bryce nm#220164 was
escorted back to C-pod by Deputy Jennings and Deputy Beisler. Upon walking into
his cell (C-1) I attempted to shut I/M Spanglers door from my position of North
control and it would not close all
the way as something seemed to be blocking the door from completely closing. I
notified Deputy Jennings that the C-1 door would not close all the way. Deputy
Jennings and Deputy Beisler went up to C-1 to see what the issue was. When
Deputy Jennings and Deputy Beisler arrived upstairs they found books blocking
the door from closing all the way.
      Deputy Jennings removed the books from the door and Deputy Beisler began
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to close the door by hand. Upon seeing the books be confiscated, I/M Spangler
attempted to leave his cell and grab the books from Deputy Jennings. Deputy
Beisler was standing in the door way of C-1 and put his hand up to stop I/M
Spangler from exiting his cell applying very little pressure. Once I/M Spangler
was met with resistence from Deputy Beisler, he became more aggressive and again
attempted to come out of his cell to grab his books from Deputy Jennigns. Deputy
Jennings and Deputy Beisler had to both physically push I/M Spangler back into
his cell and slide the door shut.END OF REPORT.




FOLLOW-UP ACTION TAKEN:




REMARKS:

12:40:00 JENNINGS K       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 02/23/12

RULE VIOLATION: INMATE WAS IN POSSESSION OF TATTOOING DEVICE.

DETAILS OF INCIDENT: WHILE CONDUCTING ROUTINE CELL INSPECTIONS IN C-POD. MYSELF
AND DEPUTY BIESLER FOUND TATTOOING EQUIPMENT IN THE CELL BELONGING TO INMATE
SPANGLER. THERE WAS A SHARPENED PIECE OF METAL STUCK IN THE END OF A PENCIL AND
CONCEALED BY A BANDAID.

DESCRIBE ANY PERSONAL INJURIES: N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: N/A

DESCRIBE ANY PROPERTY DAMAGE: N/A

DISCIPLINARY SANCTION: 5 DAYS D-SEG TO BEGIN 1100 02/23/12 AND END AT 1100 ON
02/28/12. THIS IS PROGRESSIVE DISCIPLINE. INMATE HAS BEEN INVOLVED IN 4
DISCIPLINARY S WHILE IN CUSTODY THIS BOOKING AND 11 INCIDENT REPORTS.

I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO
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      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

13:27:21 BEISLER P       USE OF FORCE            0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
( xx)UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
(xx) BECAME VIOLENT AND/OR ASSAULTIVE WITH( )STAFF( )OTHER INMATE(S)
(xx) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
(xx) ENFORCEMENT OF JAIL RULES            ( )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
(x )    NONE USED
( )     BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )HANDCUFFS            ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
(xz)BODILY FORCE       ( )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)
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LIST STAFF INVOLVED:
NAME:Deputy Jennings
NAME:Deputy Beisler
NAME:
NAME:

LIST INJURIES TO STAFF:None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW    (   )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE:None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW    ( xx)NOT NEEDED
( )REFUSED

NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF
FORCE) Spangler entered his room. Spangler placed the books he had got from the

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Multiuse in his door way in a fashion that the door could not be closed.
Spangler was advised to remove the books which he did not do. Deputy Jennings
and myself entered C-pod and went to Spanglers room to remove the books from the
doorway. Spangler argued for a moment and when Deputy Jennings attempted to
remove the books from the doorway while pushing the door closed Spangler grabed
the door and attempted to pull it open while reaching for his books. Subject
stood and advanced towards Myself and Deputy Jennings so I extended my arm and
pushed Spangler back into his room with the palm of my hand on his chest area.
Spangler immediately started to advance towards the door again with closed fists
as Deputy Jennings finished closing the door to C-1. Spangler then called both
myself and Deputy Jennings "Bitches" and stated we should open the door so he
could knock both of "Our Bitch asses out".




REPORTING DEPUTY:Deputy Beisler

REVIEWING SUPERVISOR:

13:33:39 JENNINGS K        INMATE DISCIPLINARY PR      0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 2/23/12

RULE VIOLATION:

Minor 1. Fighting with any person. Threatening another with bodily harm or with
any offense against his/her person or property.

Major 24. Receiving two or more minor infractions while in custody on any one
commitment.

DETAILS OF INCIDENT: When serving a disciplinary on the above listed subject he
crumbled up the paper and said he would not sign it. I explained to subject that
by not signing it and returning it he was basically admitting to the violation
and that if he wanted a hearing on the matter that he needed to sign it and
return it. While standing outside the door subject called north control using
his in-room intercom saying that he wanted a hearing. As I was walking away
inmate stated that he would "beat me up" and "beat the shit" out of me if the
door was opened. He then continued to challenge me to open the door stating
that he was in possession of extra clothing and I should come get them. Inmate
was involved in 2 other incidents today. One of them where he 'challenged' staff
and threatened staff.


DESCRIBE ANY PERSONAL INJURIES: n/a

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: n/a

DESCRIBE ANY PROPERTY DAMAGE: n/a

DISCIPLINARY SANCTION: 5 additional days D-Seg to begin on 02/28/12 at 1100 and
end on 3/4/12 at 1100. This is inmates 3rd violation today. Inmate shows no
regard to following jail rules and is presenting himself as a danger to staff
and other inmates.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________
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11:54      Jail Events Summary Report, By Date, Time With Comments    Page:    179

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
13:39:31 ANDERSEN C      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
After receiving an infraction from Deputy Jennings earlier today 2-23-12, Inmate
(I/M) Spangler, Bryce nm#220164 started banging on his door loudly and demanding
to see mental health saying "this is bullshit". I came over the speaker in room
C-1 and notified I/M Spangler that banging on his door and demanding things was
not going to get him anything except more lockdown time, I/M Spangler replied
with "go fuck yourself". At this time C-6 occupied by I/M Mclean, Robert
nm#452342 started banging on his door as well. Both I/M Mclean and I/M Spanglers
doors were being hit hard enough that they were showing open on the board in
North Control. I radioed to staff that C-pod was getting pretty wound up and
that someone might want to come back and talk to them if possible.
      Deputy's Parker, Sergent and Beisler came back and went into C-pod. All
three deputies went to C-1 and Deputy Parker attempted to talk to I/M Spangler,
I/M Spangler was very upset saying to Deputy Parker "that fat bitch is stupid, I
hate that bitch and everytime I am around that bitch I get a major infraction. I
am gonna cut that fat bitches throat." Deputy Parker said to I/M Spangler "you
dont want to say something like that". I/M Spangler replied with "listen I know
myself and iv been in the hole long enough and I will do something to that bitch
if I get the opportunity."END OF REPORT

13:40:37 PARKER S        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
North control advised that there was a lot of yelling going on in C-pod. I went
up to Spangler's room to see what was going on. Spangler was upset toward Deputy
Jennings and was complaining about her write up and saying that she told him
that he accepted the sanction due to the fact that he refused to sign the
paperwork. Spangler also told me that he wanted to talk to mental health and I
explained to him that no one would be here until tomorrow. Spangler also went on
about spending a lot of time in the hole by himself and knew himself. Spangler
then told me that he didn't want to be around Jennings and would "Slice that
bitches throat."

FOLLOW-UP ACTION TAKEN:

REMARKS: With the current behavior, all staff should be careful when dealing
with this subject.

14:00:00 BEISLER P        JAIL INCIDENT REPORT      0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
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Time     Officer         Event Type               Qty    Inmate
-------- --------------- ----------------------   ------ -------------------------
I assisted Deputy Dillaman with a search of C-1   which is Spanglers room by
monitoring Spangler as Deputy Dillaman searched   his room. As Deputy Dillaman was
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searching the room I spoke with Spangler about his sudden outburst and how his
behavior had changed dramatically from just an hour prior when I had performed a
strip search on him and spoke with him. He apologized for acting out towards me
in any way but went on to say how much he dislikes Deputy Jennings and that he
would not apologize to that "Bitch". He began to call her many derogatory names
and his demeanor changed from calm to fast paced and using many hand gestures to
express himself.I had to tell him to calm down and have a normal conversation
and to quit using derogatory terms to explain how he felt about Deputy Jennings.
He stated that he does not like Deputy Jenning's repeatedly and that he knows
himself and is capable of causing her harm. Spangler stated that he feels he has
mental issues and cannot control his behavior when it comes to Deputy Jennings
and would not be able to be responsible if something happened to Deputy Jennings
if they were in the same area and he was not locked down.
 During out conversation Spangler made comments in reference to Deputy Jennings
about "Slitting that bitches throat" and "I can't be held responsible for my
actions".

14:30:42 DILLAMAN K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Deputy Jennings informed me that I/M Spangler might be sharping something in
his room but could not tell. I went down and talked to Sgt. Randall and O'Neill
of what was taken place. I went back to the C-pod with Deputies Couch and
Andersen in case subject started being assaultive. When I was talking to subject
he was not being threaten in any form or way. I had North Control to open
subject's door and with Deputy Beilser standing by I searched his room. Nothing
was found but a pencil that was taped together by a Band-Aid to a toothbrush.
There was markings on the pencil that he had taken his fingernail file and was
making groves in it. Talked to subject for about 5 minutes and he stated that he
does not like Deputy Jennings at all.



FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 02/23/12:   11


Date: 02/24/12
--------------
09:57:39 ONEILL J        INMATE PRO SE             0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following item:

      One unstamped standard sized envelope addressed to "Millers Photography"
of Pittsburg, PA, marked "legal mail".

      This was placed in the appropriate location for outgoing legal mail.

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------

Total for 02/24/12:   1


Date: 02/25/12
--------------
07:55:03 ONEILL J         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   182

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Subject had requested a hearing regarding his infractions. Prior to the hearing,
the subject covered his window and began making demands of staff to speak with
another Sergeant. Subject was advised that I was his only option at this point
as there were no other Sergeant's available. Subject uncovered his window and
cuffed up through the port. He was brought up front. I met with the subject and
he wanted to know why he was cuffed up and had to have two staff bring him up. I
advised him that he had made very serious threats towards my staff and that as a
result of his behavior, he was being deemed a two person detail. Subject advised
that he was "totally serious" about the threats. I began discussing the
subject's recent behavior and the sanctions, and he did not deny the possession
of the items found during the search of his cell. Nor did he deny using the
books in his possession to attempt to block the cell door. Subject wanted to
focus on his dislike for Deputy Jennings. Subject began by restating a previous
demand that Deputy Jennings not be permitted to work in the North End where she
would have to "be around" the subject. Subject was advised that he does not get
to decide where staff work and was advised that his threats were not only
unacceptable but that I would be pursuing criminal charges against him with
regards to them. Subject wanted to know if he was going to be permitted an hour
out today and was advised that he would not be getting an hour out as he was on
disciplinary segregation starting the previous day and would be permitted out
for his hour out on Saturday. Subject restated that he was "serious" and
"sincere" with regards to his threats against Deputy Jennings. He began to tell
me that he had already been to prison and could "do time like a savage". He was
advised that if he continued to make threats or in any manner attempted to act
upon his threats that he would find his time out extremely limited and that he
could find himself spending any time out of his cell in waist chains and leg
irons. Subject attempted to tell me that we could not do such a thing and was
advised that we could indeed restrain his movements in such a manner. He was
advised that all of the statements that he was making to me regarding his
seriousness of the threats would be going into the report that would be
forwarded with my request for charges regarding the threats made to staff.
Subject then said that he had just been angry and had "dinged out" but had
already apologized for his behavior to Deputy Beisler. I advised him that
whether or not he had apologized was irrelevant and did not alter the fact that
I would be requesting charges be filed. Subject stated that he was trying to
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work out his release from custody and that new charges would not help that. I
agreed that his behavior did nothing to assist him in his attempts to be
released but also pointed out that if he wished to try and get out that he
should then stay out of trouble and stop violating jail rules and making threats
towards staff. Subject asked if we could just warn him about this behavior this
time and give him a break and he not get into any further trouble. He was
advised that the time for such actions was long since past and that he was fully
culpable for his actions and was going to be held accountable for that behavior.
Subject claimed that Deputy Jennings had baited him and disrespected him and
demanded to know what actions I was going to take with regards to that. I
advised him that I would deal with my staff in my own way and that it was not a
topic of discussion with him whether or not he felt there was an issue. I did
advise him that I would make an attempt to find out if that were actually true,
which I later did. I asked the subject if there was anything else and if my
position was clear enough for him. He stated that it was fine and he understood.
He was returned to his cell by staff.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
I later asked staff about subject's allegations of being baited by name calling
and jeers though the door. Deputy Jennings and the other staff that were present
at the time of the subject's actions agreed that Deputy Jennings did not
antagonize the subject by name calling and the only comment made to the subject
by Deputy Jennings was to comment that he had waited until he was secured behind
a locked door before yelling his threats to staff.

I will be upholding the disciplinary sanctions and will also be recommending
that the subject be placed on Administrative Segregation upon completion of his
Disciplinary Segregation time.

FOLLOW-UP ACTION TAKEN:

REMARKS:

08:46:27 ONEILL J         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
NOTICE OF
                      DISCIPLINARY HEARING DECISION

INMATE'S NAME: BRYCE L. SPANGLER, IDENTIFICATION NUMBER: #220164,
DECISION SERVED ON INMATE ON: 02-25-12 AT 0900 HOURS BY SGT O'NEILL.
(HEARING CONDUCTED ON 02-24-12)
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PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: POSSESSION OF TATTOOING DEVICE RE:INCIDENT #906194
              PLEA: NG         FINDING: G

RULE: THREATENING ANOTHER WITH BODILY HARM RE:INCIDENT #906214
                PLEA: NG         FINDING: G

RULE: TAMPERING WITH A LOCKING DEVICE RE: INCIDENT #906124
                PLEA: NG         FINDING: G

RULE: THREATENING ANOTHER WITH BODILY HARM RE: INCIDENT #906216
            PLEA: NG         FINDING: G

RULE: TWO OR MORE INFRACTIONS WHILE IN CUSTODY UNDER ANY ONE COMMITMENT OR
BOOKING. RE: INCIDENT #906216.

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:

RULE: POSSESSION OF TATTOOING DEVICE    RE:906194
EVIDENCE: SUBJECT WAS FOUND IN POSSESSION OF A TATTOOING DEVICE MADE FROM A
SHARPENED PIECE OF METAL IN THE END OF A PENCIL WRAPPED WITH A BANDAID.

RULE: THREATENING ANOTHER WITH BODILY HARM RE: INCIDENT #906214
EVIDENCE: SUBJECT OPENLY ADMITTED TO HAVING MADE THREATS TOWARDS BOTH DEPUTY
BEISLER AND DEPUTY JENNINGS. SUBJECT STATED THAT HE HAD APOLOGIZED TO DEPUTY
BEISLER BUT REPEATED THAT HIS THREATS DIRECTED AT DEPUTY JENNINGS WERE SINCERE
IN NATURE.

RULE: TAMPERING WITH A LOCKING DEVICE      RE: INCIDENT #906124
EVIDENCE: SUBJECT BLOCKED THE CELL DOOR FROM CLOSING WITH SEVERAL BOOKS AS
WITNESSED BY SEVERAL STAFF MEMBERS.

RULE: THREATENING ANOTHER WITH BODILY HARM    RE: INCIDENT #906216
EVIDENCE: SUBJECT MADE THREATENING STATEMENTS TOWARDS DEPUTY JENNINGS INDICATING
HE WOULD DO HARM TO HER IF HE HAD THE OPPORTUNITY. SUBJECT READILY ADMITTED TO
HAVING MADE THREATS TOWARDS DEPUTY JENNINGS AND INDICATED TO ME THAT HIS THREATS
WERE SINCERE IN NATURE.

RULE: TWO OR MORE INFRACTIONS UNDER ANY ONE COMMITMENT OR BOOKING. RE: INCIDENT
#906216
EVIDENCE: IN THE SPAN OF LESS THAN FOUR HOURS THIS SUBJECT WAS INVOLVED IN
MULTIPLE SEPARATE INCIDENTS WHICH INCORPORATED EACH OF THE ABOVE LISTED

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VIOLATIONS. SUBJECT HAS HAD SEVERAL DISCIPLINARY INCIDENTS PREVIOUSLY UNDER THIS
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BOOKING ALONG WITH NUMEROUS INCIDENT REPORTS.

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:

SANCTION: RE: INCIDENT #906194 SANCTION REDUCED FROM FIVE DAYS DISCIPLINARY
SEGREGATION TO THREE DAYS DISCIPLINARY SEGREGATION, BEGINNING AT 1100 HOURS ON
02-23-12 AND ENDING AT 1100 HOURS ON 02-26-12.
REASON: SUBJECT HAS HAD NUMEROUS INCIDENT INVOLVEMENTS AND THIS IS PROGRESSIVE
DISCIPLINE.


SANCTION: RE: INCIDENT #906216, SANCTION OF FIVE DAYS OF DISCIPLINARY
SEGREGATION UPHELD. SANCTION TO BEGIN AT 1100 HOURS ON 02-26-12 AND ENDING AT
1100 HOURS ON 03-02-12.
REASON: THIS IS PROGRESSIVE DISCIPLINE AND IS CONSISTANT WITH THE SERIOUSNESS OF
THE ACTIONS OF THE SUBJECT.


SANCTION: RE: INCIDENT #206214, SANCTION OF FIVE DAYS OF DISCIPLINARY
SEGREGATION UPHELD. SANCTION TO BEGIN AT 1100 ON 03-02-12 AND ENDING ON
03-07-12.
REASON: THIS IS PROGRESSIVE DISCIPLINE AND IS CONSISTANT WITH THE ONGOING AND
SERIOUS NATURE OF THE SUBJECT'S BEHAVIOR.

**ADDITIONAL SANCTION IMPOSED: THE ADDITION OF AN ADDITIONAL THREE DAYS IS
HEREBY IMPOSED DUE TO THE SUBJECT'S LACK OF CONCERN FOR THE SERIOUS AND
SIGNIFICANT NATURE OF THE THREATS MADE REGARDING DEPUTY JENNINGS. THE IMPOSITION
OF THE ABOVE LISTED UPHELD SANCTIONS AND THE ADDITIONAL SANCTION IMPOSED DO NOT
PRECLUDE ANY CRIMINAL CHARGES WHICH MAY BE IMPOSED WITH REGARDS TO THE THREATS
MADE BY THE SUBJECT AGAINST DEPUTY JENNINGS.

TOTAL SANCTION TIME UPHELD/IMPOSED: SIXTEEN DAYS TOTAL DISCIPLINARY SEGREGATION
TIME, BEGINNING AT 1100 HOURS ON 02-23-12 AND ENDING AT 1100 HOURS ON 03-10-12.
_____________________________________________________________________

DATE OF DECISION: 02-25-12               HEARING OFFICER: SGT O'NEILL
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

09:00:00 LIEKHUS F        NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT


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09:35:46 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received in incoming items for the subject the following items:

      One returned 9X12 manila envelope which has a notation from Chief
Brunson attached reference the item not being "legal mail". This was placed in
the North Rover's box for delivery.

      One 9X12 white envelope for subject marked CD's Evidence. This item was
placed in the file cabinet up front as the subject can not have the CD's in his
possession in the cell. The North Rover will be instructed to advise the subject
that CD's were left and what their location is.

      Also, left for subject by Attorney Paula Plummer was one packet of
paperwork she stated was "legal materials". The items were not in an envelope of
any kind so the items were placed in a white 9X12 envelope and the subject's
name was written on the outside. This was placed in the North Rover's box for
delivery.


The subject sent out for mailing the following items:

      One unstamped standard sized envelope addressed to "Prosecutor Edwin
Norton or Rich Weyrich", marked "legal mail". This item was placed in the Court
Rover's box for delivery.
      One unstamped standard sized envelope addressed to "Todd & Kami
Spangler" of Bend, OR, marked "legal mail".
      One unstamped standard sized envelope addressed to "Grandma & Grandpa"
in Sedro Woolley, marked "legal mail".
      One unstamped standard sized envelope addressed to "Shameka Reanne
Colvin" of Sedro Woolley, marked "legal mail".

These items were all placed in the appropriate location for outgoing legal mail.

10:00:00 LIEKHUS F       INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALLS TO 0920 333-8290 MESSAGE
      0920 202-3683 MESSAGE
      0930 630-8012 MESSAGE CATHY
      0935 662-594-5219 MESSAGE RICHARD
      0940 540-3904 MESSAGE

Total for 02/25/12:   5


Date: 02/26/12
--------------
10:01:07 ONEILL J         INMATE PRO SE           0.00 SPANGLER, BRYCE L

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-------- --------------- ---------------------- ------ -------------------------
Subject sent out for mailing the following items:

      One unstamped standard sized envelope addressed to "Kaytee Greenwood" of
State St, Sedro Woolley, marked "legal mail".
      One unstamped white 9X12 envelope addressed to "Cathy" of Evergreen St,
Mount Vernon, marked "legal mail".

Both items were placed in the appropriate location for outgoing legal mail.

19:15:32 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 unstamped envelope marked legal mail and addressed to Paulet Plumer placed in
the outgoing mail.

Total for 02/26/12:   2


Date: 02/27/12
--------------
09:00:00 SARGENT D        INMATE PRO SE           0.00 SPANGLER, BRYCE L
PRO SE TIME OUT

09:24:20 SARGENT D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
360 333 8290 KELLY`TRANSFERRED

09:41:41 SARGENT D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
360 202 3863 KATIE OR SHAWN NOT A GOOD NUMBER 360 8408939 ANBODY TEMP UNUSEABLE
 360 8533065 NO AWNSER DECLINE TO LEAVE MESSAGE

11:48:53 SCHRADER B       INMATE PRO SE           0.00 SPANGLER, BRYCE L
pen traded one for one

23:43:38 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Mon Feb 27 23:44:51 PST 2012
      Out going mail
      1 small envelope to Daniel

Total for 02/27/12:   5


Date: 02/28/12
--------------
00:12:54 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Tue Feb 28 00:13:07 PST 2012
      2 Law Library request/stating Privileges Suspended

16:30:00 HANNAHAN D       USE OF FORCE            0.00 SPANGLER, BRYCE L

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USE OF FORCE CLASSIFICATION:
(XX)UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE:
(XX) BECAME VIOLENT AND/OR ASSAULTIVE WITH (XX)STAFF
(XX) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ENFORCEMENT OF JAIL RULES              (XX)FORCED MOVEMENT

USE OF RESTRAINTS:
(XX) BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT

DATE/TIME PLACED IN RESTRAINTS:
Tue Feb 28 16:29:26 PST 2012

RESTRAINT EQUIPMENT USED:
(XX)HANDCUFFS

DATE/TIME REMOVED FROM RESTRAINTS:
Tue Feb 28 16:35:12 PST 2012

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:
Fully supervised

OTHER EQUIPMENT USED:
(XX) BODILY FORCE   (XX)TASER DISPLAYED/Activated

LIST STAFF INVOLVED:
NAME: Dep M Warner
NAME: Dep J Zorn
NAME: Dep D Hannahan
NAME: Dep C Andersen
NAME: Dep J Couch

LIST INJURIES TO STAFF:
None

LIST INJURIES TO INMATE:
None

NARRATIVE:
Subject was being moved from C1 to C5 to accommodate his ProSe times out.
Subject became angry about being housed near RSOs & stated he would not be
complying with lockdown orders. Deputy Warner radioed for the North Control
taser which I retrieved. As I entered Cpod Deputies Warner, Couch & Zorn were
making attempts to coax subject into complying. Subject then took a fighting
stance; hands raised w closed fists. I activated the taser at that time. Dep
Zorn was able to talk subject into a cuffing position. He was placed in
restraints, the taser was de-activated & subject was escorted up front by
Deputies Warner, Couch, Andersen & myself. Subject was placed into GRY13 where
cuffs were removed & all exited the cell w no further incidents. -DMH
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REPORTING DEPUTY:

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D Hannahan, U136

REVIEWING SUPERVISOR: Sgt. Randall
Tue Feb 28 21:18:52 PST 2012 Subject has calmed down and has followed direction.
Due to the potital need for G-13 subject was moved back to C-8. We will need to
look at allowing Pro Se phone calls from 1300 to 1400 while Subject is on DISC
SEG. Sgt Randall

16:47:14 FREEBURN J      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -1   ' to `SCJ -SCJ1-B   -G13 -4   '.

18:05:43 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Tue Feb 28 18:06:29 PST 2012
      1 9x12 envelope out to Felix marked Subpoenas

20:06:08 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Tue Feb 28 20:06:35 PST 2012
      1 small envelope out to Lorie

20:59:24 COUCH J         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 02/28/2012

RULE VIOLATION:

Violation of Sanitary Practices keeping your cell neat at all times.

5. Maliciously mutilating or altering clothing or property.

DETAILS OF INCIDENT: When moving inmate Spangler to C-5 from C-1 I noticed that
Inmate Spangler had Drawn Mr. Lonely on his wall to the right of the door. This
is a common name that inmate Spangler writes on other jail property such as his
uniforms and mattress covers. See incident number 902539, 902326 for prior
events of him writing on jail issued property.

Upon bringing his personal property to him in grey 13 i found Mr. Lonely written
on his mattress cover in pencil.

DESCRIBE ANY PERSONAL INJURIES: N/A
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LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE: MATRESS COVER

DISCIPLINARY SANCTION: 3 DAYS OF D-SEG TO START 3/10/2012

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

21:13:25 COUCH J        INMATE DISCIPLINARY PR     0.00 SPANGLER, BRYCE L

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INFRACTION REPORT DATE: 2/28/2012

RULE VIOLATION:

Major Violation:

25. Making weapons of any kind.

24. Receiving two or more minor infractions while in custody on any one
commitment.

Minor Violations:

6. Refusing to obey a lawful order of any staff member or failing to perform
work as instructed by staff when capable of doing it.

17. Refusing or delaying lock down orders.

DETAILS OF INCIDENT:

While moving Inmate Spangler from C-1 to C-5 he moved a box of stuff into c-5
and then walked down the stairs to the lower tier and said "im not locking
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down". At this point myself an Deputy Andersen went to the lower tier where
inmate Spangler and Deputy Warner were standing. Inmate Spangler had a jail made
weapon in his right hand and said "I am not locking down". Inmate Spangler had
his back toward C-9 and started to back up in a fighting stance. Deputy Warner
requested the traser and Deputy Hannahan and Zorn responded with the traser.
Inmate spangler kept backing him self toward the wall cursing at staff and
refusing to lock down. Deputy Warner told Inmate Spangler to turn around and
cuff up and he refused.

Deputy Zorn approached and told Inmate Spangler to turn around and cuff up. He
did after being told multiple times. At that time we removed the jail made
weapon from his hand.

After Inmate Spangler cuffed up myself and Deputy Warner escorted him to
grey-13.

The jail made weapon was later identified as a sharp pencil taped to a
toothbrush using band aids as tape.

Inmate Spangler's prior threats to staff on this booking this is progressive
discipline.

DESCRIBE ANY PERSONAL INJURIES: N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:N/A

DESCRIBE ANY PROPERTY DAMAGE:N/A

DISCIPLINARY SANCTION: 15 days of D-seg starting 3-13-2012 following
disciplinary event 906921.

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I ACCEPT THIS SANCTION: YES/NO          I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________
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DEPUTY__________________________________

21:46:32 RUDDELL L       INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-B   -G13 -4   ' to `SCJ -SCJ1-N   -C   -8   '.

Total for 02/28/12:   8


Date: 02/29/12
--------------
13:28:51 COUCH J         JAIL INCIDENT REPORT      0.00 SPANGLER, BRYCE L
This report is time delayed:

Occurred 02/28/2012

While moving Inmate Spangler from C-1 to C-5 he moved a box of stuff into c-5
and then walked down the stairs to the lower tier and said "im not locking
down". At this point myself an Deputy Andersen went to the lower tier where
inmate Spangler and Deputy Warner were standing. Inmate Spangler had a jail made
weapon in his right hand and said "I am not locking down". Inmate Spangler had
his back toward C-9 and started to back up in a fighting stance. Deputy Warner
requested the traser and Deputy Hannahan and Zorn responded with the traser.
Inmate spangler kept backing him self toward the wall cursing at staff and
refusing to lock down. Deputy Warner told Inmate Spangler to turn around and
cuff up and he refused.


Deputy Zorn approached and told Inmate Spangler to turn around and cuff up. He
did after being told multiple times. At that time we removed the jail made
weapon from his hand.

After Inmate Spangler cuffed up myself and Deputy Warner escorted him to
grey-13.

The jail made weapon was later identified as a sharp pencil taped to a
toothbrush using band aids as tape.

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13:40:30 STORIE P         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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                              NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: SPANGLER, BRYCE lEROY , IDENTIFICATION NUMBER: 220164       ,
DECISION SERVED ON INMATE ON :Wed Feb 29 13:41:33 PST 2012
BY:DEPUTY POLLY STORIE
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:5          PLEA: NOT GULITY   FINDING:GUILTY


________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:#5
EVIDENCE:WRITING ON THE WALL IN C-1 WALL AND MATTRESS COVER.



_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION:UPHELD 3 DAY SANCTION IN C-POD.
REASON:INMATE SPANGLER STATED THE WRITING ON THE WALL HAS BEEN THERE FOR A
WHILE, HE STATED HE HAD BEEN HOUSED IN C-8 PRIOR TO NOW AND THE WRITTING HAD
BEEN ON THE WALL TO THE LEFT THE WHOLE TIME DUE TO STAFF NOT TELLING HIM TO WASH
IT OFF IN THE PAST. I/M SPANGLER STATED HE HAD WASHED THE WALL TO THE BACK OF
THE ROOM AS TOLD BUT NOT THE WALL TO THE LEFT. HOWEVER THE REPORT STATED HE HAD
WRITING ON THE WALL TO THE RIGHT WHEN YOU WALK INTO C-1.
I EXPLAINED THAT ANY WRITING ON ANY JAIL PROPERTY IS NOT ACCEPTABLE.



_____________________________________________________________________

DATE OF DECISION: Wed Feb 29 13:50:43 PST 2012 HEARING OFFICER:STORIE, POLLY
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be

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submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

13:51:20 STORIE P        INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: SPANGLER, BRYCE LEROY , IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON :Wed Feb 29 13:52:04 PST 2012
BY:DEPUTY POLLY STORIE
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):GUILTY
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:25 MAKING WEAPONS   PLEA:NOT GUILTY   FINDING: GUILTY

RULE: #24 RECEVIING TWO OR MORE MINIR INFRACTIONS PLEA: NG FINDING: GUILTY N
RULE: #6 REFUSING TO OBEY A LAWFULE ORDER BY STAFF     PLEA: NG
FINDING:GUILTY
_RULE# 17 REFUSING OR DELAYING LOCK DOWN ORDERS. PLEA:G FINDING; GUILTY
_______________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:#25
EVIDENCE:TOOTHBRUSH TAPED TO A PENCIL AND HOLDING IT IN A FIGHTING STANCE.


RULE:#24 RECIVING TWO OR MORE INFRACTIONS WHILE IN CUSTODY ON ANYONE COMITT.

EVIDENCE: PER INC# 902539/902326


RULE:#6 REFUSING TO OBEY A LAWFUL ORDER OF ANY STAFF MEMBER/REFUSING TO LOCK
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DOWN.
EVIDENCE:BY TAKING A FIGHTING STANCE AND REFUSING MULTIFPLE TIMES TO LOCK DOWN
IN HIS ROOM. HAD TO BE HANDCUFFED AND BROUGHT UP TO A GREY ROOM.


_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:15 DAYS OF D-SEG STARTING
3-13-2012
________________________________________________________________________

SANCTION:I/M SPANGLER STATED HE DOES NOT WANT TO BE LOCKED DOWN WITH A BUNCH OF
"RAPOS' AND HE HAD TO MAKE A DISPLAY AND BE DRUG OUT OF C-POD TO SHOW THE OTHER
INMATES THAT HE WAS NOT HAPPY AND WANTING TO STAY IN A RAPO POD. THIS IS ALL DUE
TO THE FACT THAT SEVERAL INMATES WERE MOVED FROM D-POD TO C-POD.

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I/M SPANGLER STATED HE HAS TRIED TO BE GOOD AND   FEELS HE IS DOING BETTER BUT IS
AFRAID THAT IF HE DID NOT MAKE A SHOW OF THINGS   HE WOULD GET BEAT UP IF HE WAS
EVER HOUSED IN POPULATION ONCE INMATES SAW THAT   HE WAS HOUSED WITH SEX
OFFENDERS.

I EXPLAINED THAT HIM ACTING OUT AND CAUSEING STAFF TO STOP OTHER MOVEMENT IN THE
JAIL DUE TO HIS BEHAVIOR AND OR NOT DOING AS STAFF ORDERED DOES NOT HELP HIM AT
GETTING OFF OF D-SEG.

_____________________________________________________________________

DATE OF DECISION:Wed Feb 29 14:07:30 PST 2012 HEARING OFFICER:P STORIE
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

15:00:09 COUCH J         INMATE PRO SE             0.00 SPANGLER, BRYCE L
CALLED PALUA @ 428-3988 CONNECTED

CALLED FELIX 840-0099 LEFT MESSAGE

17:00:19 COUCH J         NORTH END RECREATION      0.00 SPANGLER, BRYCE L
HOUR OUT

17:13:17 COUCH J         INMATE PRO SE             0.00 SPANGLER, BRYCE L
CALLED 333-8290 NO ANSWER
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CALLED TODD 541-233-7462 CONNECTED

20:06:50 RUDDELL L        JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

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I was up in North Control giving a break when I was watching I/M Spangler, Bryce
at the bottom of the C Pod stairs. Spangler seemed to be talking with someone
from the upper tier and gradually walk up one step, then another one. A few
minutes went by and Spangler ran up to C 4 picked something off the ground, put
it in his mouth and then ran back down the stairs. I got on the overhead
intercom and told Spangler he knew he wasn't suppose to be up on the top tier so
he could lock down. After Spangler locked down he pushed the button to North
Control stating "I couldn't help it they lured me in with a cookie." Spangler
was talking with his mouth full still eating the cookie and I asked him if it
was worth losing the rest of his hour out? Spangler replied "Yep, it was a
cookie."



FOLLOW-UP ACTION TAKEN: Loss of what was left of his hour out.




REMARKS:

Total for 02/29/12:   7


Date: 03/01/12
--------------
13:24:27 SARGENT D      INMATE PRO SE             0.00 SPANGLER, BRYCE L
3605952640 3607703597 x 2 answer machine

17:40:33 COUCH J         MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
While giving North Control a break I was listening to C-8's intercom because
Deputy Salinas told me that Inmate Spangler in C-8 was telling other inmates
about manipulating the phone system. While listening he started to talk to
Inmate Lomeli about Herion and having some heroin. It was not completely clear
if he currently had it or if it was being sent in to him some how. He told
inmate Lomeli that "they dont check here" and "it gets in but smells like shit".
Inmate Spangler then went on to say that if he takes it to prison with him that
"this much is worth like $100".

Supplemental: E Salinas U130
 Around 1720 hours today, a few of the upper tier Inmates started gathering
around C-8. Inmate Spangeler was attempting to tell Inmates Rocker, Michael N#
156135 and Ventura-Garcia, Martin N# 260107 to to manipulate the phone system.
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Spangler must have known I was listening in as he started tapping on his speaker
thus I was unable to hear.

21:42:23 SALINAS E       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
From around 1530, Inmate Spangler, Bryce N# 220164 has had 2 to 3 inmates from
the upper tier of C-pod at his door. For a person who can't stand "Rapos" and/or
"Child Molesters", he was definitely entertaining these inmates with his words
of wisdom and stories of his quests of grandeur. See Report # 907020. This is
for informational purposes only.

08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:   199

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------

Total for 03/01/12:     3


Date: 03/02/12
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15:43:30 PARKER S       INMATE COURT APPEARANC       0.00 SPANGLER, BRYCE L
SC ON 11-1-01101-1  CONT TO 03-16-12 1330
11-1-000772-2 CONT TO 03-16-12   1330

17:43:04 STORIE P           NORTH END RECREATION     0.00 SPANGLER, BRYCE L
to rec and hour out..

18:09:42 TREVINO L       INMATE PRO SE            0.00 SPANGLER, BRYCE L
LEGAL CALL TO HEIDI (859) 806-5394, TO VOICE MAIL - LEFT MESSAGE/LFT
Fri Mar 02 18:13:56 PST 2012 LEGAL CALL TO (859) 806-5394-TRANSFERRED TO c-8.

Total for 03/02/12:     3


Date: 03/04/12
--------------
09:21:38 HINES T            INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:   200

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:Sun Mar 04 09:21:56 PST 2012

RULE VIOLATION:Refusing a direct order
             Inciting others to violate jail rules

DETAILS OF INCIDENT:I had brought inmate Delafuente from the infirmary to C-6.
While getting him to go into the room inmate Spangler kept yelling for inmate
Delafuente to be housed in C-10. He was saying the inmate in C-6 was eating his
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 184 of 243



own feces. I walked into C-6 to see if in fact he was eating his own feces. He
was chewing on a piece of brown paper sack. He was not eating his feces. I had
to tell inmate Spangler several times to shut up. At no time did he stop as
directed.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE:None

DISCIPLINARY SANCTION:5 days lock down from 0900 03-28-12 to 0900 04-01-12

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

10:38:41 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing the following items:

      One unstamped standard sized envelope   addressed to "Kaylee G" of Sedro
Woolley, marked "legal mail".
      One unstamped standard sized envelope   addressed to "Danna & Josh" of
Mount Vernon, marked "legal mail".
      One unstamped standard sized envelope   addressed to "Kellie y Daniel" of
Mount Vernon, marked "legal mail".
      One unstamped standard sized envelope   addressed to Keidi Korthuis" of
Lexington, KY, marked "legal mail".


08/03/12                      SKAGIT COUNTY JAIL                                 217
11:54      Jail Events Summary Report, By Date, Time With Comments       Page:   201

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
13:26:51 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped standard sized envelope addressed to
"Shameka" of Sedro Woolley, marked as "legal mail".
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This was placed in the appropriate location for outgoing legal mail.

16:14:50 WARNER M        INMATE DISCIPLINARY PR    0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:   202

Time     Officer         Event Type             Qty    Inmate
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______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: SPANGLER, BRYCE , IDENTIFICATION NUMBER:220164,
DECISION SERVED ON INMATE ON (Time and Date):Sun Mar 04 16:17:40 PST 2012
BY:DEPUTY M WARNER U112
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE:REFUSING TO OBEY A DIRECT ORDER         PLEA: NG     FINDING:G

RULE:INCITING OTHERS TO VIOLATE JAIL RULES   PLEA: NG     FINDING:G


________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

FINDIG:GUILTY OF REFUSING TO OBEY A DIRECT ORDER.
EVIDENCE:JAIL INCIDENT RPT#907499 AND IRD #907496. INMATE SPAGLER ADMITTED THAT
HE DID NOT FOLLOW THE ORDER TO BE QUIET AS DIRECTED BY STAFF.


FINDING:GUILTY OF INCITING OTHERS TO VIOLATE JAIL RULES.
EVIDENCE:INMATE SPANGLER ADMITTED THAT HE REPEATEDLY TOLD ANOTHER INMATE NOT TO
LOCK DOWN IN A CELL THAT HE WAS TOLD TO LOCK DOWN INTO.



_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:ORIGINAL SANCTION UPHELD
FOR 5 DAYS D-SEG LOCKDOWN STARTING AT 0900 3-28-12 AND ENDING ON 0900 4-01-12.
AFTER SPEAKING WITH SGT PARKER AND INMATE SPANGLER IT WAS AGREED THAT IF INMATE
SPANGLER CAN STAY DISCIPLINE/INCIDENT FREE BETWEEN NOW AND THE START OF THIS
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 186 of 243



SANCTION (3-28-12) THEN THIS SANCTION WILL BE SUSPENDED. IF INMATE SPANGLER
RECEIVES ANY WRITE UPS FOR MISBEHAVIOR BETWEEN TODAY AND 0900 3-28-12 THEN THIS
5 DAYS WILL BE IMPLEMENTED. THIS MAY GIVE HIM A CHANCE TO CHANGE SOME BEHAVIOR
ISSUES. THIS WAS DISCUSSED WITH INMATE SPANGLER AND HE WAS GIVEN THE DECISION
VERBALLY.
________________________________________________________________________

RULE:REFUSING TO OBEY A DIRECT ORDER.
SANCTION:JAIL INCIDENT RPT#907499 AND IRD #907496. INMATE SPAGLER ADMITTED THAT

08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments      Page:   203

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
HE DID NOT FOLLOW THE ORDER TO BE QUIET AS DIRECTED BY STAFF.

RULE:INCITING OTHERS TO VIOLATE JAIL RULES.
SANCTION:INMATE SPANGLER ADMITTED THAT HE REPEATEDLY TOLD ANOTHER INMATE NOT TO
LOCK DOWN IN A CELL THAT HE WAS TOLD TO LOCK DOWN INTO BY STAFF.




_____________________________________________________________________

DATE OF DECISION: 03-04-12               HEARING OFFICER:M WARNER U112
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

19:00:00 ANDERSEN C       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hr out

20:13:54 ANDERSEN C      INMATE PRO SE           0.00 SPANGLER, BRYCE L
LEGAL CALL TO 360-333-8290 TO KELLY. NO ANSWER

LEGAL CALL TO 360-853-3065 TO SARAH. ANSWERED & TRANSFERRED.

Total for 03/04/12:   6


Date: 03/05/12
--------------
19:18:35 KELLEY L         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

19:23:33 KELLEY L         INMATE PRO SE          0.00 SPANGLER, BRYCE L
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 187 of 243



CALLS

TODD 541 233 7462 NO ANSWER LEFT MESSAGE
TIM 360 873 8020 NO ANSWER LEFT MESSAGE
LORI 360 333 5951 DISCONECTED
SARAH 360 853 3065 CONNECTED

Total for 03/05/12:   2


Date: 03/06/12
--------------
07:53:00 PARKER S        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
INMATE RIGHTS INV 11-MI9490
BY SMITH V12-099 PR'D AND FILE DATE 03-07-12      1600

08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:   204

Time     Officer         Event Type             Qty    Inmate
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Total for 03/06/12:   1


Date: 03/08/12
--------------
08:16:07 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped standard sized envelope addressed to
"Paula Plumber" of Mount Vernon, marked "legal mail".

This was placed in the appropriate location for outgoing legal mail.

08:30:00 BEISLER P       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While assisting Deputy Sargeant search inmate Spanglers room I found a note
that was written to some one but not actually in a envelope to be mailed out
yet. The first page of the note doesn't say anything of interest. On the second
page in the first paragraph it says
"I'm thinkin bout gettin down with a cop or prosecutor cuz no one writes answers
there phones or nothin & I get free attorney calls & free mail they cant read
cuz its legal."
 In my experience working around inmates "Gettin Down" is a jail/prison slang
term for fighting with an individual or group.

 Further down in the letter it states how he was arrested while on his way to
rob the 711 in Burlington. He states that the arresting officers were "pissed"
at him because they had been looking for him for a month. One quote from his
letter was in reference to Detective Young. "The staties, MVPD & BPD, cuz I was
trying to get Det Young set up so I could murder him cuz I was high as fuck &
wantin to merc him & get some paper"
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Subject is a two person detail and has made mention of assaulting staff in the
past. This letter seems to indicate he is considering harming someone other then
jail staff at some point.

Letter copied, copy put in subjects file, original was given to Sgt. Oneill for
further action or to be faxed to proper agency.

Per Sgt. Schrader subject does not need to recieve a copy of this letter back.

09:01:44 FUTRELLE K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTED IN DISTRICT COURT ON 12-1-00197-8, CONTINUED HELD ON $5000 BAIL.

rights

Total for 03/08/12:   3



08/03/12                      SKAGIT COUNTY JAIL                                217
11:54      Jail Events Summary Report, By Date, Time With Comments     Page:    205

Time     Officer         Event Type             Qty      Inmate
-------- --------------- ---------------------- ------   -------------------------
Date: 03/09/12
--------------
09:12:07 SARGENT D       INMATE PRO SE            0.00   SPANGLER, BRYCE L
REQUESTED PRO SE CALL...AT THIS TIME-NOT HIS HOUR OUT.   DENIED PER SGT ONEIL

15:48:19 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received in incoming for subject a Notice of Appearance and Request for
Discovery-Standby Counsel from Superior Court.

Subject also sent out for mailing the following items:

      One unstamped standard sized envelope addressed to Todd Spangler of
Bend, OR, marked "legal mail".
      One unstamped standard sized envelope addressed to Kellie Y D of Mount
Vernon, marked "legal mail".

Both items were placed in the appropriate location for outgoing legal mail.

18:00:00 RUDDELL L        NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 03/09/12:   3


Date: 03/11/12
--------------
18:41:40 TREVINO L        NORTH END RECREATION    0.00 SPANGLER, BRYCE L
hour out
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 189 of 243



19:04:40 TREVINO L       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Spangler requested legal phone call, rattled off a number and when ask who it
belonged to advised Daniel Gilbert. Call was not made and I was unable to obtain
the phone number

Total for 03/11/12:   2


Date: 03/12/12
--------------
10:45:34 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received from Law Library for subject the following volume:

      Washington Practice Volume 12 - Criminal Practice and Procedure

Due back to Law Library on 03-14-12.

This was placed in the North Rover's box for delivery.


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   206

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
19:00:00 CALLAHAN N      NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

Total for 03/12/12:   2


Date: 03/13/12
--------------
07:02:51 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out the following items for mailing:

      One unstamped standard sized envelope addressed to "Sarah" of Mount
Vernon, marked "legal mail".
      One unstamped standard sized envelope addressed to "Kellie Dollan" of
Mount Vernon, marked "legal mail".
      One unstamped standard sized envelope addressed to "Shameka R Colvin" of
Sedro Woolley, marked "legal mail".

All items were placed in the appropriate location for outgoing legal mail.

15:58:11 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 standard envelope marked legal mail and delivered by Felix Moran placed in the
North Rovers box for delivery.

17:05:28 ZORN J          INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
MC25052, IZ0394626 CONT TO 3/20/12 FOR MOT, AND 4/9/12 FOR READINESS.
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 190 of 243



Total for 03/13/12:   3


Date: 03/14/12
--------------
09:08:12 KELLEY L        INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALL PLACED 503 257 7177 FORENSIC LAB / BECKY HAWTHORN RECEPTIONIST ANSWERED
CALL TRANSFERED.

09:20:17 KELLEY L        INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALL PLACED TO PAULA PLUMER 428 3988 CALL TRANSFERED

18:23:13 HANNAHAN D      INMATE PRO SE            0.00 SPANGLER, BRYCE L
call to P Plummer 428.3988; no answer, transfer in for message

Total for 03/14/12:   3


Date: 03/15/12
--------------
13:22:41 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
APPEARED IN S/C ON CASE 12-1-00197-8 CONTINUED TO 4/12/12 PER JUDGE MEYERS


08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     207

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Total for 03/15/12: 1


Date: 03/16/12
--------------
14:00:00 KELLEY L        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
WENT TO COURT ON 12-1-00197-8 / 11-1-00772-2 / 11-1-1100-2.

Total for 03/16/12:   1


Date: 03/17/12
--------------
10:34:31 ANDERSEN C       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HR OUT.

13:43:00 ANDERSEN C      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -8   ' to `SCJ -SCJ1-N   -C   -4   '.

Total for 03/17/12:   2


Date: 03/18/12
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 191 of 243



--------------
12:04:22 KAMMERER I       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

15:36:01 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Sun Mar 18 15:36:39 PDT 2012
      1 9x12 envelope out going to Felix Moran

Total for 03/18/12:   2


Date: 03/19/12
--------------
12:10:00 KAMMERER I       NORTH END RECREATION    0.00 SPANGLER, BRYCE L
hour out

13:40:27 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received in incoming for subject a stack of letters which had been sent out by
the subject as "legal mail", but which do not qualify as such. These were placed
in the North Rover's box to be returned to the subject, along with the letter of
explanation from Chief Brunson.

Total for 03/19/12:   2



08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   208

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/20/12
--------------
11:12:21 KAMMERER I      INMATE TELEPHONE CALL    0.00 SPANGLER, BRYCE L
LEGAL CALL TO 840-0099 FELIX MORAN

16:28:09 WARNER M        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
APPEARED MVMC/MC25052/1Z394626/CONT TO 4-09-12

16:37:38 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 REGULAR ENVELOPE MARKED LEGAL MAIL AND DELIVERED BY FELIX MORAN PLACED IN THE
NORTH ROVERS BOX FOR DELIVERY.

Total for 03/20/12:   3


Date: 03/21/12
--------------
11:59:18 COUCH J          NORTH END RECREATION    0.00 SPANGLER, BRYCE L
hour out

16:23:23 PARKER R         INMATE PRO SE           0.00 SPANGLER, BRYCE L
    Case 2:12-cv-01196-RAJ Document 20-1 Filed 09/05/12 Page 192 of 243



1 9x12 envelope marked legal mail placed in the north rovers box for delivery.

Total for 03/21/12:   2


Date: 03/22/12
--------------
15:22:18 SARGENT D       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I TRASPORTED THREE INMATES UPSTAIRS FROM SUPERIOR COURT HELD IN DISTRICT COURT.
AS WE CAME UP IN THE ELEVATOR I NOTICED THAT INMATE SPANGLER, BRYCE HAD ONE
HANDCUFF OFF OF ONE WRIST DANGLING IN FRONT OF HIM. WHEN HE SAW ME LOOKING AT
IT HE MOVED HIS OTHER HAND IN FRONT OF IT. I SHOOK MY HEAD TOWARDS HIM PLACE MY
HAND ON HIM AND ESCORTED HIM TO THE BOOKING AREA. I UNLOCKED THE OTHER HANDCUFF
AND REMOVED THEM AND THE CHAINS FROM HIS PERSON. WHEN SGT RANDALL CAME UP FROM
COURT I TOLD HER OF THIS SITUATION. SHE STATED SHE HAD NOT REMOVED THE CUFF AS
HE DID NOT SIGN ANY PAPERWORK AND WHEN SHE DOES SHE ALWAYS LOCKS IT ON TO THE
WAIST CHAIN. DEPUTY DIANE LYNN SARGENT.

Thu Mar 22 15:30:00 PDT 2012 SGT RANDALL WENT NORTH AND TALKED WITH INMATE
SPANGLER AND SPANGLER ADMITTED TO SLIPPING THE CUFF OFF. IT WAS MENTIONED THAT
THIS HAS HAPPENED BEFORE BY SGT RANDALL AND AGREED TO BY INMATE SPANGLER.
DEPUTY DIANE LYNN SARGENT.

17:50:33 SCHRADER B      INMATE PRO SE           0.00 SPANGLER, BRYCE L
4 carbon papers and 1 pen exchanged.

Total for 03/22/12:   2



08/03/12                      SKAGIT COUNTY JAIL                               217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     209

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/23/12
--------------
16:06:56 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Fri Mar 23 16:08:08 PDT 2012
      1 9x12 envelope in coming from Felix Moran

Total for 03/23/12:   1


Date: 03/24/12
--------------
12:00:57 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Sat Mar 24 12:01:45 PDT 2012
      1 small envelope out going to Edwin Norton

      amended witness list sent in from Skagit county Prosecuting Attorney's
office.
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      1 old flex pen out / 1 new flex pen given.

Total for 03/24/12:   1


Date: 03/26/12
--------------
12:20:02 HINES T         INMATE PRO SE             0.00 SPANGLER, BRYCE L
call placed to Sharon Fields at 360-336-8722

Total for 03/26/12:   1


Date: 03/27/12
--------------
06:52:51 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received in incoming for subject one 10X13 envelope marked "legal mail".

This was placed in the North Rover's box for delivery.

09:54:17 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one 9X11 manila envelope addressed to Felix Moran,
but NOT marked as legal mail.

The item was placed in the appropriate location for outgoing legal mail.

11:13:49 KAMMERER I       INMATE PRO SE            0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   210

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
LEGAL CALL TO FELIX MORAN AT 840-0099 TRANSFFERED TO VOICEMAIL
LEGAL CALL TO PAULA PLUMBER AT 428-3988 SHE PICKED UP THE PHONE AND AFTER I
IDENTIFIED MYSELF AND TOLD HER SPANGLER WANTED TO SPEAK TO HER, SHE STATED SHE
WAS NOT AVAILABLE AND SHE WANTED ME TO TELL HIM THAT HE NEEDES TO WRITE TO HER.
AFTER SHE WAS INFORMED WE DON'T PASS MESSAGES, SHE STATED SHE WOULD WRITE TO
HIM. I TOLD SPANGLER HIS ATTORNEY WAS UNAVAILABLE.
LEGAL CALL TO 503-257-7177 SPOKE WITH RECEPTIONIST, SHE STATED THEY WOULD CALL
SPANGLER BACK

15:16:30 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject's standby counsel, Paula Plummer, hand delivered a letter for the
subject which was placed in the North Rover's box for delivery.

16:55:55 COUCH J         INMATE PRO SE             0.00 SPANGLER, BRYCE L
Inmate was let out to make legal call

Total for 03/27/12:   5
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Date: 03/28/12
--------------
07:40:40 KELLEY L           INMATE PRO SE          0.00 SPANGLER, BRYCE L
CALLED FELIX 840 0099

12:01:57 ANDERSEN C         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HR OUT.

Total for 03/28/12:     2


Date: 03/29/12
--------------
10:04:30 SARGENT D       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
DEPUTY BEISLER TOOK INMATE SPANGLER TO THE LIBRARY. AFTER HE WAS THER APPROX
FOUR MINUTES SPANGLER SAT IN "ROB'S" CHAIR AND BEGAN PUSHING HIMSELF OF THE
WALLS AND TABLE TO ZOOM ACRESS THE MULTIPURPOSE ROOM MANY TIMES. I TOLD HIM ON
THE LOUD SPEAKER TO STOP AND HE CONTIUED TO "ZOOM" DEPUTY BEISLER CAME BACK
NORTH AND ESCORTED SPANGLER BACK TO C-04. DEPUTY DIANE LYNN SARGENT

11:05:36 SARGENT D      INMATE PRO SE            0.00 SPANGLER, BRYCE L
PRO SE CALL 360 840 0099 MORAN TRANSFERRED TO ANSWER MACHINE

16:14:05 SARGENT D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
pro se call 503 257 7177 lab transferred to recording

21:04:35 TREVINO L       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out, (switched hours with Cell 5, as I needed to obtain clarification from
Deputy Warner).

Total for 03/29/12:     4



08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   211

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 03/30/12
--------------
13:00:00 JENNINGS K      INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   212

Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 03/30/12

RULE VIOLATION:
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JAIL VIOLATION: Communicating with another pod / Passing or exchanging property
with another housing unit.

MINOR 17.Refusing or delaying lockdown orders.

MAJOR 18. Rioting or encouraging riot or demonstration. (Flooding individual
rooms or cell pods is considered rioting or encouraging.)

MAJOR 24. Receiving two or more minor infractions while in custody on any one
commitment.

DETAILS OF INCIDENT: While in north control I watched as inmate Spangler would
walk to the B pod rec door and knock or whistle as he peered into B-Pod. The
B-Pod trustee was out cleaning the pod and had already been warned by Deputy
Bielser about a prior attempt to communicate with inmate Spangler. Inmate
Spangler kept leaving the rec area then returning back to the door attempting to
get the attention of the pod trustee in B-Pod. The pod trustee then grabbed a
piece of paper from the door and walked it back into the pod. I advised him to
place it in the window for a deputy to retrieve. The rec area was cleared prior
to Spangler being in it by myself. Inmate Spangler then returned back to the
rec area and got down on his chest and stated "Fuck it" and began yelling at
"Gilber". I advised over the north rec speaker for inmate Spangler to stop
communicating and told him that he needed to lock down. Inmate Spangler
continued to yell and made no apparent effort to lock down. I again advised
inmate Spangler that I would not be telling him again and that he needed to lock
down. Inmate Spangler again did not move. After he was done yelling inmate
Spangler got up and went back towards his assigned cell, however he went into
the shower area. I budged the door of Spanglers cell and then over the speaker
told him again that he needed to lock down now. Spangler then complied and
locked down. Once in his room Spangler hit the button and asked if he could make
a legal call prior to being locked down - which I responded no. He then asked
if I would do him a favor and get his commissary - which I responded I would
not. He then asked why, and I told him he cannot get commissary if he is on
Disciplinary. He stated that he was not and I told him that because he refused
lock down orders and because he was communicating with another housing unit by
passing notes and talking under the door that he would probably be pending
disciplinary sanction. Spangler began to argue so I ended the conversation.
When I was doing rounds about 10 minutes later I noticed water running from
Spanglers cell and his window covered up. I walked up the stairs and noticed
that there was a blanket on the inside of his door and water coming from the
corner. I called for assistance to prevent the flooding from continuing into
other rooms on the tier. Spangler kept saying "Open my door" "I dare you" "You
should come and get me" "You can turn my water off, I still have my sink". The
water was contained and cleaned up and due to Spangler not complying with the
orders of staff to stop the flooding of his cell, Spangler was left with the
water in his cell.

*Spangler was assigned the law books today 03/30/12 and the condition of the

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books after Spanglers behavior is unknown at this time.

DESCRIBE ANY PERSONAL INJURIES: n/a

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: n/a

DESCRIBE ANY PROPERTY DAMAGE: unknown at this time

DISCIPLINARY SANCTION: 10 DAYS D-SEG FOR EACH MAJOR VIOLATION, 5 DAYS D-SEG FOR
EACH MINOR VIOLATION

30 DAYS TOTAL D-SEG TO BEGIN 03/30/12 @ 1300 AND END ON 04/30/12 @ 1300

THIS IS SUBJECTS 11 DISCIPLINARY INFRACTION ON THIS BOOKING. SUBJECT SHOWS NO
ATTEMPT TO COMPLY WITH JAIL RULES AND STAFF DIRECTION.
I ACCEPT THIS SANCTION: YES/NO           I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

16:54:42 BEISLER P       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
After being locked down today by Deputy Jennings and attempting to flood his
room and C=pod Inmate Spangler chose to cover his window to his room. I have
been able to keep verbal communication with Inmate Spangler throughout the day
and have heard no stress or any comments of self harm.
 At 1645 hours Deputy Butcher discovered Spangler had blocked his door with
books and Deputy Butcher tried to open the door with no luck. I was unable to
open the door from North Control past a few inches even with Deputy Butcher
pushing on the door.
 Spangler has repeatedly told me that he will only unblock his door if we
negotiate with him for his Commissary items, water back on and some fast food
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items from various places to include McDonalds and TacoBell.
 I was able to hear Spangler talking to others through out the day and had
conversations with him.
 At 1700 Hours Spangler again while in a conversation with me notified me that
he had now blocked his cuffport. Staff were notified and Deputy Butcher again
responded. Deputy Butcher stated that Spangler was standing against the cuffport
with his booking bin against the door blocking staff.
 At 1725 hours Spangler again called me in North Control and stated his demands
and added several more nonsense things. He asked for females to be brought over
from other pods. He was told this would all be denied.
 Spangler also stated at that time that if we did not give in to his demands he
would start "killing" the Pro Se law books. He stated that he still had standing
water in his room and the books were looking like they wanted to swim like
fishes.
 He stated that there was no way we were going to get into his room with the way
he has blocked the door. He also at this point made sure to point out how heavy
the books he has in his possession are and that he would use them as potential
weapons against anyone that attempted to enter his room.
 This entire time I had conversation with Spangler he did not sound like he was
in any danger and was not stressed. He was making demands, wanting to negotiate
for things he knew he would not get and was making a joke of the situation.

1740 hours I could hear Spangler talking to other inmates in the pod so I
activated several other speakers. Sanchez, Jesus in C-7 could be heard trying to
get Spangler to understand that what he was doing was making no sense and that
he should have known the consequences for talking to another pod. Again Spangler
sounded as if he was in no danger.

At 1745 hours Spangler again called the booth and stated all that he wanted was
his water turned back on and a bag of coffee and he would stop. I told him that
he would not be getting any coffee. I did however tell him that if he removed
everything from his window, unblocked his door and listened to staff further
that there was a chance of him getting his water back on.

1750 hours Spangler again called the booth and sounded like he was not in
distress in any way.

18:30:22 BUTCHER K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Today I was assigned as North Rover. Since the start of my shift at 1400 hrs.
I/M Spangler, Bryce N#220164 has had his window to his cell covered with paper.
During meds I opened the pass through and asked I/M Spangler to take down the
paper. I/M Spangler refused. During on other checks and after cleaning up the
rest of the water in C-Pod I checked on I/M Spangler again by opening the pass
through and seeing I/M Spangler on his bunk reading. The paper was still
covering the window. I/M Spangler was not in any distress or a danger to
himself. At dinner I asked I/M Spangler again if he would remove the paper so I
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could see what he was doing and that I could give him a dinner tray. I/M
Spangler said he would give the tray back. I told I/M Spangler that I need to
see what he is doing with the tray and if he wouldn't then I would give him a
sack lunch. I/M Spangler said he would take a sack lunch. I told I/M Spangler
that if he continues to cover his window and take the paper down that we would
have to enter his room and remove anything that could be used to cover his
window. I/M Spangler acknowledged what I said. At dinner time I took a sack
lunch up to C-4 and had North Control open the door. C-4 cell door would not
open all the way. It opened about 10 inches. I tried to push the door open and
it moved another 2 or 3 inches. I told I/M Spangler to come up and grab his
sack lunch. I asked I/M Spangler for the law books and he said that he wants to
keep them. I then informed I/M Spangler that he needs to remove what is
blocking the door because blocking the door is not going to help what he is
doing. I had north control close C-4.
After dinner was over North Control radioed and said that I/M Spangler had
blocked his cuff port. I went back to C-4 and saw that I/M Spangler had put his
property tub in front of his cuff port and I/M Spangler was standing behind it
holding it up. I asked I/M Spangler what his intentions are or what he wanted.
I/M Spangler said he wanted a honey bun. I told I/M Spangler that he was not
going to get a honey bun and he responded that he wanted 5 days D-Seg. I told
I/M Spangler that these actions would result in more than 5 days of D-Seg and it
would probably go up with what is happening since I came on shift. I/M Spangler
said all this is covered under what had happened earlier, covered in Deputy
Jennings report #911149. I told I/M Spangler that this is a separate incident.
I tried to talk with I/M Spangler about removing the paper from his windows and
that I need to be able to see him when I do a check. I/M Spangler did not
respond. I shut the pass through and left the pod.
I informed LO Storie of what was going on. It was decided to visually see I/M
Spangler every hour to ensure there was no signs of self harm and log when the
check was done.


Fri Mar 30 21:03:20 PDT 2012...While doing my 1900 check in the north end I was
walking through C-Pod upper tier and as I walked by C-4 I/M Spangler said "I'm
still alive Butcher". I then opened the pass through and could see the shadow
of I/M Spangler's leg on his property bin that was blocking the pass through. I
finished my check and started meds. When I got to C-Pod I finished the upper
tier and I took I/M Spangler his meds. When I got to his cell I asked through
the door if he wanted his meds. There was no response. I opened the pass
through and the booking bin was there but I did not see the shadow of I/M
Spangler's leg holding the booking bin up. I pushed the bin out of the way with
my hand and I saw I/M Spangler laying on the ground, face down, with something
wrapped around his neck. I tried to get a response out of I/M Spangler and
received none. I called for assistance in C-Pod and tried to have North Control

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open C-4 door. The door was still stuck and would not    open by power. By this
time Deputy Ruddell arrived and I also notice that I/M   Spangler was breathing.
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I could see his the rise and fall of his chest. Deputy Maskell arrived and I
tried to pull on C-4 door which moved a little. Deputy Maskell pushed while I
pulled and we go the door opened to were we could enter the room. I entered
first, taking control of I/M Spangler and removed his left hand from underneath
his body to the side. I then checked what was around his neck and noticed it
was loose. I then check the corroded artery and found a strong pulse. By this
time Deputy Block and LO Storie had arrived. I cut the shirt from around I/M
Spangler's neck. LO Storie told us to move I/M Spangler to G-13. I informed
I/M Spangler that we are going to cuff him up to move him to G-13. When I went
to move his right arm to cuff up, I/M Spangler moved it himself to his back. I
placed hand cuffs on I/M Spangler and Deputy Maskell, Deputy Block, LO Storie,
and myself picked up I/M Spangler and began to take him up front. Before we
left the cell we tried to get I/M Spangler to walk. Deputy Block and LO Storie
released his legs and I/M Spangler held his knees off the ground. Deputy
Maskell with control of I/M Spangler's right arm and myself in control of his
left escorted I/M Spangler to Grey-13, removed his cloths and left him with a
suicide blanket and smock.




SUPPLEMENTAL REPORT: DEPUTY POLLY STORIE Fri Mar 30 20:04:13 PDT 2012
I heard radio traffic from Deputy Butcher requesting Deputy Maskell to C-4,
stating he saw inmate Spangler laying on the floor with something around his
neck. I was walking an inmate back to E-pod and went on to C-pod from there.
Deputy Maskell and Butcher were attempting to get C-4 to open but due to the
amount of items used to block the door from rolling they had to push an pull on
the door to get it to open enough to be able to pull the items out of the door
and get the door open all the way. A small amount of a type of string was
hanging from the c-pod light, the material was later identified as white nylon
stitching from his mattress.

When I entered C-4, Inmate Spangler was laying face down on the floor with his
head facing the door. His color was good and he had a strong pulse, he had a
very small red mark around his neck. Inmate Spangler would not talk with us but
when he was handcuffed to be moved out of the room, he was instructed to walk
but refused and instead held up his legs so he would be carried down the stairs
and out of the pod.

Fri Mar 30 21:29:41 PDT 2012 I heard Deputy Butcher radio that I/M Spangler was
laying on the floor in his cell and seemed to have something around his neck. I
was giving out medications at the time for B Pod and had asked north control to
pass out the scissors. I walked up to C 4 and Butcher could at this time see
that Spangler was breathing. I looked in the pass thru and also observed
Spangler breathing, laying face down on the floor. North control tried to open
up the door, but it wouldn't open as stuff was jammed on the other side. Deputy
Maskell, Block and Storie had arrived at this time. Deputy Maskell and Butcher
had to force the door open to gain entry. Spangler still layed on the floor with
no response, but you could observe him breathing. Deputy Butcher tried taking

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off what appeared to be a piece of clothing around his neck, which when he
pulled up on it was very loose. I cut it off with the scissors and cuffs were
placed on Spangler and he was picked up by Deputy Maskell and Butcher under his
arms to escorte him up front since he would not walk. Spangler was put in grey
13 with a suicide suit and his property was removed out of his cell. LR

After I/M Spangler was removed from C-4. Myself and Deputies Block and Ruddell
removed all of the items in C-4. Two plastic bins were filled with all of
Spanglers personal and legal items. The law library books were removed and one
bin of wet items were removed to include 2 wet blankets, wet personal clothing,
two wet towels a jail shirt, these items were used along with blank legal
paperwork to block the door. Half a bin of library books were removed and gone
through and placed back into the library.

While going through the room a folded piece of metal was located along with a
flattened out metal staple and a small sharpened piece of comb.
A note was also located stating" I love you Allishia & never stopped lovin you I
wish I wouldve known my daughter but her mom never wanted me around and anyways
I just wanted to see my kid fuck all the jail stuff and just have a life. thank
you fro everything Josh and Donna I love you guys & am gonna miss u guys & bella
the most Mr Lonely

Inmate Spangler refused to respond to staff but did roll over and cover himself
up in Grey 13 after being left in the room with a suicide suit.

Note, metal and a tied shirt left in the Sgt.s Office.

Report forwarded to Mental Health.


FOLLOW-UP ACTION TAKEN:




REMARKS:

21:26:33 BUTCHER K        USE OF FORCE            0.00 SPANGLER, BRYCE L

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USE OF FORCE CLASSIFICATION:
( )UNPLANNED( x )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
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( ) BECAME VIOLENT AND/OR ASSAULTIVE WITH(      )STAFF( )OTHER INMATE(S)
( ) DISPLAYED SIGNS OF IMMINENT VIOLENCE (      )DESTROYING PROPERTY
( x ) ATTEMPTED SUICIDE                   (      )PREVENTION OF A CRIME
( x ) ENFORCEMENT OF JAIL RULES           (     x )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING         (      )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                      (      )ATTEMPTED ESCAPE
( ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
( )     NONE USED
(x )     BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:19:45 03-30-12
RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( x )HANDCUFFS           ( )LEG IRONS    ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:19:50 03-30-12

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:N/A

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )BODILY FORCE        ( )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME:Deputy Butcher
NAME:Deputy Maskell
NAME:Deputy Block
NAME:Deputy Ruddell
NAME:LO Storie

LIST INJURIES TO STAFF:None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED

NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF
FORCE)While doing my 1900 check in the north end I was walking through C-Pod

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upper tier and as I walked by C-4 I/M Spangler said "I'm still alive Butcher".
I then opened the pass through and could see the shadow of I/M Spangler's leg on
his property bin that was blocking the pass through. I finished my check and
started meds. When I got to C-Pod I finished the upper tier and I took I/M
Spangler his meds. When I got to his cell I asked through the door if he wanted
his meds. There was no response. I opened the pass through and the booking bin
was there but I did not see the shadow of I/M Spangler's leg holding the booking
bin up. I pushed the bin out of the way with my hand and I saw I/M Spangler
laying on the ground, face down, with something wrapped around his neck. I
tried to get a response out of I/M Spangler and received none. I called for
assistance in C-Pod and tried to have North Control open C-4 door. The door was
still stuck and would not open by power. By this time Deputy Ruddell arrived
and I also notice that I/M Spangler was breathing. I could see his the rise and
fall of his chest. Deputy Maskell arrived and I tried to pull on C-4 door
which moved a little. Deputy Maskell pushed while I pulled and we go the door
opened to were we could enter the room. I entered first, taking control of I/M
Spangler and removed his left hand from underneath his body to the side. I then
checked what was around his neck and noticed it was loose. I then check the
corroded artery and found a strong pulse. By this time Deputy Block and LO
Storie had arrived. I cut the shirt from around I/M Spangler's neck. LO Storie
told us to move I/M Spangler to G-13. I informed I/M Spangler that we are going
to cuff him up to move him to G-13. When I went to move his right arm to cuff
up, I/M Spangler moved it himself to his back. I placed hand cuffs on I/M
Spangler and Deputy Maskell, Deputy Block, LO Storie, and myself picked up I/M
Spangler and began to take him up front. Before we left the cell we tried to
get I/M Spangler to walk. Deputy Block and LO Storie released his legs and I/M
Spangler held his knees off the ground. Deputy Maskell with control of I/M
Spangler's right arm and myself in control of his left escorted I/M Spangler to
Grey-13, removed his cloths and hand cuffs and left him with a suicide blanket
and smock.



REPORTING DEPUTY:Deputy Butcher

REVIEWING SUPERVISOR:

21:36:03 ANDERSEN C      INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -4   ' to `SCJ -SCJ1-B   -G13 -1   '.

Total for 03/30/12:     5


Date: 04/01/12
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07:38:59 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Sun Apr 01 07:39:38 PDT 2012
      1 9x12 envelope incoming form Felix Moran.
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21:11:01 RANDALL D       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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______________________________________________________________________

                              NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: Spangler, Bryce, IDENTIFICATION NUMBER: 220164,
DECISION SERVED ON INMATE ON (Time and Date): 2130 4/1/12
BY: Sgt. Randall on event #911149
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: Communicating with another pod/Passing or exchanging property with another
housing unit PLEA: G            FINDING: G

RULE:MINOR 17. Refusing or delaying lock down orders   PLEA: NG   FINDING: G

RULE:MAJOR 18. Rioting or encouraging riot or demonstration.(Flooding individual
rooms or cell pods is considered rioting or encouraging).
PLEA: G FINDING: G

RULE: MAJOR 24. Receiving two or more minor infractions while in custody on any
one commitment. PLEA: NG     FINDING: G
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE: Communicating with another pod/Passing or exchanging property with another
housing unit
EVIDENCE: Subject admitted to yelling under the door to his cousin. Note that
was retrieved from B-pod rec door. Rec area had been checked prior to
I/M Spangler's access to the rec.

RULE: MINOR 17. Refusing or delaying lock down orders
EVIDENCE: Deputies report states that subject continued to yell though the door
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at inmate in B-pod, then went into the shower before finally locking down.
Subject denies this.

RULE:MAJOR 18. Rioting or encouraging riot or demonstration.(Flooding individual
rooms or cell pods is considered rioting or encouraging).
PLEA: G FINDING: G
EVIDENCE: Subject admitted to the flooding stating he was "dinging out" knowing
that he was going to be on lock down again.

RULE:MAJOR 24. Receiving two or more minor infractions while in custody on any
one commitment. PLEA: NG     FINDING: G
EVIDENCE: JMJLOG reports subject has been found guilty on more that two minor

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infractions during this booking.
_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: 10 days upheld
REASON: Subject admitted to yelling under the door to his cousin. Note that was
retrieved from B-pod rec door. Rec area had been checked prior to
I/M Spangler's access to the rec.


SANCTION: 10 days upheld
REASON: Deputies report states that subject continued to yell though the door at
inmate in B-pod, then went into the shower before finally locking down. Subject
denies this.


SANCTION: 5 days upheld
REASON: Subject admitted to the flooding stating he was "dinging out" knowing
that he was going to be on lock down again.

SANCTION: 5 days upheld
REASON: JMJLOG reports subject has been found guilty on more that two minor
infractions during this booking.


Subject has had numerous incidents on this booking; including destruction of
county property, lying, disrespect to staff, disobeying direct orders, and
riotous activity.

Subject was also counseled, on his assaultive displays and standoffs with staff.
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30 days total D-Seg to begin on 3/30/12 @ 1300 and end on 4/30/12 @ 1300.
____________________________________________________________________

DATE OF DECISION: 4/1/12     HEARING OFFICER: Sgt. Randall
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

Sgt. Randall copy of reportes and evidence place in evidence. DMR

Total for 04/01/12:   2



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-------- --------------- ---------------------- ------ -------------------------
Date: 04/02/12
--------------
08:48:38 ONEILL J        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
SUBJECT IS HOUSED IN GRY 13 FOR REPORTEDLY BEING SUICIDAL. SUBJECT ASKED IF HE
COULD USE THE PORTABLE PHONE AND WHEN I RETRIEVED IT FROM THE CRADLE, I NOTICED
HE HAD CHANGED THE WORDING ON THE PHONE HANDSET TO READ "MR LONELY". HE HAD ALSO
CHANGED THE SETTINGS ON THE PHONE TO SPANISH. SUBJECT WAS TOLD THAT HE WOULD NOT
BE ALLOWED ACCESS TO THE PHONE DUE TO HIS MISUSE OF IT.

FOLLOW-UP ACTION TAKEN:

REMARKS:

16:31:04 BLOCK MM        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-B   -G13 -1   ' to `SCJ -SCJ1-N   -C   -10 '.

19:21:34 BLOCK MM         NORTH END RECREATION    0.00 SPANGLER, BRYCE L
Hour out

20:43:21 BUTCHER K       MEDICAL EVENT            0.00 SPANGLER, BRYCE L
I picked up a kite from I/M Spangler, Bryce N#220164 tonight after meds. The
kite stated "Could I be seen I hung myself on Friday and have been requesting
medical Att. since and have not received my head conts. hurts and I've ben
having dizzy spells". I/M Spangler is referring to incident #911164. At no
time since myself and Deputy Maskell moved I/M Spangler to Grey-13 did he
mention anything about being in pain or wanting to see medical on 03-30-12. I
asked Deputy Block who was main rover on 03-31-12 and at no time during her
shift did I/M Spangler mention anything about pain. Deputy Freeburn was main
rover on 04-01-12 and again I/M Spangler did not mention anything about pain or
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wanting to see medical. As the north rover today I/M Spangler has not said one
thing about being in pain from this incident and has only been concerned about
getting his property back. I/M Spangler was observed by the North Control
operator, Deputy Block, doing pull ups and laughing and joking with the other
cells at 2045 hrs. This is after I picked up the kite stating he wants to see
medical. this kite was written on a multi-purpose kite. Report sent with kite
to medical.

Tue Apr 03 06:26:37 PDT 2012 Supplemental report by Sgt O'Neill:
     Subject had been housed up front in Grey 13 on suicide watch when I came on
shift yesterday. Subject was seen by MHP Cindy Maxwell and was cleared for
return to C-Pod. Prior to seeing MHP, subject was doing calisthenics, including
jumping jacks, squats, and push-ups. Subject was laughing and singing as well.
Subject acted as though his move to Grey 13 was all a joke. At no time during
the entire day shift did the subject make mention of any pain, ask for medical
assistance or ask for any medication.

20:49:58 BLOCK MM        INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -10 ' to `SCJ -SCJ1-N   -C   -8   '.

Total for 04/02/12:   5



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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Date: 04/03/12
--------------
13:46:32 KAMMERER I      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
On 4/3/12 I/M Spangler, Bryce (NN#220164) pressed his cell button twice and
asked me if he could see medical. I asked him why and he said that ever since
Friday when he attempted to hang himself, he has been having dizzy spells, and
stomach pains. (Report 911484) I asked him if he had put in a medical kite and
he stated, "yeah, they won't see me." I told him to put another kite in.
Around 1300 hours Spangler pushed his cell button and asked me "what was that
noise? was that an earthquake?" I told him I didn't hear any noise and there was
no earthquake. Spangler then asked, "the pod door is open does that mean we're
getting out? are we going somewhere?" I told him "no." When Spangler was
talking to me, his voice sounded sleepy. In his conversation it also appeared
like he was trying to sound confused. I relayed this information to Deputy
Ruddell who was taking over as North Rover at 1400 hours.

FOLLOW-UP ACTION TAKEN:

REMARKS:

15:15:42 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 10x13 envelope marked legal mail and delivered by Felix Moran placed in the
North Rovers Box for delivery.
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Total for 04/03/12:   2


Date: 04/04/12
--------------
13:17:00 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received incoming for the subject, dropped off by the Prosecutor's Office, a
list of witnesses reference the Mount Vernon charges.

This was hand delivered to the subject by Deputy Dillaman.

15:43:44 DILLAMAN K      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
APPEARED IN S/C ON CASES 11-1-01100-2,11-1-00772-2 AND 12-1-00197-7; CONTINUED
TO 5/4/12 FOR STATUS HEARING.

19:15:14 ANDERSEN C       NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HR OUT.

19:50:00 HANNAHAN D       JAIL INC-FIGHT NO STAF   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Spangler, Bryce NN220164 was out on his hour in Cpod from 1900-2000, downstairs
talking to C7, Jesus Sanchez NN411614). I began meds for upper-tier. Inmates
from upstairs & Spangler all stated they had no current nor prior issues w one
another. I placed my med cart against the bottom of the stairs & dispensed meds
to each inmate from C2 & C3. Spangler asked, "Can I go upstairs now?" I told him
not until everyone was done taking meds. Spangler pushed my cart aside & ran up
the stairs. He took a fighting stance w Secor, Stanley NN281001 & was smiling.
Secor looked confused & continued walking to his cell. It was unknown at that
time if Spangler was playing or serious. Spangler then followed Secor & threw a
punch at Secor. I radioed for assistance in Cpod & N Control confirmed the
fight, again asking for assistance. I directed the other occupant of C2 (Holt,
Trevor NN296362) to lock down which he did. Spangler threw three more punches
which all connected w Secor's face & body. Secor still had a look of confusion
but did make two or three defensive punches, as well as deflecting & blocking. I
was at the top of the stairs at this time & directed Spangler to stop. I took
Spangler by the shoulder & told Secor to return to his room. I escorted Spangler
to his cell & all doors were closed. I heard Spangler tell C7, "I got him dog. I
did it." Sanchez replied, "Good job, man." Spangler then stated, "But since I
did it, they're gonna think it's a hate-crime. Cuz of my tattoos." Assistance
arrived shortly after. -DMH

SUPPLEMENTAL: Deputy Andersen U-140 There was a fight in C-pod between Inmate
(I/M) Spangler, Bryce nm#220164 and
I/M Secor, Stanley nm#281001. After I/M Spangler was returned to his room, he
pushed his cell button and told me "Tell Parker (Sgt. Parker) not to go to hard
on Hannahan, I told her that I didn't have any issues with anyone in the pod and
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that nothing would happen and I straight up lied to her so tell him not to go to
hard on her". I asked I/M Spangler what the fight was about and he said "Well,
what happened was I went upstairs and there was some water on the floor at the
top of the steps and I slipped and the guy from 2 house was just helping me up."
I asked I/M Spangler if he thought I was stupid due to the fact that he was
trying to make me believe that he slipped in some water and was simply being
helped up by I/M Secor. I/M Spangler said "I cant comment on that without saying
anything incriminating". I asked I/M Spangler if he really expected me to
believe his story after he had just told me to tell Parker not to go hard on
Hannahan after he admitted to me that he lied to Hannahan about not having a
problem with anyone in the pod, and now he was saying that there was no fight. I
told I/M Spangler that he was giving contradicting stories to what had happened
and I did not believe his story.
      I then called into C-2 and spoke with I/M Secor, Stanley and asked him
what the fight was about. I/M Secor would not say anything about the fight other
then "he and I just dont get along, call it mutual combat". He would give no
other information as to what led to the altercation only that he and Spangler
did not get along. END OF REPORT.


FOLLOW-UP ACTION TAKEN: Report written, keep apart put in North Control.

FOLLOW-UP ACTION TAKEN:
Ice pack given to Secor. Report written & forwarded for possible Assault
charges. -DMH


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Time     Officer         Event Type             Qty    Inmate
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REMARKS:
I believe Spangler did this on behalf of Inmate Sanchez, due to lower-tier
knowing upper-tier inmates are current or pending RSOs. -DMH

21:17:08 ANDERSEN C      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
There was a fight in C-pod between Inmate (I/M) Spangler, Bryce nm#220164 and
I/M Secor, Stanley nm#281001. After I/M Spangler was returned to his room, he
pushed his cell button and told me "Tell Parker (Sgt. Parker) not to go to hard
on Hannahan, I told her that I didn't have any issues with anyone in the pod and
that nothing would happen and I straight up lied to her so tell him not to go to
hard on her". I asked I/M Spangler what the fight was about and he said "Well,
what happened was I went upstairs and there was some water on the floor at the
top of the steps and I slipped and the guy from 2 house was just helping me up."
I asked I/M Spangler if he thought I was stupid due to the fact that he was
trying to make me believe that he slipped in some water and was simply being
helped up by I/M Secor. I/M Spangler said "I cant comment on that without saying
anything incriminating". I asked I/M Spangler if he really expected me to
believe his story after he had just told me to tell Parker not to go hard on
Hannahan after he admitted to me that he lied to Hannahan about not having a
problem with anyone in the pod, and now he was saying that there was no fight. I
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told I/M Spangler that he was giving contradicting stories to what had happened
and I did not believe his story.
      I then called into C-2 and spoke with I/M Secor, Stanley and asked him
what the fight was about. I/M Secor would not say anything about the fight other
then "he and I just dont get along, call it mutual combat". He would give no
other information as to what led to the altercation only that he and Spangler
did not get along. END OF REPORT.




FOLLOW-UP ACTION TAKEN: Report written, keep apart put in North Control.




REMARKS:

Total for 04/04/12:   5


Date: 04/06/12
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12:10:00 ANDERSEN C       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HR OUT.


08/03/12                      SKAGIT COUNTY JAIL                             217
11:54      Jail Events Summary Report, By Date, Time With Comments   Page:   227

Time     Officer         Event Type             Qty    Inmate
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18:05:01 ANDERSEN C      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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I was notified by Sgt. Randall to notify inmate (I/M) Spangler, Bryce that he
would be moving up to C-3 from C-8. Due to him being on D-seg and also being
Pro-Se, the hours out for his current cell C-8 were not conducive to him working
on his case during business hours to make legal calls etc. I/M Spangler
initially refused to move and stated "I am tired of being moved around and I am
not moving". I/M Spangler has put in several grievance kites about the hours out
of his room and not being able to make legal calls during his scheduled time out
and wanting extra calls throughout the day so he can get a hold of his defense.
After speaking to I/M Spangler for about 25 minutes I explained to him that
after talking to Sgt. Randall, she wanted me to relay to him (I/M Spangler) that
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this was not an option and that the kites he had been sending in about not
getting his legal calls during business hours would be denied and he would not
receive any extra calls based on the fact that we were giving I/M Spangler the
opportunity to move into a room with hours out that would benefit him as a
Pro-Se and would give him access to the phone to make legal calls during
"business hours". I/M Spangler said he understood what I was saying and thanked
me for trying to work with him but he was tired of moving and didn't want to
move all of his stuff again. I/M Spangler told me "just don't move Rylah back
here" (referencing I/M Rylah, Jessy nm#399205)
      I tried to explain to I/M Spangler that we did not want to have any
issues with moving him in terms of him flooding his cell or having to come in
there and fight him and have someone get hurt when we were giving him an
opportunity to move into a cell that would get rid of his dilemma in terms of
time out to conduct his Pro-se work. I told I/M Spangler that it was a win/win,
it made it easier on staff and it made it easier on him due to the different
hours. I relayed this to Sgt. Randall and she advised me to tell I/M Spangler
that this was not an option and he would be moving where we need to move him and
if he wanted to give resistance then we would put him in Gray 13 and if that
were to happen, he would probably lose good time.
      I relayed this information to I/M Spangler who then became very
agitated and said "fuck you guys, I am looking at 12 years and you wanna
threaten me with good time, fuck you and that bitch with the stripes, I don't
give a fuck". I tried to tell I/M Spangler that this could all be resolved if he
would just move up to C-3 peacefully, I/M Spangler did not respond. I/M Spangler
then pushed his cell room button and said "I have thought it over, and if you
give me one bag of my store that ill get in the next 30 days, ill go upstairs
peacefully." I told I/M Spangler that we tried this last time and I don't think
any Sgt is going to want to barter with him for his behavior and that is not how
things work around here. I/M Spangler then told me "ok, I will move upstairs
peacefully if you crack Rylah's door the same time you open my door". I replied
with "why so you can beat him up" his reply to this was "maybe." I told I/M
Spangler that this was not going to happen. I/M Spangler then told me that he
was not going to answer any more questions unless there was a honey bun in his
face. END OF REPORT.

Supplemental by Sgt. Randall:
      I had received several inmate request/grievance form I/M Spangler
indicating his issue with his hour out time. He indicated that they were
interfering with his ability to conduct his defense. I told Dep. Andersen to
move I/M Spangler to C-3 as the hour out times work better for I/M Spangler's
legal calls. Dep. Andersen indicated that I/M Spangler was refusing to move. I
told Dep. Andersen that I would be back to talk to I/M Spangler after I was done

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
dealing with another issue, I indicated to Dep. Andersen that I/M Spanler would
be moving to C-3 or G-13. After moving I/M Rylah, Jessy N#399205 and I/M
Mendoza-Garcia, Eduardo N#223878 to C-pod. Myself and Dep. Liekhus went to C-pod
to escort I/M Spangler up to booking to see CDMHP Enslee. I/M Spangler at first
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refused as he felt I was trying to trick him into moving. I told I/M Spangler
that I was not trying to trick him and I do not play games like that. I/M
Spangler kicked off his shoes and took off his shirt and pointed pass me at Dep.
Liekhus stating "I will take Frank out I don't care". I then instructed I/M
Spangler to put his shirt and shoes on and I again told him I was not lying to
him about mental health wanting to see him. I also told him that after he was
done talking to mental health, him and I were going to talk about his housing
issue. I/M Spangler did put his shirt and shoes on and was escorted up to
booking to see CDMHP Enslee.
      I then had a conversation with I/M Spangler, we discussed his request to
move then his refusal to move. I indicated that his behavior would put him back
in G-13 without his legal supplies and would limit his ability to conduct his
defense. I/M Spangler indicated that he was going to move but then when we move
"the children" into the pod that changed. I/M Spangler did not give up a name of
the inmate that he had issues with but did not denied that he had issues with
I/M Rylah when I pushed him for a name. I/M Spangler indicated that he would
take this person out with a broken mop handle if he got the chance. He went on
to say that he will "just wait for us to mess up again and take him (I/M Rylah)
out".
      I decided that due to the issues between I/M Spangler and I/M Rylah that
a move to the top tier would create more issues. I/M spangler was advised to put
in requests for dates he would like to call his investigator and witnesses and
we would try and give him access from 1300 to 1500 for his legal call. I also
indicated that we only had to allow one and any additional would be determined
by the staff. I advised I/M Spangler that his requests and delivery of the
request will not be demanding in nature or this will most likely hinder his
access to the phones. He stated that he understood and apologized to both Dep.
Liekhus and myself for his behavior.
      I/M Spangler was left in C-8, staff should be very vigilant in your
officer safety around this inmate.

FOLLOW-UP ACTION TAKEN:
-Report written
-Sgt. Randall notified
-Keep apart placed in North Control for I/M Spangler and I/M Rylah



REMARKS: Due to I/M Spanglers comments about I/M Rylah, I spoke with Sgt.
Randall and it was decided to place I/M Rylah and I/M Spangler as a keep apart.

Total for 04/06/12:   2



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Time     Officer         Event Type             Qty    Inmate
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Date: 04/07/12
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09:07:54 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Sat Apr 07 09:15:03 PDT 2012
      1 small envelope out going to Ms. Vanessa Echavez legal ass. to P Eason.

Total for 04/07/12:   1


Date: 04/08/12
--------------
19:25:57 FADDIS D         NORTH END RECREATION    0.00 SPANGLER, BRYCE L

Total for 04/08/12:   1


Date: 04/09/12
--------------
09:51:08 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Mon Apr 09 09:51:23 PDT 2012
      request for new flex pen/new given/old removed.

Total for 04/09/12:   1


Date: 04/10/12
--------------
16:17:00 HOLMSTROM N     INMATE PRO SE            0.00 SPANGLER, BRYCE L
Placed "legal" call to a Forensic Lab in Oregon at 503-257-7177 and transferred
to Inmate Spangler in C pod.

Total for 04/10/12:   1


Date: 04/11/12
--------------
00:09:21 FADDIS D        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
Appeared in court 4/10/12 on MC25052 & 1Z0394626 (not held). Next court date
5/7/12.

08:43:36 BEISLER P       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Placed a call to Intermountain Forensics 503-257-7177 and transferred to
Spangler, Bryce

12:40:34 RANDALL D        INMATE PRO SE          0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Wed Apr 11 12:40:53 PDT 2012
      1 small envelope sent back to inmate with a letter from Chief of Admin
Brunson "does not qualify as legal mail".
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      1    request for new high lighter and 4 sheet of carbon paper/given
      1    legal phone call request
      1    9x12 envelope out going to Felix Moran
      1    small envelope out going to Felix Moran
      1    small envelope to Jackie Brunson

      In coming
      1 5x8.5 envelope from Felix Moran

19:00:00 FUTRELLE K        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
hour out

Total for 04/11/12:    4


Date: 04/12/12
--------------
07:55:11 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Thu Apr 12 07:56:23 PDT 2012
      out going to Vanessa Echaves / legal assis to P. Eason.

15:05:29 RANDALL D       INMATE PRO SE              0.00 SPANGLER, BRYCE L
Thu Apr 12 15:07:01 PDT 2012
      1 9x12 envelope in from Felix Moran.

17:02:29 STORIE P        INMATE PRO SE              0.00 SPANGLER, BRYCE L
called Felix Moran 840-0099

21:11:33 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out one unstamped standard sized envelope addressed to Mavis Bets,
marked "legal mail".

The item was placed in the appropriate location for outgoing mail.

21:58:15 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped standard sized envelope addressed to
Prosecutor Ed Norton, marked "legal mail".

This item was placed in the appropriate location for outgoing legal mail.

Total for 04/12/12:    5


Date: 04/13/12
--------------
19:04:21 ANDERSEN C        NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HR OUT.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
21:00:57 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing one unstamped 9X12 manila envelope addressed to
Felix Moran, marked "legal mail". This was placed in the appropriate location
for outgoing legal mail.

Total for 04/13/12:   2


Date: 04/15/12
--------------
19:27:11 KELLEY L         NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 04/15/12:   1


Date: 04/16/12
--------------
13:33:36 ANDERSEN C      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Given legal call at above time ADDITIONAL to time out tonight from 1900-2000.

19:03:20 KELLEY L         NORTH END RECREATION     0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 04/16/12:   2


Date: 04/17/12
--------------
11:09:01 COUCH J         INMATE PRO SE             0.00 SPANGLER, BRYCE L
called felix 360-840-0099 left message

17:49:25 SCHRADER B       INMATE PRO SE            0.00 SPANGLER, BRYCE L
NEW PEN GIVEN

Total for 04/17/12:   2


Date: 04/18/12
--------------
07:14:09 RANDALL D       INMATE PRO SE             0.00 SPANGLER, BRYCE L
Wed Apr 18 07:19:59 PDT 2012
      1 9x12 envelope out going to Felix Moran
      1 small envelope out going to Harrison

13:45:00 BEISLER P        INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:04-18-2012

RULE VIOLATION:
Major #25 Making weapons of any kind

DETAILS OF INCIDENT:While searching subjects person and room for a missing razor
I Deputy Beisler had subject lift his left and right bare feet. On the bottom of
his right foot I noticed several band-aids on the bottom of his foot with an
object taped there. I had him remove the object and hand it to me. It is a
toothbrush that has had the bristles removed and been filed to a point. It also
has a handle attached that is made of band-aids, string and something on the
inside of this handle to make it solid. Subject also had the head of the razor
that was missing wrapped with Band-aids under his mattress. Deputy Freeburn was
standing by with myself (Deputy Beisler) while I was performing the strip search
and also saw the item taped to Spangler's bottom right foot.

DESCRIBE ANY PERSONAL INJURIES:None

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:None

DESCRIBE ANY PROPERTY DAMAGE: None

DISCIPLINARY SANCTION:30 Days of Disciplinary Segregation. This is progressive
discipline.
 Subject has 58 incidents that he was been involved in on this booking. He has
also been written up for 18 separate IRD's not including this one. 9 of those
are Disciplinaries. 7 of which he has been found guilty for what he was wrote up
for.


I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

13:50:00 HANNAHAN D      INMATE DISCIPLINARY PR       0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE:
Wed Apr 18 20:46:47 PDT 2012

RULE VIOLATION:
Major- Making weapons of any kind.

DETAILS OF INCIDENT:
See also EVENTs 913423 & 913427
While searching for subject's razor I placed his mattress in the X-ray machine.
A definite foreign object was noted by myself & the two Guards. Upon opening the
mattress, a 12-15" plastic shard from a booking bin was found. It was shaped
similar to a kitchen knife & had mattress string bound tight to one end forming
a handle. -DMH

DESCRIBE ANY PERSONAL INJURIES:
N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:
N/A

DESCRIBE ANY PROPERTY DAMAGE:
One JAIL mattress
One JAIL booking bin

DISCIPLINARY SANCTION:
30 days disciplinary segregation. This is progressive discipline. Subject has 58
incidents that he has been involved in on this booking. He has also been written
up for 19 separate IRD's, not including this one. Nine of those are
Disciplinaries; seven of which he has been found guilty. This is a Major
violation & subject has verbalized on several occasions a desire to injure
staff, and has made threats to kill. This sanction is separate of EVENT 913423 &
would be served consecutive to any time imposed. -DMH

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO


      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________
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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
13:55:43 COUCH J         INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-N   -C   -8   ' to `SCJ -SCJ1-B    -G11 -1  '.

13:58:23 HINES T         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
I arrived at C pod to assist in the search for the missing razor. Inmate
Spangler, Bryce and deputy Beisler were in the day room. deputies Hannahan and
Freeburn were in C-8 searching the cell. I made a joke when I entered the pod
and inmate Spangler started laughing. It seemed to lighten the mood. Deputy
Beisler went into C-8 to help search and I stayed with the inmate.
      Deputy Beisler came out of the room and shoed inmate Spangler some
contraband that had been found during the search. Inmate Spangler tried to grab
the paper that was in deputy Beislers hand. I knocked it away. Spangler tensed
up and backed away. He grabbed the dust pan off the table in the pod and took a
fighting stance. We requested for back up and a tasor.
      More deputies arrived with the tasor. The main door to the pod was
opened. He gave up the dust pan to deputy Freeburn but back up towards the
stairs. He wanted to go up stairs and go into C-3. That was not an option at the
time. Deputy Zorn grabbed onto the front of his shirt. I grabbed onto his right
arm and the front of his shirt. We pulled him down to the bottom floor. We were
trying to get him to turn around so that we could apply the cuffs. He refused
to comply and started to pull away from us, trying to fight. He was taken to the
ground and cuffs and leg restraints were applied. He was asked to stand up and
walk to the booking area. He refused. He was picked up by four deputies and
carried to grey 11. Once in grey 11 the restraints were removed and he was left
there to calm down.

FOLLOW-UP ACTION TAKEN:

REMARKS:

14:14:21 BEISLER P        USE OF FORCE           0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
USE OF FORCE CLASSIFICATION:
(xx)UNPLANNED( )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
( x) BECAME VIOLENT AND/OR ASSAULTIVE WITH( x)STAFF( )OTHER INMATE(S)
( x) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
( x) ENFORCEMENT OF JAIL RULES            ( )FORCED MOVEMENT
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(   ) REMOVE UNAUTHORIZED CLOTHING           (   )DRUGS/ALCOHOL
(   ) MENTAL PROBLEMS                        (   )ATTEMPTED ESCAPE
(   ) OTHER: (DESCRIBE)

USE OF RESTRAINTS:
( )     NONE USED
( x)    BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:1350 hours on 04-19-2012

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( x)HANDCUFFS           (x )LEG IRONS   ( )FLEXCUFFS
( )RESTRAINT CHAIR      ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:1400 hours on 04-19-2012

FREQUENCY OF CHECKS WHILE IN RESTRAINTS:None

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( x)BODILY FORCE       ( )TASER DISPLAYED       ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME:Deputy Beisler
NAME:Deputy Hines
NAME:Deputy Zorn
NAME:Deputy Freeburn
NAME:Deputy Sharma
NAME:Deputy Parker
NAME:Sgt. Randall
LIST INJURIES TO STAFF:None


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED

LIST INJURIES TO INMATE: NOne


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( )REFUSED


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF
FORCE)
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Subject was shown what had been removed from his room. He attempted to rip a
piece of paper out of my hand. When that failed he jumped back and took a
fighting stance. He circled to the dayroom door, picked up a dust pan for a
weapon. Deputy Freeburn talked him into putting the dustpan down. At that point
subject started walking up the stairs of C-pod and myself, Deputy Hines, and
Deputy Zorn took control of his person in an attempt to cuff him. He at first
refused to be cuffed. He was then taken to the ground and his limbs taken
control of because he made a furtive movement and verbally stated that he was
refusing to do what we told him to do. He was then cuffed on his hands while his
legs were controlled. Ankle cuffs were brought back and he was cuffed on his
ankles as well. He was then taken to G-11 where he was uncuffed.

REPORTING DEPUTY:Deputy Beisler

REVIEWING SUPERVISOR: Sgt. D. Randall

15:13:14 BEISLER P      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
I realized today 4-18-2012 that I was missing one razor out of C-pod. It was
Spangler's razor that was missing. I asked him about it and he stated that he
had put it out in the dayroom area. I informed Sgt. Randall and it was decided
to search his room. Deputy Freeburn and myself entered his room and had him
perform a strip search. As he was lifting his feet I noticed a mass of band-aids
attached to his feet with something protruding from the band-aids. I had him
remove this from his foot and hand it to me. It was a toothbrush with the
bristles removed and a sharpened tip. It also had a make shift handle attached.
This was made to be a weapon. The strip search was completed I took him out to
the dayroom where he could still observe his legal materials being searched.
Deputy Hines arrived at this point and took over watching Spangler while I
assisted searching his room. Deputies Freeburn, Hannahan and myself continued
searching his room and found the head of the missing razor taped to either the
underside of his mattress or under his bunk. We continued searching and I found
a piece of paper that made comments that seem to indicate Spangler is selling
his pills for commissary or has plans to do so. At this point we were just about
done searching and I was explaining to Spangler what we had found and what was
being removed from his room. At that point he attempted to rip the piece of
paper which talked about his pills from my hand. He was unable to do so and
instead backed up and assumed a fighting stance with Deputy Hines and myself. He
then circled around us to get to the dayroom door. He also grabbed the dust pan
that was sitting on the table and was waving it like a weapon attemting to keep
myself and Deputy Hines away from him. At that point Deputy Freeburn and
Hannahan had come out from C-8 to assist. Deputy Freeburn was able to talk
Spangler into dropping the dust pan. He was then given clear directive to cuff
up which he refused. He attempted to go up the stairs to C-3 and be housed but
stated that he refused to cuff up. At that point Deputy Zorn had arrived with
the Taser and Deputies Hines, Myself and Zorn took control of Spangler and
brought him back down the stairs. He was placed in cuffs at this point but when
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told by Sgt. Randall he would be going to a Gray holding room he refused
verbally and physically. He was then taken to the ground at that point and leg
restraints were placed on his ankles. He was then taken to Gray-11 to be housed.
I remained in C-pod to continue gathering Spangler's things from C-8.
Supplemental Report by Dep J Freeburn

Dep Beisler, Hannahan and myself went to C-8 to perform a cell inspection. Dep
Beisler and myself entered I/M Spangler's cell and Dep Beisler was giving I/M
Spangler instruction for a strip search. I had thrown out some books that were
laying on the floor just on the inside of his door to where Dep Hannahan was
standing. During the strip search I saw I/M Spangler had something taped with a
big Band-Aid on the bottom of his foot,Dep Beisler asked him for what it was and
it ended up being a jail issue tooth brush that was extended and sharpened at
one end. After the strip search Dep Beisler escorted I/M Spangler to the day
room so that Dep Hannahan and myself could search the room. While during the
search Dep Beisler came into the cell and to help out he had exited the cell and
was talking to I/M Spangler. Dep Beisler had called for assistance and myself
and Dep Hannahan exited the cell, when I came out I saw I/M Spangler taking a
fighting stance with a plastic dust pan in his hand. I asked I/m Spangler what
the problem was and he kept repeating that he was not gong to the gray rooms. I
told him to drop the dust pan that he knew he was in trouble and that he did not
need to add to it. I/M Spangler was looking at me eye to eye and dropped the
dust pan and started going to the stairs. I told him to stop that he needed to

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
be handcuffed because of his actions until we were finished with his cell
search, at this time Is when the rest of the deputies showed up to C-pod.

Supplemental-Hannahan:
Deputies Freeburn & myself were assisting Dep Beisler in finding a razor issued
to Inmate Spangler, Bryce, which had not been returned. I asked Subject numerous
times where his razor was & he answered each time with, "I turned it in." While
Deps Beisler & Freeburn were conducting a strip-search of subject, inside C-8, I
asked Dep Freeburn to kick out the items near subject's door into the Dayroom,
so I could search them. Multiple books & a large band-aid were placed just
outside subject's cell. Attached to the sticky side of the band-aid was the head
& blade of the razor. I informed Deps Beisler & Freeburn of what I had found &
we continued searching for the handle of the razor. I asked subject where the
handle was & he continued to say he did not know. I observed a hole in the
corner of subject's mattress & string missing from parts of the mattress. When I
removed the mattress from C 8 subject took notice. Dep Hines arrived, he & Dep
Beisler stood by subject in the Dayroom while Dep Freeburn & myself continued
search of subject's room, including Pro se materials. Subject made multiple
remarks about his mattress. I asked about placing subject in C-3 while we
searched other Inmates & cells for the razor handle. Subject stated, "Yeah, just
give me my mattress & I will go upstairs." Subject was told he would not be
getting his mattress until it had been searched. Dep Hines directed subject to
cuff up. Subject took a fighting stance & took control of the dust pan holding
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it up at staff. Deps Beisler & Freeburn made attempts to coax subject into
complying. Dep Beisler radioed for assistance & the taster. Sgt Randall & Deps
Dillaman, Parker, Sharma, Warner & Zorn responded; with Warner & Zorn carrying
tasers. Subject agreed to cuff up then began to resist. Subject was taken to the
ground with Sgt Randall giving verbal cues to subject. Dep Hines had control of
subject's head, Sgt Randall had control of subject's arms & Deps Parker & Sharma
had control of subject's feet. Leg irons were placed on subject & he was given
opportunity to comply. Subject refused to cooperate & at that time was escorted
by force to GRY11. The small amount of legal materials which had not yet been
searched were placed outside GRY11 by me. Other items removed from subject's
cell were a T-shirt with pen writings, JAIL issue sandals with swastikas carved
in pen, a sleeve from a thermal top & a Pro se issued flex-pen (due to misuse).
These items were disposed of. I then brought subject's mattress downstairs to
the Security Xray machine. With assistance from the two Guards at Post 1
subject's mattress was x-rayed. A definite foreign object was noted on Xray. I
located the object by touch & returned to the JAIL. Permission was obtained to
cut open the mattress. I found a 12-15" shard of booking bin shaped to resemble
a kitchen knife. It had mattress string bound tightly at one end as a handle.
This same shape was found missing from one of subject's booking bins that was
being used to hold Pro se materials. The bin had to be disposed of. -DMH

Supplemental Report Sgt. D. Randall:
Dep. Beisler indicated that I/M Spangler's razor was missing. Dep. Beisler
indicated that I/M Spangler had stated that he had pushed his razor out under
his door. Dep. Beisler stated that the only inmates that had been out were I/M
Rylah, Jessy N#399205 and I/M Mendoza-Garcia, Eduardo N#223878. It was decided
to search each room starting with I/M Spangler's.
At approx 1230, Dep. Beisler, Hannahan and Freeburn started conducting searches.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
At approx 1300 Main control radioed that a taster was needed in C-pod. I
responded and entered C-pod, I/M Spangler was standing on the stairs of C-pod
and was refusing to cuff up to be moved. Dep. Hines, Zorn, Freeburn, Hannahan,
Dillaman, Parker, Sharma, Warner and myself all took control of I/M Spangler and
hand cuffs were applied to his wrist. I took I/M Spanglers left arm and started
to escort him to the booking area. I/M Spangler started to resist and stated
that he would not move up to the booking area. I/M Spangler then was placed on
the ground and leg restraint were applied. I then told I/M Spangler that we
would be standing him up and walking him to booking. I/M Spangler again refused.
I/M Spangler was then carried to booking and placed on the floor in G-11. I then
told I/M Spangler that we would be removing both the cuff and leg ions. I/M
Spangler indicated that he would be calm and not resist. Restraint were remove
and had no issues.
At approx 1320 Sgt. Parker radioed that the mattress from I/M Spangler's room
that was being x-rayed by Dep. Hannahan had something in it and was asking if we
could cut into the mattress. I stated yes cut it open. Dep. Hannahan found part
of a property tub that was fashioned into a shank. I measured the shank and it
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was approx 12 inches in length.
Approx 1330 Sgt. Parker indicated via the radio that I/M Spangler wanted to talk
to me. I responded to G-11, and I/M Spangler stated he needed to tell me
something that he did not want to get in trouble for. I/M Spangler then asked
what we had done with his mattress. I then asked him why. I/M Spangler then
indicated that there was something in the mattress and he did not want to get in
trouble for. I said we found the shank. I/M Spangler stated that it was not a
shank it was for "spreading his butter".
I/M Spangler was asked if he was suicidal, he indicated that he was not. I/M
Spangler moved to G-9 and given a mattress and bedding. At this time he is not
to be given anything. He is not allowed to use the phone at this time due to
concerns that he may destroy it and make a weapon.

Supplemental Report: M Warner U112: I arrived early for my shift and at
approximately 1320 I heard that a TASER was requested from Main Control. I was
the only one in the area that was TASER qualified so I took the TASER to C-pod.
Inmate Spangler was refusing to cuff up or follow orders and had to be placed on
the ground and restrained. Subject was then taken up front and placed into a
grey room. I put the TASTER back in main control. The TASTER was not deployed.

15:38:31 WARNER M        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-B   -G11 -1   ' to `SCJ -SCJ1-B   -G9 -1    '.

20:05:22 SCHRADER B      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Subject had in his possession's a step by step plan to contact F-pod by dialing
the Health Department accessing the transfer line and dialing "5056" This is not
an extension for anywhere, but he is trying.

Subject also had a note stating:
"TELL HIM TO TELL ISH THAT IF HE GETS ME TWO ICARES HE CAN HAVE THE PILLS BUT
TELL HIM TO GET THE ICARES FOR THIS Tuesday. 760-622-6285

This phone number comes back as a destination number for Lomeli, Paul NN#464370.


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Time     Officer         Event Type             Qty    Inmate
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Total for 04/18/12: 9


Date: 04/19/12
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06:36:09 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Thu Apr 19 06:36:33 PDT 2012
      1 9x12 envelope in from Felix Moran

15:35:06 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Thu Apr 19 15:36:21 PDT 2012
      1 9x12 envelope in form Felix Moran
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16:30:00 JENNINGS K      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
While serving dinner, inmate Spangler asked why he didn't get a tray and he got
a sack lunch instead. I told him that because his actions at lunch, him not
giving the tray back when directed, that he would be getting a sack lunch.
Spangler said "fine, if that's how its going to be ill make sure you guys have a
reason to give me a sack lunch the next time I get a tray". I told Spangler
that his behavior with meals would determine what type of meal was appropiate.
Spangler was given a sack meal for dinner. He then tore most of the food up and
shoved it under the door into the booking area. When told to stop he laughed.




FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 04/19/12:   3


Date: 04/20/12
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11:14:14 PARKER R         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
______________________________________________________________________

                               NOTICE OF

                      DISCIPLINARY HEARING DECISION
_______________________________________________________________________

INMATE'S NAME: Bryce Spangler   , IDENTIFICATION NUMBER:220164        ,
DECISION SERVED ON INMATE ON (Time and Date): 1130 am 4-20-12
BY: Sgt R. Parker
________________________________________________________________________

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **
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RULE: Making/possessing weapons         PLEA: NG          FINDING:G
________________________________________________________________________

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:
________________________________________________________________________

RULE:Making/Possessing weapons
EVIDENCE:Items found in subjects control

_______________________________________________________________________

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:
________________________________________________________________________

SANCTION: 30 days disciplinary segregation
REASON: By Policy 30 days is the maximum that can be imposed in violations found
during the same incident which was the case in this. Policy allows only the
Chief of Corerections to imposed more than 30 days which he has declined to do.
_____________________________________________________________________

DATE OF DECISION:   4-20-12     HEARING OFFICER: Sgt Parker
_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

12:40:19 PARKER S        INMATE CELL CHANGE       0.00 SPANGLER, BRYCE L
Reassigned from `SCJ -SCJ1-B   -G9 -1    ' to `SCJ -SCJ1-N   -C   -8   '.


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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
13:31:04 BUTCHER K       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Legal call to 503-257-7177, inter mountain forensic labs. Could not find paper
work or jmjlog stating that this was an expert witness, call approved by Sgt
Parker

18:59:27 FUTRELLE K       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out

21:21:50 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Subject sent out for mailing two unstamped 10X13 white envelopes addressed to
Felix Moran of Camano Island, marked "legal mail". These were placed in the
appropriate location for outgoing legal mail.

Total for 04/20/12:   5
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Date: 04/21/12
--------------
06:59:57 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 unstamped 9x12 envelope marked legal mail and addressed to Intermountain Labs
placed in the outgoing mail.

20:01:46 BUTCHER K       MISC JAIL NOTE           0.00 SPANGLER, BRYCE L
Myself and Deputy Andersen conducted a strip and room search on I/M Spangler,
Bryce N#220164. Deputy Andersen placed hand cuffs on I/M Spangler and we
escorted him to the west change room and conducted a strip search. We then
placed him in Grey-13 and searched his cell. Deputy Andersen removed 2 booking
bins, a high lighter, and puzzle book. I removed a cloths line and comb, an
extra tooth brush, and other nuisance contraband. There was a screw missing
from the over head light on the right side. All the items in the cell were
searched and the screw was not found. None was found during the strip search as
well. After the search was complete Deputy Andersen and myself placed hand
cuffs on I/M Spangler in Grey-13 and escorted him back to C-8.

Total for 04/21/12:   2


Date: 04/22/12
--------------
10:13:01 JENNINGS K      INMATE PRO SE           0.00 SPANGLER, BRYCE L
Paula Plummer 428-3988 voicemail - connected

19:05:00 BLOCK MM         NORTH END RECREATION   0.00 SPANGLER, BRYCE L
Hour out

20:54:54 BUTCHER K        MISC JAIL NOTE         0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
Myself and Deputy Freeburn conducted the strip and cell search of I/M Spangler,
Bryce N#220164. I placed hand cuffs on I/M Spangler through the cuff port and
Deputy Freeburn and myself escorted I/M Spangler to Grey-13 were we did the
strip search. Nothing was found during the strip search. We returned to C-8
and searched I/M Spangler's cell. Deputy Freeburn removed one book, a deck of
cards and some news paper. I noticed that the speaker in C-8 was pushed in a
little bit. There were not any pieces missing from the wire grate and this
could have happened a while ago. There was no other contraband found. I placed
hand cuffs on I/M Spangler through the Grey-13 cuff port and Deputy Freeburn and
myself escorted I/M Spangler back to C-8 and I removed the cuffs.

Total for 04/22/12:   3
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Date: 04/23/12
--------------
06:36:40 RANDALL D       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Mon Apr 23 06:37:47 PDT 2012
      1 small envelope out going to J&D Harrison (not marked as legal mail)
      1 small envelope out going to Shamaka (not marked as legal mail)

19:57:26 SCHRADER B      INMATE PRO SE             0.00 SPANGLER, BRYCE L
LETTER MARKED LEGAL MAIL DELIVERED

Total for 04/23/12:   2


Date: 04/24/12
--------------
07:00:00 BUTCHER K        INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
RIGHTS     12-1-00320-2

08:16:45 PARKER S        INMATE PRO SE            0.00 SPANGLER, BRYCE L
CELL SEARCH COMPLETED BY DEPUTY HINES,T AND MYSELF. TAKEN WAS A PIECE OF
CARDBOARD,JAIL MADE BRACELET AND A EXTRA BIBLE.

10:25:10 PARKER S        INMATE PRO SE            0.00 SPANGLER, BRYCE L
COMMISARY WAS FILLED FOR SPANGLER. HE IS ON D-SEG. COMMISARY PLACED IN HIS
PROPERTY   BG#202

11:11:02 KAMMERER I      INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
WENT TO COURT ON 12-1-00320-2 BAIL SET AT $20,000 CONT UNTIL 4/26/12

20:27:49 SCHRADER B      INMATE PRO SE            0.00 SPANGLER, BRYCE L
Letter sent to "Mount Vernon Municipal Prosecutor P Eason"

22:17:30 ANDERSEN C       INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
-------- --------------- ---------------------- ------ -------------------------
INFRACTION REPORT DATE: 4-24-12

RULE VIOLATION: #10 (Major) Intentionally or recklessly destroying or damaging
county property or the property of another person.
      #18 (Major) Rioting or encouraging riot or demonstration. (Flooding
individual rooms or cell pods is considered rioting or encouraging.)

DETAILS OF INCIDENT: After female visiting, inmate (I/M) Sanchez, Jesus
nm#411614 and I/M Lomeli,
Paul nm#464370 were taken to the barber shop from C-pod. While I/M Sanchez and
I/M Lomeli were in the barber shop, I asked Deputy Couch and Deputy Storie if
they could search C-7 which houses both I/M Sanchez and I/M Lomeli due to the
fact that I had just recently (reference event #914088) found a large clothes
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line in their room. Deputies Couch, Sharma and Storie searched C-7 and removed
multiple contraband items i.e. pro-se ink pens, paper folders etc.
       After I/M Sanchez and I/M Lomeli were returned to their cell from the
barbershop they entered their room and became very upset. C-7 was closed without
incident from either I/M. I listened into C-7 for a few minutes to see if I/M
Sanchez or any other I/M in C-pod were going to start flooding or possibly
something more serious as there have been remarks about a possible incident
happening in C-pod (reference event#914103). As I listened into C-7 they were
talking about being upset about their room being searched and there "stuff"
being taken. I/M Sanchez banged on the wall a couple of times and was yelling
for I/M Spangler, Bryce nm#220164 who is housed right next to I/M Sanchez in
C-7. I/M Sanchez started talking to I/M Spangler saying "if they wanna play it
this way then fuck it,lets do it". I/M Sanchez went on to say "they are gonna
learn the hard way".
       As I listened into C-7 the talking was subsided and I could not here
much going on in the room. I went back to assisting with medications over the
loud speaker in North Control. A few minutes later I went back to listening into
C-7 and I could hear water running. I listened into C-8 which is occupied by I/M
Spangler and I could hear water running in I/M Spangler cell as well. I looked
into the dayroom in C-pod and could see water running all over the bottom tier
of C-pod. I then radioed that the I/M's in C-7 and C-8 were flooding their
cells.
       Deputies Sharma, Couch, Freeburn and Storie arrived at C-pod and turned
off the water and started to clean up the water that had flooded the dayroom.
I/M Spangler and I/M Sanchez and I/M Lomeli were all identified as the primary
offenders in the flooding incident by Deputy Storie as she observed all 3
inmates actively flooding their cells. END OF REPORT.

DESCRIBE ANY PERSONAL INJURIES: N/A

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION: N/A

DESCRIBE ANY PROPERTY DAMAGE:

DISCIPLINARY SANCTION: 15 days D-seg starting at 1600 on 5-3-12 ending on
5-18-12 at 1600.

I ACCEPT THIS SANCTION: YES/NO          I REQUEST A HEARING: YES/NO


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      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.
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INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

22:46:36 STORIE P       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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SUPPLIMENTAL REPORT: DEPUTY POLLY STORIE 04-24-12 APPROXIMATLEY 1930

After placing inmate Sanchez and Lomeli into the barber shop, Deputy
Anderson(CJ) asked myself and Deputy Couch to look into C-7. Deputy Anderson
stated he thought he might have seen a "fishing line". When I entered into C-7,
Deputy Couch was already there and pointed out a mattress cover with writing on
it in ink. Myself and Deputy Couch started to go thru the room. Right away we
found 3 fishing lines, one under the bed, one hanging from the vent above the
sink. I located a piece of paper with a phone number taped under the metal bunk
with bandaids. Under a blue tub turned upside down and used a table, I located
5-8 manila envelopes with blank xerox paper in it along with a folded carbon
copy sheet folded up.
There were also several photos with numerous band aids and pieces of sticky
paper attached to all of the photos. I removed all the band aids and left the
photos. The room was left with just the minimum items, all reading books were
removed and the back portion of a law library book was also located and removed.


I collected all the items I had located and placed them in a laundry cart along
with the items Deputy's Couch and Sharma had found and brought everything up to
the booking area.

Myself and Deputies Sharma and Couch then went to the barber shop. I asked
Inmates Lomeli and Sanchez who had the ink pen and who had the xerox paper and
extra items. Neither inmate would confess to it, finally inmate Lomeli said, "
fine Ill take the rap, it was mine". Both inmates walked back to the room on
their own.

Approximately 20 minutes later, North control advised over the radio that C-pod
was flooding. Myself and Deputies Sharma, Couch and Freeburn entered into C-pod,
you could see water coming from C-7 and C-8. I glanced into C-8 and observed I/M
Spangler wearing only his red jail pants and dancing around his overflowing
toilet laughing.

Deputy Freeburn was able to get the water turned off and started the clean up in
C-pod, I left to start medicating A and B-pod. Deputy Freeburn and Sharma stayed
in C-pod and cleaned up the dayroom with mops and the shop vac.
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FOLLOW-UP ACTION TAKEN:




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REMARKS:

22:50:42 STORIE P        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
After I/M Spangler was served his paper work telling him how and when he would
be allowed to do his pro se work. I/M Spangler requested to go up front to
booking. I asked over the radio if we had a room at booking for Spangler. Sgt.
Schrader stated Grey 3 would be open shortley.

After walking inmates Lomeli and Sanchez back to C-pod from the baber shop I
asked I/M Spangler if he wanted to go to booking at that time and work on his
Pro se items.
I/M Spangler said," nah not now". Soon after this I/M Spanlger was part of the
flooding in C-pod with I/M Lomeli and Sanchez.

Total for 04/24/12:   8


Date: 04/25/12
--------------
19:05:55 COUCH J          NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out

Total for 04/25/12:   1


Date: 04/26/12
--------------
05:46:47 PARKER R        INMATE PRO SE            0.00 SPANGLER, BRYCE L
1 letter with a Sheriff's Office Letterhead addressed to Spangler from Jackie
Brunson.
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08:49:43 PARKER S        JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Deputy Beisler and myself performed an strip search and cell search today on
Inmate Spangler

08:57:56 TREVINO L       INMATE PRO SE            0.00 SPANGLER, BRYCE L
Per Sgt Parker, Allowed out to make a legal phone call: Paula Plummer
428-3988-transferred

09:28:04 PARKER S          INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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NOTICE OF

                         DISCIPLINARY HEARING DECISION


INMATE'S NAME:SPANGLER,BRYCE    , IDENTIFICATION NUMBER:220164
 ,
DECISION SERVED ON INMATE ON (Time and Date):Thu Apr 26 09:28:40 PDT 2012
BY:DEPUTY S.PARKER

PLEA(S)AND FINDING(S)FOR THE FOLLOWING RULE VIOLATION(S):#18 ENCOURAGING A RIOT
BY FLOODING.
________________________________________________________________________
  ** For PLEA and FINDING use the code G (Guilty) or NG (Not Guilty) **

RULE: 10 INTENTIONALLY OR RECKLESSLY DESTROYING OR DAMAGING COUNTY PROPERTY.

PLEA:NG     FINDING:NG

RULE:18 RIOTING OR ENCOURAGING RIOT OR DEMONSTRATION        PLEA: G

FINDING:G

FOR EACH GUILTY FINDING, THE EVIDENCE RELIED ON FOR THE FINDING IS:

RULE: FLOODING
EVIDENCE: ADMITTED TO FLOODING HIS CELL.

SANCTION(S) IMPOSED AND THE REASON FOR EACH SANCTION:

SANCTION:10 DAYS DISCIPLINARY SEGREGATION

REASON: ADMITTED TO FLOODING AND PROGRESSIVE DISCIPLINE. STARTING 1600 05-03-12
ENDING 05-13-12 1600.

DATE OF DECISION: 04/26/12                 HEARING OFFICER:DPEUTY S.PARKER
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_______________________________________________________________________

You have the right to appeal this decision to the Chief Corrections
Deputy. Should you wish to appeal, your written appeal must be
submitted within 24 hours of the time this Notice of Decision was
served upon you. Failure to submit an appeal within this time limit is
grounds for denying the appeal.

16:17:31 BUTCHER K       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
SC / 11-1-00772-2 / JUDGE RICKERT / CONT, SET SENT DATE

18:30:42 BUTCHER K       INMATE COURT APPEARANC   0.00 SPANGLER, BRYCE L
SC / 11-1-00772-2, 12-1-00320-2, 12-1-00197-8, / JUDGE RICKERT / CONT, AMENDED,
DISMISSED, DISMISSED


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Time     Officer         Event Type             Qty    Inmate
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Total for 04/26/12: 6


Date: 04/27/12
--------------
19:00:00 RUDDELL L        NORTH END RECREATION    0.00 SPANGLER, BRYCE L
HOUR OUT

21:44:08 COUCH J         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
INMATE SPANGLER WAS STRIP SEARCHED AND CELL WAS SEARCHED. INMATE WAS CUFFED
WHILE WE MOVED HIM TO GREY 13 TO CONDUCT THE STRIP SEARCH. WE REMOVED A LAUNDRY
LINE HANGING WITH HIS TOWEL ON IT. IT WAS REMOVED AND THROWN AWAY.




FOLLOW-UP ACTION TAKEN:




REMARKS:

Total for 04/27/12:   2


Date: 04/29/12
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19:06:53 SALINAS E        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
hour out

21:00:00 HANNAHAN D      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
ss by laquet & freeburn/ cell search by hannahan & freeburn

Total for 04/29/12:   2


Date: 04/30/12
--------------
09:05:00 DILLAMAN K      INMATE PRO SE           0.00 SPANGLER, BRYCE L
PHONE CALL TO 428-3988 PAULA PLUMMERS OFFICE

19:00:00 RUDDELL L        NORTH END RECREATION   0.00 SPANGLER, BRYCE L
HOUR OUT

Total for 04/30/12:   2



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Time     Officer         Event Type             Qty    Inmate
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Date: 05/01/12
--------------
09:58:02 DILLAMAN K      INMATE PRO SE            0.00 SPANGLER, BRYCE L
CALLED NUMBER 428-3988 AND LEFT MESSAGE

13:59:07 DILLAMAN K       INMATE PRO SE          0.00 SPANGLER, BRYCE L
SEARCHED HIS ROOM

21:00:14 COUCH J         JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
Tonight I picked up to kites from Spangler. One grieving our daily searching of
his cell and search of his person. I fully understand we will continue doing
this but I want our staff to beaware that he has made this statement and nobody
goes in blind tomorrow to search him.

Total for 05/01/12:   3


Date: 05/02/12
--------------
14:24:52 RANDALL D       INMATE PRO SE           0.00 SPANGLER, BRYCE L
Wed May 02 14:25:27 PDT 2012
      1 9x12 envelope dropped off by Felix Moran

      1 9x6 envelope dropped off by Felix Moran (discovery disk).

19:25:23 ANDERSEN C       NORTH END RECREATION   0.00 SPANGLER, BRYCE L
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HR OUT

20:12:39 ANDERSEN C      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
When inmate (I/M) Spangler, Bryce nm#220164 came out of his cell C-8 for his
hour out from 1900-2000, he walked out of his room with a stack of atleast 5-6
books. According to the current regulations on I/M Spangler, he is to have no
books in his room other then a bible. I/M Spangler came out of C-8 and slid some
of the books into C-9 which is occupied by I/M Mendoza-Garcia, Eduardo
nm#223878. I/M Spangler also slid some of the books into C-7 occupied by I/M
Lomeli, Paul nm#464370 and I/M Sanchez, Jesus nm#411614.




FOLLOW-UP ACTION TAKEN:
-Report written.



REMARKS:


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Time     Officer         Event Type             Qty    Inmate
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21:00:00 FREEBURN J      JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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2100 05/02/12

At the above date and time I went to C-8 which houses I/m Spangler and ordered
him to cuff up so that he can be escorted up front for a strip search and so
that we can search his room as well. I/m Spangler told me no he was not going to
cuff up that he was tired of doing this for the last 14 days and that he has
written kites to the SGT's and have not gotten any response to them. I informed
I/m Spangler that if he didn't volunteer to cuff up that we will come in with
force. I/m Spangler took a fighting stance and told me that I better not be the
first one in the cell because he was going to punch the first person that came
through his door. I was informed by Dep Warner that I/m Spangler had the dust
mop broom and handle. I looked into his room to the left side of his sink and it
was there. I told I/m Spangler to hand me out the broom handle and mop head he
told me he would and I stood to the right of the food slot and opened it and he
handed me the handle first and than the mop head and I closed the food slot.
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I talked to DEPUTIES Warner,Couch and Anderson and came up with a plan as
followed Deputy Anderson was on the soft shield ,Dep Couch was second man in,
myself (Dep Freeburn) was third man and hand leg irons and handcuffs in my
pocket, Dep Warner was fourth man with Tazer in hand as a back up plan.

We walked in to the pod and lined up shield man,second man in single file I was
off to the right Dep Warner was off to the left and acted as Door man as well, I
called for C-8 to be opened Dep Warner assisted the opening and Dep. Anderson
made entry with Dep Couch and myself next, I/m Spangler charged the the shield
and was escorted to his bunk with resistance. Once he was placed on his bunk I
gave instructions for the extraction team to roll him over onto his stomach I/m
Spangler resisted and was placed onto his stomach, once on his stomach I was
handed the tazer from Dep Warner and he took over verbals to I/m Spangler and
the extraction team.

I/m Spangler was escorted up to Gray-3 and placed in the restraint chair. A spit
mask was called for and placed on him as we entered the booking area. I talked
to I/m Spangler and asked him if he had any injuries and he stated that his
right elbow was hurting and that he felt his lip was split, I looked at his lip
and didn't see any blood and check his elbow and didn't see any bruising or
swelling on his right elbow.

I/m Spangler was moved by chair to Gray-13 where I instructed I/m spangler that
I was going to remove him from the chair and complete a strip search of himself.
I/m Spangler complied with all my commands and during the strip search I noticed
on I/m Spanglers upper right arm there was some bruising and that he wasn't
using that arm to undress, I asked him if he was all right and he said he was
fine that he slipped in the shower and it is a little sore. I completed the
strip search and gave I/m Spangler back his clothes and 2 blankets and 1 sheet
to lay down and go to sleep.




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Time     Officer         Event Type             Qty    Inmate
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FOLLOW-UP ACTION TAKEN:




REMARKS:

21:44:21 HANNAHAN D       INMATE CELL CHANGE      0.00 SPANGLER, BRYCE L
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Reassigned from `SCJ -SCJ1-N      -C   -8   ' to `SCJ -SCJ1-B   -G13 -1     '.

22:47:43 ANDERSEN C      USE OF FORCE               0.00 SPANGLER, BRYCE L

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USE OF FORCE CLASSIFICATION:
( )UNPLANNED( xx )PLANNED USE OF FORCE

REASON FOR USE OF FORCE: (CHECK ALL THAT APPLY)
( X ) BECAME VIOLENT AND/OR ASSAULTIVE WITH( X )STAFF( )OTHER INMATE(S)
( X ) DISPLAYED SIGNS OF IMMINENT VIOLENCE ( )DESTROYING PROPERTY
( ) ATTEMPTED SUICIDE                     ( )PREVENTION OF A CRIME
( ) ENFORCEMENT OF JAIL RULES             ( )FORCED MOVEMENT
( ) REMOVE UNAUTHORIZED CLOTHING          ( )DRUGS/ALCOHOL
( ) MENTAL PROBLEMS                       ( )ATTEMPTED ESCAPE
( X ) OTHER: To follow current policy implemented for I/M Spangler which
includes; Daily room search; Daily strip search. (DESCRIBE)

USE OF RESTRAINTS:
( )     NONE USED
( X )    BRIEF, EMERGENCY USE WHILE UNDER SUPERVISION/ESCORT
( )     ONGOING USE

DATE/TIME PLACED IN RESTRAINTS:

RESTRAINT EQUIPMENT USED: (CHECK ALL THAT APPLY)
( X )HANDCUFFS           ( X )LEG IRONS   ( )FLEXCUFFS
( X )RESTRAINT CHAIR     ( )WAIST CHAINS         ( )OTHER: (DESCRIBE)

DATE/TIME REMOVED FROM RESTRAINTS:
05-2-12 placed in restraint chair at approximately 2140 until approximately
2215.
05-2-12 placed in handcuffs and leg irons for transport from cell in C-8 at
approximately 2130 until approximately 2215.


FREQUENCY OF CHECKS WHILE IN RESTRAINTS: Continuously

OTHER EQUIPMENT USED: (CHECK ALL THAT APPLY)
( )BODILY FORCE        ( )TASER DISPLAYED        ( )TASER DEPLOYED
( )OC/CHEMICAL AGENT ( )ICE SHIELD      ( x )SOFT SHIELD ( )HARD SHIELD
( )BATON               ( )FIREARM       ( )OTHER: (DESCRIBE)

LIST STAFF INVOLVED:
NAME: Andersen, C
NAME: Warner, M
NAME: Freeburn, J
NAME: Couch, J
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LIST INJURIES TO STAFF:
       - Small cut to Deputy Warner's lower lip.
       - Small scratch and some redness to Deputy Andersen's left eye from
punch.

TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   ( x )NOT NEEDED
( )REFUSED


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LIST INJURIES TO INMATE:
      -Split lower lip
      -Pain in right elbow
      -Bruising on right arm
I/M Spangler claims that these injuries were sustained by "falling in the
shower" and also "falling down the stairs in the pod".


TREATMENT OF INJURIES: (   )HOSPITAL   (   )AID CREW   (   )NOT NEEDED
( X )REFUSED

NARRATIVE: (BRIEFLY DESCRIBE CIRCUMSTANCES RESULTING IN THE USE OF
FORCE)
       Inmate (I/M) Spangler, Bryce nm#220164 had refused to have his room or
person searched today 05-2-12 stating "These searches are unlawful and I am not
doing them anymore". I/M Spangler had told Deputy Andersen that he was not going
to comply with the searches and that we would have to come in there and get him
if we wanted to search him or his room. I (Deputy Andersen) was in North Control
and was relieved by Deputy Ruddell at approximately 2100 to assist with I/M
Spangler. Deputies Warner, Couch, Freeburn and I formulated a plan outside of
C-pod that consisted of entering with the soft shield and getting I/M Spangler
to the ground and then applying handcuffs and ankle restraints to move him up to
a gray room so his person and his cell can be searched. Deputies Couch,
Freeburn, Warner and I entered C-pod and went to C-8 to enter I/M Spangler's
cell. I asked I/M Spangler one more time if he was going to make us come into
his cell and he replied with "lets do this". I/M Spangler was standing directly
in front of his cell door no more then 6 inches away from the door. I had North
Control open C-8 at approximately 2120, when C-8 opened I/M Spangler took
approximately 2 steps back towards the back wall of the cell and clinched his
fists and brought them up to his chest taking a fighting stance. I entered C-8
with the soft shield and proceeded directly at I/M Spangler, when I approached
I/M Spangler, he squatted down as to avoid being hit with the shield. As he
squatted, I made contact with the soft shield with his upper chest and shoulder
area and started to drive him towards
the ground, as I did that, I/M Spangler started to stand up and threw one punch
over the shield and made contact with my (Deputy Andersen) left eye. At this
time I/M Spangler's momentum was going back and I proceeded to lift him while he
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was leaning on the soft shield and drive him into the back right hand corner of
the cell next to the window and pin him against the wall and bunk. Once pinned
against the wall and bunk, I layed on I/M Spangler while the other responding
deputies took control of his hands and feet. I/M Spangler was given verbal
commands to stop resisting and to roll over onto his stomach, I/M
Spangler replied with "fuck you, I know where all you fuckers live". With Deputy
Couch and Deputy Freeburn controlling his arms and legs and myself (Deputy
Andersen) controlling his head and torso, we rolled I/M Spangler over onto his
stomach where I continued to lay on him, now on his back I applied my left knee
to his left thigh/buttocks area. I/M Spangler's head was unsecured and to
prevent
him from spitting on any Deputies, I took my right forearm and slid it under I/M
Spangler's chin and pulled upwards towards my chest to apply pressure to control
his
head and prevent movement. I/M Spangler was given more verbal commands to stop

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resisting and to comply with staff orders. While I layed on
I/M Spangler, handcuffs and ankle restraints were applied. At that time, I
removed myself from I/M Spangler's back and exited the cell. I/M Spangler was
removed from C-8 and brought to Gray-3 and placed in the restraint chair in
Gray-3. Once secure in Gray-3 in the restraint chair, I/M Spangler was
continuously checked on while in restraints and eventually placed into Gray-13
at approximately 2215 where all restraints were removed and I/M Spangler was
strip searched and housed in Gray-13 without further incident.



REPORTING DEPUTY: Andersen, C U-140

REVIEWING SUPERVISOR:

22:56:58 COUCH J         JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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Today inmate Spangler made it clear that he refused to let us search his room or
strip search him. He said it was a violation of his rights and that he was not
going to do it any longer. I informed Sgt. Schrader and he said that inmate
Spangler will be searched and if we need to we will remove him from his cell.

At approximately 2100 Deputy Freeburn attempted to talk to inmate Spangler about
coming out of his cell and cooperate with us. He said "no im not coming out".
Deputy Freeburn made it clear to him we would have to come in and search his
room. Inmate Spangler made it clear that the first person in the door was going
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to get hit. At that time myself, Deputy Freeburn, Deputy Andersen, and Deputy
Warner planned our entry into the room and planned our extraction of the inmate.
Deputy Andersen had the soft shield, with myself behind him and Deputy Freeburn
behind me. All in a straight line in front of C-8. Inmate Spangler continued to
refuse order and took a fight stance at the door. Deputy Warner stood to the
left of the door armed with the taser. Deputy Warner instructed north control to
roll C-8 and at that time Inmate Spangler backed up still in a fighting stance.

Deputy Andersen made entry and i followed right behind him. We made contact with
the soft shield and pushed inmate Spangler onto his bunk. As we were moving
backwards I saw inmate Spangler right fist swing at Deputy Andersen's left check
directly below the eye socket. At that point I began to reach for inmate
Spangler's right fore arm so he didn't not strike Deputy Andersen again. At this
time we had also seated inmate Spangler on his bunk in the right corner of the
cell against the wall. At this time he was still ever active aggressive and
tense. I kept control of his right arm and used my knee's to control his right
leg.

Since he was still aggressive and tense I applied my right fist to his abdomen
to prevent him from trying to stand. Deputy Andersen also held control of
Spangler by continuing to apply pressure with the soft shield. Inmate Spangler
said
to us all "I know were all you mother fuckers live get off me". Deputy Freeburn
then instructed Spangler to roll over on to his stomach so we could cuff him.
Inmate Spangler was still very tense and resistant so myself and Deputy Andersen
continued to control him as Deputy Warner slid the soft shield down in front of
Inmate Spangler legs to prevent him from kicking one of us. We rolled Spangler
over to his stomach on the bunk and Deputy Warner applied the leg restraints to
inmate Spangler. Once the leg restraints were secured and double locked myself
and Deputy Andersen positioned ourselves into better cuffing positions
maintaining control of his arms. I had control of his left arm and Deputy
Andersen had control of his right arm. Deputy Warner moved into cuffing position
5 and applied cuffs to inmate Spangler. Deputy Andersen double locked the
cuffs and I check that they were double locked.

Myself and Deputy Warner then stood inmate Spangler up facing backwards and
escorted him to booking where he was placed in grey 3. Deputy Warner and I
maintained control of Spangler while Deputy Freeburn got the restraint chair.

Inmate Spangler was placed in the restraint chair for a short time and was then
moved to grey 13 and striped searched by Deputies.

Deputy Andersen and myself retrieved his property from C-8 and brought it to

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11:54      Jail Events Summary Report, By Date, Time With Comments   Page:     259

Time     Officer         Event Type             Qty    Inmate
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booking.

23:05:43 WARNER M       JAIL INCIDENT REPORT     0.00 SPANGLER, BRYCE L
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At approximately 2100 I was informed that inamte Spangler NM#220164 was refusing
to comply with his daily strip search. Deputy Freeburn went in and spoke with
Spangler and tried to get him to comply, subject refused. I radioed to Sgt
Schrader if the use of the TASER would be okayed to get Spangler to comply and
he stated yes. I walked over to C8 where Spangler was housed and looked into his
cell. I noticed that there was the broom or mop handle leaning up against the
sink. I told Deputy freeburn, Andersen, and Couch that Spangler had a weapon.
Deputy Freeburn then spoke with Spangler and he passed out the broom and handle
out through the passthrough. Deputies Couch, Freeburn, Andersen, and myself made
a plan to use the soft shield and pin him in the corner where we could then take
him to the ground and place restraints on him. I got the TASER out of north
control and the soft shield was obtained. Leg chains were retrieved from the
south end. At approximately 2120 I had North control open C8, I had the TASER
and was on the door. Deputy Andersen entered first with the soft shield and
Deputy Couch and Freeburn were behind him. Spangler was pinned into the right
corner of the cell on the bunk. His arms were subdued as I took control of the
shield and slid it down towards his feet in case he tried to kick. Once his arms
were held I took the shield out. Subject was then rolled over onto his stomach
with Deputy Andersen on top of him to keep him down. I Then gave the TASER to
Deputy Freeburn and took control of Spanglers legs. Spangler was still actively
resisting so I placed my knee and put enough pressure on his left ankle to make
him stop resisting and kicking. I then placed the leg chains on his ankles. By
this time Deputy Couch and Andersen had moved Spanglers hands behind his back so
I took my cuffs and placed then on his hands. We took a minute or so and made
sure everyone was okay, I stated that we would stand him up and walk him
backwards up to a grey cell. Deputy Couch and I escorted Spangler up front
walking backwards, most of the way he went limp and we had to drag his feet and
support his weight by his shoulders. G3 was cleared out and I asked for the
restraint chair. Spangler was placed in the chair at approximately 2130 and was
moved to G13 and taken out of the chair at approximately 2215.




FOLLOW-UP ACTION TAKEN:




REMARKS:

23:51:32 WARNER M         INMATE DISCIPLINARY PR   0.00 SPANGLER, BRYCE L

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Time     Officer         Event Type             Qty    Inmate
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INFRACTION REPORT DATE:Wed May 02 23:52:05 PDT 2012
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RULE VIOLATION:Major #2 Assaulting any person. Deputy Andersen
               Major #22 Physically resisting post hearing sanction. daily cell
                        and strip searches.
               Minor #6 Refusin to obey lawful order by staff. not cuffing.

DETAILS OF INCIDENT:Subject refused to submit to a strip search and force was
needed to make him comply. Subject was given numerous orders to cuff up and
refused. Subject took a fighting stance and took a closed fist swing at Deputy
Anderson and struck him in the eye as he entered using a soft shield.

DESCRIBE ANY PERSONAL INJURIES: Deputy Andersen was struck in eye. Deputy Warner
scratch to lip. Inmate Spangler has several scrapes and bruises and split lip.

LIST ANYONE WHO RECEIVED MEDICAL ATTENTION:n/a

DESCRIBE ANY PROPERTY DAMAGE:

DISCIPLINARY SANCTION: 30 days D-seg.

I ACCEPT THIS SANCTION: YES/NO             I REQUEST A HEARING: YES/NO



      In agreeing to his discipline, I understand that I am waiving my right
to a hearing on the charges brought against me in which I would have the right
to be present and heard, and to present evidence and witnesses. I agree to this
settlement voluntarily, and acknowledge that no threats of any kind have been
made against me in order to coerce this agreement.


INMATE NAME_____________________________________DATE_______________



DEPUTY__________________________________

Total for 05/02/12:   9


Date: 05/03/12
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23:03:33 ONEILL J        INMATE PRO SE            0.00 SPANGLER, BRYCE L
Received in incoming for subject one 10X13 white envelope with subject's name
and "legal mail" written on the outside. Subject currently housed in Gry 13 and
instructions received indicate that the subject can not have this envelope. Item
placed with another envelope received earlier for subject.

Total for 05/03/12:   1
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Time     Officer         Event Type             Qty    Inmate
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Date: 05/04/12
--------------
10:13:31 PARKER R        JAIL TIME CERTIFICATIO   0.00 SPANGLER, BRYCE L
___________________________________________________________________________

                           SKAGIT COUNTY JAIL
                        600 SOUTH THIRD ROOM 100
                         MOUNT VERNON, WA 98273
                            (360)336-9448
___________________________________________________________________________

                          JAIL TIME CERTIFICATION


Date: 5-4-12

Name: Spangler Bryce L.

Charge: Prison Riot/Bail Jumping/ID theft 2nd/Poss Cont Sub heroin/ Theft 3rd/
Harrassment-Threats to Kill/ Intimidating a Public Servant

Cause # 11-1-00772-2

Date(s)of Arrest: 11-4-11

Date(s)Released on bail or recognizance: 11-18-11/8-25-11/ 5-4-11

Date(s)Returned to custody: 8-16-11/ 1-10-12

Total days in custody: 138 days

Certified days of Earned Early Release time: None Earned/ See attached reports
__________________________________________________________________________




Sgt Randy Parker________________________________
Signature of Corrections Deputy,
Skagit County Jail



[xx] Any loss of Earned Early Release recommended by the Skagit County
Jail will be justified by the attached documents.
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15:22:07 STORIE P       DEPT OF CORRECTIONS RE   0.00 SPANGLER, BRYCE L
Released from record   181190, location SCJ -SCJ1-B   -G13 -1


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Time     Officer         Event Type             Qty    Inmate
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Total for 05/04/12: 2


Date: 05/12/12
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18:36:32 RANDALL D       JAIL INCIDENT REPORT    0.00 SPANGLER, BRYCE L
Copy of report done by Dep. Beisler:

 On Thursday 5-10-2012 I was assisting Deputy Storie with Laundry Exchange in
C-pod. I was searching C-7 and on the bunk where Sanchez, Jesus sleeps in plain
sight there was a stack of papers. As I was looking at them I noticed kites from
Spangler, Bryce and one from Lederle, Jessie. Some were answered and some were
not yet. There was also a portion out of a legal book from the Pro-Se inmates.
At the time I did not know if it was from the ones the Pro-Se inmates are given
daily or ones from the Legal Library.
 There was also a large stack of papers which was a Jail Location Summary Report
dated 4-17-2012. I have never seen one of these in an inmates room before, Not
even a Pro-Se inmates. Several of the names are highlighted and one is marked as
a "Rat". This person was Juan Delgado Nelson who is currently housed in C-1.
This was likely marked before Nelson was moved to C-1.
 There was also a message about an inmate Toliver that was in the stack from
Sgt. Coakley to another person that would have had nothing to do with Spangler
or any inmate in C-pod.
 When I brought Sanchez back to his room I explained to him what items I took
during laundry exchange and he said "Ok". "I wasn't hiding them". I did ask how
he got them but he declined to tell me that.
 While searching Sanchez's room I also found a "Glue" of some sort that he was
using to hold things up on his walls. It is very sticky and is not toothpaste or
any other mixture I have seen before. It was a white color but not completely
clear like the toothpaste is. He also declined to tell me what this mixture was.

Supplemental Sgt. Randall: I came into work on 5/11/12 and found this stack of
reports and inmate request. I knew that these items had been found in I/M
Sanchez room on 5/10/12. I asked Dep. Beisler if he had assisted with the room
searches on 5/10/12 and he stated he did and forgot to about them due to another
issue in C-pod. I had Dep. Beisler go through them and complete a report. As we
were going through them I has concerns with regards to the content in the Jail
Location Summary Report, it has names and dates of birth. It also contained some
reports done by the programs staff. I would appear that this report was given to
I/M Spangler, Bryce, then left behind. Inmates names had been hightlighted and
others had been underlined and the work "Rat" written in red pencil. Copy of
this report and all items found placed in the Chief box for review before
destruction. DMR
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Total for 05/12/12:   1


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                            Total Quantity :      0.00

Report includes:
All event dates between `00:00:00 01/01/01` and `23:59:59 08/03/12`

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All event end dates matching `08/03/12`
All event types
All event action codes
All assigned officers
All inmates matching `   220164`
All treatment dates
All treatment end dates
--------------------------------------------------------------------------------
                  *** End of Report /tmp/rptMDeh7d-rpjmjesr.r4_3 ***
